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              EXHIBIT 19
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     LIBERTY HOUSE GROUP PTE.
               LTD.
                  Registration Number: 201113318W


         FINANCIAL STATEMENTS
                       Year ended 31 March 2019




This document contains no signatures as it is system-generated from the full set of
Financial Statements filed in XBRL by company with ACRA.




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! j              LIBERTY HOUSE GROUP PTE. LTD. AND ITS SUBSIDIARIES
                 (Incorporated in Singapore, Registration Number: 201113318W)

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                 FINANCIAL STATEMENTS
                 For the financial year ended 31 March 2019




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           LIBERTY HOUSE GROUP PTE. LTD. AND ITS SUBSIDIARIES
           (Incorporated in Singapore, Registration Number: 201113318W)




           FINANCIAL STATEMENTS
           For the financial year ended 31 March 2019


           GENERAL INFORMATION


           DIRECTOR

          SANJEEV GUPTA


          COMPANY SECRETARY

           TAN YEE TJEN

          REGISTERED OFFICE ADDRESS

          8 MARINA VIEW, #40-06,
          ASIA SQUARE TOWER 1,
          SINGAPORE 018 960.


           INDEPENDENT AUDITOR

          T RAVI & CO




                                                        LIBERTY HOUSE GROUP PTE. LTD. 3




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                     LIBERTY HOUSE GROUP PTE. LTD. AND ITS SUBSIDIARIES
I :
t.                   (Incorporated in Singapore, Registration Number: 201113318W)




                     FINANCIAL STATEMENTS
                     For the financial year ended 31 March 2019


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    The sole director, is pleased to present his statement to the members of Liberty House
    Group Pte. Ltd. (the "Company") and its Subsidiaries (the "Group") for the financial year
    ended 31 March 2019 and the statement of financial position of the Company as at 31
    March 2019.

    1. OPINION OF THE DIRECTOR

       In the opinion of the director,

    (a) the financial statements of the Group and Company are drawn up so as to give a true
        and fair view of the financial position of the Group and Company as at 31 March 2019
        and the financial performance, changes in equity and cash flows of the Group and
        Company for the year then ended; and

    (b) at the date of this statement, there are reasonable grounds to believe that the Group
        and Company will be able to pay its debts as and when they fall due.

    2. DIRECTOR'S RESPONSIBILITY

       I, the sole director of LIBERTY HOUSE GROUP PTE.LTD. AND IT'S
       SUBSIDIARIES. do hereby state that, I am responsible for the preparation and fair
       presentation of these financial statements in accordance with the provisions of the
       Singapore Companies Act, Cap.50 (the "Act") and Singapore Financial Reporting
       Standards. The responsibility includes:

    (a) devising and maintaining a system of internal accounting controls sufficient to
        provide a reasonable assurance that assets are safeguarded against loss from
        unauthorised use or disposition; and transactions are properly authorised and that
        they are recorded as necessary to permit the preparation of true and fair statement of
        comprehensive income and statement of financial position and to maintain
        accountability of assets;

    (b) selecting and applying appropriate accounting policies;

    (c) making accounting estimates that are reasonable in the circumstances; and

    (d) assessing the risk of fraud and reporting to the appropriate authority on the outcome
        of those assessments.

    3. DIRECTOR

       The director of the Company at the date of this report is:

       SANJEEV GUPTA



    4. ARRANGEMENTS TO ENABLE DIRECTOR TO ACQUIRE SHARES OR
       DEBENTURES

       Neither at the end nor at any time during the financial year was the Company a party
       to any arrangement whose object was to enable the director of the Company to
                                                         LIBERTY HOUSE GROUP PTE. LTD. 5




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                acquire benefits by means of the acquisition of shares in or debentures of the
                Company or any other body corporate.

              5. DIRECTOR'S INTERESTS IN SHARES OR DEBENTURES

                The Director of the Company holding office at the end of the financial year had no
                interests in the shares or debentures of the Company and its related corporations as
                recorded in the register of directors' shareholding kept by the Company under
                section 164 of the Singapore Companies Act, chapter 50 (the "Act"), except as follows:

                                                     Direct interest            Deemed interest
                                                  At the                      At the
                                               beginning of At the end beginning of At the end
                                              financial year of financial financial year of financial
                                                or date of    year          or date of       year
                                              appointment                 appointment
              The Company                       01.04.2018     31.03.2019   01.04.2018   31.03.2019
              Sanjeev Gupta                                                325,561,301 325,561,301

              Immediate Holding_Company
              LHG International Holdings                       325,200,001
              Pte Ltd
lj

              Ultimate Holding Company
              SKG Global Holdings Pte Ltd                                                   325,200,001

              6. SHARE OPTIONS
f 1
                There were no share options granted during the financial year to subscribe for
    .i
                unissued shares of the Company.

                There were no shares issued during the financial year by virtue of the exercise of
                options to take up unissued shares of the Company or its subsidiary corporations.

                There were no unissued shares of the Company or its subsidiary corporations under
                option as at the end of the financial year.



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    I. AUDITORS

      The Independent Auditor T. Ravi & Co., Public Accountant and Chartered
      Accountants of Singapore, has expressed its willingness to accept re-appointment.


       The Sole Director,




       SANJEEV GUPTA
       Director

       Singapore.




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                      INDEPENDENT—AUDITOWS REPORTTO-THE MEMBER'S OF
                      LIBERTY HOUSE GROUP PTE. LTD. AND ITS SUBSIDIARIES

           Report on the Consolidated Financial Statements

           Opinion

           We have audited the accompanying consolidated financial statements of Liberty House
           Group Pte Ltd (the "Company") and its subsidiaries (the "Group"), which comprise the
           consolidated statement of financial position of the Group and the statement of financial
           position of the Company as at 31 March 2019, and the statement of profit or loss and
           other comprehensive income, statement of changes in equity and statement of cash flows
           of the Group and Company for the year then ended, and a summary of significant
           accounting policies and other explanatory information as set out on pages 9 to 128.

           In our opinion, the accompanying consolidated financial statements of the Group and the
           statement of financial position of the Company are properly drawn up in accordance
           with the provisions of the companies act, Chapter 50 (the "Act") and financial reporting
           standards in Singapore ("FRSs") so as to give a true and fair view of the consolidated
           financial position of the Group and the financial position of the Company as at 31 March
           2019, and of its consolidated financial performance, consolidated changes in equity and
           consolidated cash flows of the Group for the year then ended on that date.

           Basis for Opinion

           We conducted our audit in accordance with Singapore standards on Auditing ("SSAs").
           Our responsibilities under those standards are further described in the Auditor's
           Responsibilities for the Audit of the Financial Statements section of our report. We are
           independent of the Group in accordance with the Accounting and Corporate Regulatory
           Authority ("ACRA") Code of professional Conduct and Ethics for Public Accountants
           and Accounting Entities ("ACRA Code") together with the ethical requirements that are
           relevant to our audit of the financial statements in Singapore, and we have fulfilled our
           other ethical responsibilities in accordance with these requirements and the ACRA Code.
           We believe that the audit evidence we have obtained is sufficient and appropriate to
           provide a basis for our opinion.

           Key audit matters

I ;        Group
LJ         1.    Related party balances and transactions.

                  There were various related party transactions during the year ended 31 March
                  2019 and prior years. There was a risk that appropriate disclosures would be
                  omitted or incorrectly accounted for, and that related party balances may be
                  incorrectly classified as non-current.




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            The risks outlined above were addressed by us as follows:
               • We ensure that all material related party balances and transactions were
                   certified by the appropriate parties, and that recoverability thereof is
                   appropriate.
               • We ensured that all appropriate disclosures were correctly presented in
                   the consolidation financial statements.
               • We ensured that classification as to current or non-current are agreed with
                   appropriate related parties.
               • We ensured the appropriate offset of balances where related party entities
                   are controlled by the same person.

     2.     Going concern and potential impairment issues.

            A few of UK Industrial Companies have incurred operating losses since their
            incorporation and some have negative equity or net current liabilities and if
            operating losses continue in future then there may be going concern and
            impairment issues on these companies. However, for the Group as a whole, there
            is no going concern issue.

            The risk outlined above have been addressed by us as follows:
               • Detailed review and interrogation of financial projections prepared for
                   group companies, as well as discussion with group management and
                   group companies auditors regarding the audits performed by them. This
                   involved assessing the viability of assumptions used and also the integrity
                   of financial projections made.
               • Detailed review and interrogations of the financial projection model at
                   group level and discussion with group management.
                • Detailed discussion with group management as to funding required and
                   obtaining of a written confirmations of financial support from this
                   company.

     Other Information

     Management is responsible for the other information. The other information comprises
     the Directors' Statement (set out on pages 2 to 4) but does not include the financial
     statements and our auditors report thereon.

     Our opinion on the financial statements does not cover the other information and we do
     not express any form of assurance conclusion thereon.

     In connection with our audit of the financial statements, our responsibility is to read the
     other information and, in doing so, consider whether the other information is materially
     inconsistent with the financial statements or our knowledge obtained in the audit, or
     otherwise appears to be materially misstated. If, based on the work we have performed,
     we conclude that there is a material misstatement of this other information, we are
     required to report that fact. We have nothing to report in this regard.


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      Responsibilities of Management and Director for the Financial Statements

      Management is responsible for the preparation of financial statements that give a true
      and fair view in accordance with the provisions of the Companies Act and FRSs, and for
      devising and maintaining a system of internal accounting controls sufficient to provide a
      reasonable assurance that assets are safeguarded against loss from unauthorised use or
      disposition; and transactions are properly authorised and that they are recorded as
      necessary to permit the preparation of true and fair financial statements and to maintain
      accountability of assets.

     In preparing the financial statements, management is responsible for assessing the
     Group's ability to continue as a going concern, disclosing, as applicable, matters related
     to going concern and using the going concern basis of accounting unless management
     either intends to liquidate the Group or to cease operations, or has no realistic alternative
     but to do so.

     The director's responsibilities include overseeing the Group's financial reporting process.

     Auditor's Responsibilities for the Audit of the Financial Statements

     Our objectives are to obtain reasonable assurance about whether the financial statements
     as a whole are free from material misstatement, whether due to fraud or error, and to
     issue an auditor's report that includes our opinion. Reasonable assurance is a high level
     of assurance, but is not a guarantee that an audit conducted in accordance with SSAs will
     always detect a material misstatement when it exists.

     Misstatements can arise from fraud or error and are considered material if, individually
     or in the aggregate, they could reasonably be expected to influence the economic
     decisions of users taken on the basis of the financial statements.

     As part of an audit in accordance with SSAs, we exercise professional judgement and
     maintain professional scepticism throughout the audit. We also:

        1. Identify and assess the risks of material misstatement of financial statements,
            whether due to fraud or error, design and perform audit procedures responsive to
            those risks, and obtain audit evidence that is sufficient and appropriate to provide
            a basis for our opinion. The risk of not detecting a material misstatement resulting
            from fraud is higher than for one resulting from error, as fraud may involve
            collusion, forgery, intentional omissions, misrepresentations, or the override of
            internal control.




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       2. Obtain an understanding of internal control relevant to the audit in order to
          design audit procedures that are appropriate in the circumstances, but not for the
          purpose of expressing an opinion on the effectiveness of the company's internal
          control.

       3. Evaluate the appropriateness of accounting polices used and the reasonableness
          of accounting estimates and related disclosures made by management.

       4. Conclude on the appropriateness of management's use of the going concern basis
          of accounting and based on the audit evidence obtained, whether a material
          uncertainty exists related to events or conditions that may cast significant doubt
          on the Group's ability to continue as a going concern. If we conclude that a
          material uncertainty exists, we are required to draw attention in our auditor's
          report to the related disclosures in the financial statements or, if such disclosures
          are inadequate, to modify our opinion. Our conclusions are based on the audit
          evidence obtained up to the date of our auditor's report. However, future events
          or conditions may cause the Group to cease to continue as a going concern.

       5. Evaluate the overall presentation, structure and content of the financial
          statements, including the disclosures, and whether the financial statements
          represent the underlying transactions and events in a manner that achieves fair
          presentation.

       6. Obtain sufficient appropriate audit evidence regarding the financial information
          of the entities and business activities within the Group to express an opinion on
          the consolidated financial statement& We are responsible for the direction,
          supervision and performance of the group audit. We remain solely responsible
          for our audit opinion.

          We communicate with the directors regarding, among other matters, the planned
          scope and timing of the audit and significant audit findings, including any
          significant deficiencies in internal control that we identify during our audit.

          Report on Other Legal and Regulatory Requirements

          In our opinion, the accounting and other records required by the Act to be kept by
          the Company, which are incorporated in Singapore have been properly kept in
          accordance with the provisions of the Act.




          T Ravi & Co.,
          Public Accountants and
          Chartered Accountants of Singapore.
          Singapore. 17 August 2020.




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                                                                                 GROUP
          ASSETS AND LIABILITIES                             NOTE        2019            2018
                                                                           $               $
          Property, plant and equipment                        4       586,079,497     595,685,730
          Investment - held to maturity                        5                 -       2,931,900
          Investment - financial assets available for sale     6           239,380         538,165
          Other receivables                                   12            10,927               -
          Amount due from related parties                      8        78,117,142      43,635,229
          Intangible assets                                    9        20,481,755      25,968,838
                                                                       684,928,701     668,759,862
          Current assets
          Inventories                                         10      294,145,437      308,445,303
          Contract with customers (Trade receivables)         11      820,272,892      779,802,294
          Other receivables                                   12       97,979,722       50,417,658
r         Amount due from related parties                      8       79,333,459
          Derivative financial instruments                    13                        11,413,516
          Cash and bank balances                              14        56,560,010      60,276,786
                                                                      1,348,291,52    1,210,355,557
                                                                                  0
          Current liabilities
          Contracts with suppliers (Trade payables) and       15
                                                                      377,224,694      365,284,533
          other payables
          Amount due to directors                             16         2,841,083        2,679,451
          Amount due to related parties                        8
                                                                      223,203,478
          Bank borrowings, secured                           17       202,438,408      393,128,753
          Other borrowings, secured                          18       118,529,390      118,155,048
          Derivative financial instruments                   13        12,366,012        4,228,014
          Finance lease liabilities                          19        15,024,598        9,190,349
          Provision for taxation                             20         5,294,478        7,483,230
[                                                                     956,922,141      900,149,378

          Net current assets                                          391,369,379      310,206,179
          Non-current liabilities
          Bank borrowings, secured                           17        70,526,863       71,368,989
          Finance lease liabilities                          19        30,742,206       41,471,931
          Amount due to related parties                       8
                                                                      157,050,492       91,634,569
          Other payables                                     15        70,529,204       97,519,751
          Deferred tax liability and other provisions        20        60,065,430       66,511,707
                                                                      388,914,195      368,506,947

          Net assets                                                  687,383,885      610,459,094

          Equity
          Share capital                                      21       325,561,301      325,561,301
          Retained earnings                                           289,634,576      198,997,949
          Non-Controlling Interest                                     28,771,866       31,014,899
          Revaluation reserve                                          52,459,748       52,957,071
          Currency translation reserve                                 (9,043,606)       1,927,874
          Total Equity                                                687,383,885      610,459,094


                                                                                  COMPANY
                                                                           2019             2018
                                                               LIBERTY HOUSE GROUP PTE. LTD. 12




                                                                                                       CRK-2/0012
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                                                    NOTE
     Non-current assets
     Investments in subsidiaries                      7             183,565,446    183,565,446
     Amount due from related parties                  8             244,080,006    191,162,563
                                                                    427,645,452    374,728,009
     Current assets
     Contract with customers (Trade receivables)     11              21,370,616     28,690,696
     Other receivables                               12               6,194,395
     Cash and bank balances                          14               5,245,104          3,220
                                                                     32,810,115     28,693,916
     Current liabilities
     Contract with suppliers (Trade payables) and    15               2,210,135        410,607
     other payables
     Bank and other borrowings, secured              17               7,169,500
     Other borrowings, secured                       18              19,973,389     28,989,273
     Amount due to related parties                    8                  27,755
     Provision for taxation                          20                  12,908          5,753
                                                                     29,393,687     29,405,633

     Net current assets/(liabilities)                                 3,416,428      (711,717)

     Non-current liabilities
     Amount due to related parties                    8             108,148,959     48,819,603
                                                                    108,148,959     48,819,603

     Net assets                                                     322,912,921    325,196,689

     Equity
     Share capital                                    21            325,561,301    325,561,301
     Accumulated loss                                                (2,648,380)     (364,612)
     Total equity                                                   322,912,921    325,196,689




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                                                                                GROUP
                                                Note            2019                               2018
                                                                                                    $
       Revenue                                   22        10,078,172,488                      7,844,859,329

       Cost of sales                                       (9,745,088,756                      (7,635,617,788
                                                 23

       Gross profit                                          333,083,732                         209,241,541

      Other income                              24            62,160,341                         112,448,441

      Administrative expenses                   25          (155,528,643)                      (130,370,158)

      Distribution costs                        26           (53,721,988)                       (37,492,006)

      Other expenses                             29           (4,912,545)                       (20,117,431)

      Operating profit                                       181,080,897                        133,710,387

      Finance costs                             27           (85,516,368)                       (55,441,511)

      Net profit before taxation                28            95,564,529                          78,268,876

      Income tax                                20            (1,095,900)                        (4,435,800)

      Net profit after taxation          from
                                                              94,468,629                          73,833,076
      continuing operations

      Discontinued operations
      Provision for loss on termination of
                                                                                                   (252,453)
      business
      Net profit for the year                                 94,468,629                          73,580,623
      Other comprehensive income
      Actuarial loss and deferred tax on
                                                              (3,225,306)                          (190,794)
      pension scheme

      Deferred tax on revaluation reserve                                                           449,987

      Revaluation reserve                                                                        (1,043,133)

      Currency translation reserve                          (11,658,580)                         18,964,319

      Total comprehensive income for the                                                         91,761,002
                                                              79,554,743
      year

      Profit after tax attributable to                       2019                                2018

      Equity Holders of the parents                         94,748,464                          73,871,218

      Non-Controlling Interest                               (279,835)                           (290,595)

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                                           94,468,629       73,580,623




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                                                                        COMPANY
                                                     NOTE           2019       2018
                                                                     $             $
      Revenue                                            22       67,405,579   61,500,367

                                                                 (63,966,662   (58,930,223
      Cost of sales                                      23

      Gross profit                                                3,438,917     2,570,144

      Other income                                                  684,780

      Administrative expenses                            25      (3,732,520)    (454,667)

      Distribution costs

      Other expenses

      Operating profit/ (loss)                                      391,177     2,115,477

      Finance costs                                              (2,667,790)   (2,063,212)

      Net (loss)/profit before taxation                 28       (2,276,613)       52,265

      Income tax                                        20           (7,155)       (5,753)

      Net (loss)/profit for the year                             (2,283,768)       46,512

      Other comprehensive income

      Total comprehensive (expenses)/income                                        46,512
                                                                 (2,283,768)
      for the year




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GROUP
                                           Issued                              Non-contro                                Currency
                                                              Retained                           Revaluation
                                            Share                                 fling                                 translation      Total
                                                              earnings                             reserve
                                           Capital                              interest                                  reserve
                                                                   $                $
At 01 April 2017                          325,561,301         121,335,895       16,214,429          54,858,228          (17,036,445)   500,933,408

Profit after tax for the year                                  73,871,218                                                               73,871,218

Currency Translation reserve                                                       (20,923)            3,184,752         18,964,319     22,128,148

Non- Controlling interest                                                        (290,595)                                               (290,595)

Non-controlling interest arising on
                                                                                31,363,989                                              31,363,989
acquisition of subsidiaries

Revaluation reserve                                                                                 (1,043,133)                        (1,043,133)

Deferred tax valuation                                                                                       449,987                      449,987

                                                                                                                                       (16,252,001
Acquisition of shareholding                                                -   (16,252,001)

Transfer of excess depreciation                                 4,492,763                           (4,492,763)

Dividend on preference shares                                   (514,063)                                                                (514,063)

Actuarial loss and deferred tax on
                                                                (190,794)                                                                (190,794)
pension scheme


Reserve       on       acquisition   of                                2,930                                                                 2,930


                                                                                                                 LIBERTY HOUSE GROUP PTE. LTD. 17




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Non-Controlling Interest

At 31 March 2018                        325,561,301       198,997,949    31,014,899    52,957,071     1,927,874    610,459,094

Profit after tax for the year                              94,748,464                                               94,748,464

Non- Controlling interest                                                 (279,835)             -                    (279,835)

                                                                                                                   (13,553,028
Currency Translation reserve                                    7,686    (1,963,198)    (626,036)   (10,971,480)

Transfer of excess depreciation                             (128,713)                    128,713               -

Dividends on preference shares                        -     (735,504)                                          -     (735,504)

Actuarial loss and deferred tax on
                                                           (3,255,306)                                         -    0,255,306)
pension scheme

At 31 March 2019                        325,561,301       289,634,576    28,771,866    52,459,748    (9,043,606)   687,383,885




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                                                                                                  r
     COMPANY

                                          Issued
                                                         Accumulate           Total
                                           share                                                  t
                                          capital          d loss
                                                               $                $

      At 01 April 2017                  325,561,301          (411,124)      325,150,177

      Total comprehensive income for
                                                                   46,512       46,512
      the year

     At 31 March 2018                   325,561,301          (364,612)      325,196,689

     Total comprehensive expenses for
                                                            (2,283,768)     (2,283,768)
     the year

     At 31 March 2019                   325,561,301         (2,648,380)     322,912,921




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                                                                                                         Group
                                                                                        2019                       2018

               Profit before income tax                                             95,564,529                   78,268,876
                  predation & amortisation                                         50,891,916                    48,159,683
               Finance costs                                                        85,516,368                   55,441,511
               Actuarial loss on pension scheme                                    (3,255,306)                     (190,794)
               Profit on disposal of subsidiaries                                  (6,850,220)                   (2,513,268)
    i.         Adjustment of impairment in investment and PPE                        (144,291)                   15,666,501
               Adjustment deferred tax against revaluation reserve                                                   449,987
    it         Currency translation adjustment                                   (10,811,710)                    19,119,047
               Profit on disposal of property, plant and equipment                    202,729                      3,791,706
               Operating cash inflow before working capital
                                                                                 211,114,015                     218,193,249
               changes
               Working capital changes:
    I          Inventories                                                        14,299,866                 (153,094,225)
               Trade and other receivables                                       (88,043,589)                (284,612,072)
               Trade and other payables                                          (15,050,386)                  271,870,330
                                                                                (190,690,345
               Bank borrowings                                                                                172,554,723
               Other taxes                                                        (6,446,277)                   51,623,923
               Derivative financials instruments                                  19,551,514                  (15,948,699)
[
               Other borrowings                                                       374,342                   50,536,532
               Amount due/from related parties                                  143,870,019
I.             Cash generated from operations                                     88,979,159                 311,123,761
               Interest paid                                                    (85,516,368)                 (55,441,511)
               Income tax                                                        (3,284,652)                      747,955
f              Net cash (used in) operating activities                               178,139                 256,430,205
               Cash flow from investing activities
               Addition on account of acquisition of companies                  (22,661,744)                (328,834,531)
               Additions to property, plant and equipment                        (8,338,626)                 (58,805,389)
               Disposals of property, plant and equipment                           162,933                    29,442,478
L              Additions to intangible assets                                     1,584,482                  (14,612,780)
               Acquisition of shares in subsidiary                                                            (7,650,000)
               Net cash (outflow) from investing activities                     (29,252,955)                (380,460,222)
               Cash flow from financing activities
               Amount due to director                                                 161,632                    (7,345,362)
               Amount due from related parties                                     30,934,010                    27,743,653
               Bank and other borrowings                                            (842,126)                    16,917,507
               Share in pre-acquisition reserve/ (losses) of                                                     31,363,989
               non-controlling interest
I              Finance lease liabilities                                          (4,895,476)                  41,733,496
1_             Net cash inflow from financing activities                          25,358,040                 110,413,283
               Net increase in cash and cash equivalents                          (3,716,776)                (13,616,734)
               Cash and cash equivalents at beginning of the year                 60,276,786                   73,893,520
               Cash and cash equivalents at the end of the year                   56,560,010                   60,276,786

                                                                                                COMPANY
                                                                                     2019              2018
                                                                                         $                         $


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     Cash flows from operating activities
     (Loss)/Profit before income tax                                                               (2,276,613)                      52,265
     Operating cash (outflow/inflows) before working
                                                                                                   (2,276,613)                      52,265
     capital changes
     Working capital changes:
                                                                                                                                (28,690,696
      Trade receivables                                                                               7,320,080
                                                                                                                                          )
     Other receivables                                                                             (6,194,395)
     Other payables                                                                                 1,799,528                       303,323
                                                                                                                                (28,335,108
      Cash generated from/(used in) operations                                                           648,600
                                                                                                                                          )
                                                                                                                                (28,335,108
      Net generated from/(used in) operating activities                                                  648,600

      Cash flow from Investing activities
      Purchase of Investment                                                                                                    (7,650,000)
      Sale of investment                                                                                                               126
      Net cash outflows from financing activities                                                                               (7,649,874)

      Cash flow from financing activities
      Amount due to related parties                                                                  6,439,668                   6,995,398
      Bank borrowings                                                                                7,169,500                  28,989,273
      Other borrowings                                                                             (9,015,884)                           -
      Net cash Inflows from financing activities                                                     4,593,284                  35,984,671

      Net increase/(decrease) in cash and cash equivalents                                            5,241,884                       (311)
      Cash and cash equivalents at beginning of the year                                                  3,220                       3,531
      Cash and cash equivalents at the end of the year                                                5,245,104                       3,220




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                   These notes form an integral part of and should be read in conjunction with the
                   accompanying financial statements.

                  1.     GENERAL
T                        The Company is domiciled and incorporated in Singapore. The Company's
                         registered office address is 8 Marina View, #40-06, Asia Square Tower 1,
                         Singapore 018 960.
    I.
                         The principal activity of the company is that of general wholesale trade and
    r                    investment holding company. The principal activities of its subsidiaries are set
                         out in Note 7 to financial statements.

                  2.     SIGNIFICANT ACCOUNTING POLICIES
! :
                  2.1    BASIS OF PREPARATION
    r
    r-H                  The consolidated financial statements which are expressed in United States
                         dollars are prepared in accordance with the historical cost convention and/or as
                         modified to its fair value or as disclosed in the accounting policies below and in
                         accordance with Singapore Financial Reporting Standards ("FRS") including
                         related Interpretations promulgated by the Accounting Standards Council and
I.                       the disclosure requirements of the Singapore Companies Act Chapter 50.

{                       The preparation of financial statements in conformity with FRS requires
i                       management to exercise its judgement in the process of applying the company's
                        accounting policies. It also requires the use of accounting estimates and
         )              assumptions that affect the reported amounts of assets and liabilities and
                        disclosure of contingent assets and liabilities at the date of the financial
         J
                        statements and the reported amounts of revenues and expenses during the
                        financial year. Although these estimates are based on management's best
•                       knowledge of current events and actions, actual results may ultimately differ
                        from those estimates. Critical accounting estimates and assumptions used that
                        are significant to the financial statements, and areas involving a higher degree of
                        judgement and complexity, are disclosed elsewhere in this financial statement.
L.!
                        In 2018, the company adopted the new or revised FRS and interpretations to FRS
                        (INT FRS) that are applicable in the current financial year, The adoption of these
                        FRS/INT FRS did not result in substantial changes to the company's accounting
                        policies. The directors anticipate that the adoption of FRS and INT FRSs that have
                        issued but not yet effective until future periods will not have any material impact
                        on the financial statements of the company.




                  2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

                  a)    Adoption of new and revised FRS

                        The accounting policies adopted are consistent with those of the previous
                        financial year except that in the current financial year, the Company has adopted
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              all the new and amended standards which are relevant to the Company and are
              effective for financial periods beginning on or after 1 January 2018. Except for the
              adoption of FRS 109 Financial instruments and FRS 115 Revenue from Contracts
              with Customers, the adoption of these standards did not have any material effect
              on financial performance or position of the Company.

          i      FRS 109 Financial Instruments

              FRS 109 replaces FRS 39 Financial Instruments: Recognition and Measurement
              and introduced new requirements for (i) the classification and measurement of
              financial assets and financial liabilities (ii) general hedge accounting and (iii)
              impairment requirements for financial assets.

              Classification and measurement '

              Under FRS 109, financial assets are classified into financial assets measured at fair
              value or at amortised cost depending on the Entity's business model for
              managing the financial assets and the contractual cash flow characteristics of the
              financial assets. Fair value gain or losses will be recognised in profit and loss
              except for certain equity investments, for which the company can elect to
              recognise the gains and losses in other comprehensive income. Gains and losses
              realised on the sale of financial assets at fair value through other comprehensive
              income ("FVOCI") are not transferred to profit or loss on sale but reclassified
              from the FVOCI reserve to retained profits.

              Debts instrument that meet the solely payments of principal and interest
              contractual cash flow characteristics test and where the company is holding the
              debt instrument to both collect the contractual cash flows and to sell the financial
              assets can also be measured at fair value through OCI.

              Under FRS 109, there were no changes to the classification and measurement
              requirements for financial liabilities except for recognition of fair changes arising
              from changes in own credit risk. For liabilities designed at fair value through
              profit or loss, such changes are recognised in OCI.




     2.       SIGNIFICANT ACCOUNTING POLICIES (continued)

              The company has completed its preliminary assessment of the classification and
              measurement of its financial assets and liabilities, and expect that financial assets
              and liabilities currently measured at amortised cost will continue to qualify for
              measurement at amortised cost under FRS 109.

              Impairment

              FRS 109 introduce a new forward-Iooking impairment model based on expected
              credit losses to replace the incurred loss impairment model used in FRS 39. This
              determines the recognition of impairment loss allowance as well as interest
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                  revenue. It applies to financial assets classified at amortised cost, debt
                  instruments measured at fair value through OCI, contract assets under FRS 115
                  Revenue from contracts with customers, lease receivables, loan commitments and
                  certain financial guarantee contracts. The company will recognise (at a minimum)
                  12 months of expected losses in profit or loss. Lifetime expected losses will be
                  recognised on these assets when there is a significant increases in credit risk after
                  initial recognition under the three stages model or from initial recognition if the
                  simplified model is applied.

                  The following financial assets will be subjected to the expected credit loss
                  impairment model under FRS 109:

                      — Trade receivables recognised under FRS 115;
                      — Loans to related parties and other receivables at amortised costs.

                  The new standard also introduces expanded disclosure requirements and changes
                  in presentation.

                  The management does not expect any significant impact arising from the
                  application of the expected credit loss impairment model.

                  FRS 109 relaxes the requirements for hedge effectiveness by replacing the bright
                  line hedge effectiveness test. It requires an economic relationship between the
                  hedged item and hedging instrument and for the "hedge ratio" to be same as the
r                 one management actually use for risk management purpose.

                      FRS 115 Revenue from contracts with customers
    ;             FRS 115 replaces FRS 11 construction contracts, FRS 18 Revenue, and related
                  interpretations.




             2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

                  FRS 115 introduces a comprehensive model that applies to revenue from contracts
                  with customers and supersedes all existing revenue recognition requirements
                  under FRS. Revenue is recognised when a customer obtain control of a good or
                  service. A customer obtain control when it has the ability to direct the use of and
                  obtain benefits from the good or service.

                  The model features a five-step analysis to determine whether, how much and
                  when revenue is recognised, and two approaches for recognizing revenue: at a
                  point of time or over time. An entity recognised revenue in accordance with the
                  core principle by applying the following steps:

                     • Step 1: Identify the contract(s) with a customer;
                     • Step 2: Identify the performance obligations in the contract
                     • Step 3: Determine the transaction price;
                     • Step 4: Allocate the transaction price to the performance obligations in the
                       contract;
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              • Step 5: Recognise revenue (when) the entity satisfies a performance
                obligation.

           The core principles is that an entity recognises revenue when control over
           promised goods or services is transferred to customers in an amount that reflects
           the consideration to which the entity expects to be entitled in exchange for those
           goods or services.

           FRS 115 also includes a cohesive set of disclosure requirements that will result in
           an entity providing users of financial statements with comprehensive information
           about the nature, amount, timing and uncertainty of revenue and cash flows
           arising from the entity's contracts with customers.

           The company will adopt FRS 115 in the financial year beginning on 1 January
           2018 using the full retrospective method in accordance with the transitional
           provisions, and will include the required additional disclosures in its financial
           statements for that financial year.

     (d)      Standards issued but not yet effective

           The Company has not adopted the following standards applicable to the
           Company that have been issued but not yet effective:




     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

                                                               Effective for Annual periods
                                                               beginning on or after

           FRS 116 Leases                                                 1 January 2019

           INT FRS 123 Uncertainty over Income Tax treatments             1 January 2019

           Amendments to FRS 109 Prepayment Features with
           Negative Compensation                                           1 January 2019
           Annual Improvements to FRSs (March 2019)                        1 January 2019
           Amendments to FRS 110 and FRS 28: Sale or Contribution of          Date to be
           Assets between an Investor and its Associate                       determined
           Or Joint Venture

           Except for FRS 116, the directors expect that the adoption of the other standards
           above will have no material impact on the financial statements in the year of
           initial application. The nature of the impending changes in accounting policy on
           adoption of FRS 116 are described below.


     het      FRS 116 Leases
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                FRS 116 requires lessees to recognise most leases on the statement of financial
                position. The standard included two recognition exemption for lessees-leases of
                low value' assets and short-term leases. FRS 116 is effective for annual periods
                beginning on or after 1 January 2019. At commencement date of a lease, a lessee
                will recognise a liability to make lease payments (i.e. the tease liability) and an
                asset representing the right to use the underlying asset during the lease term (i.e
                the right-of-use asset). Lessees will be required to separately recognise the interest
                expense on the lease liability and the depreciation expense on the right-of-use
                asset.

                The company plans to adopt FRS 116 retrospectively with the cumulative effect of
                initially applying the standard as an adjustment to the opening retained earnings
                at the date of initial application, 1 January 2019.

                On the adoption of FRS 116, the Company expects to choose, on a lease-by-lease
                basis, to measure the right-of -use asset at either:

     (i)        its carrying amount as FRS 116 had been applied since the commencement date,
                but discounted using the lessee's incremental borrowing rate as of 1 January 2019;
                Or
     (ii)       an amount equal to the lease liability, adjusted by the amount of any prepaid or
                accrued lease payments, relating to that lease recognised in the statement of
                financial position immediately before 1 January 2019.
     2.         SIGNIFICANT ACCOUNTING POLICIES (continued)

                In addition, the Company plans to elect the following practical expedients:
            •   not to reassess whether a contract is, or contains a lease at the date of initial
                application and to apply FRS 116 to all contracts that were previously identified
                as leases;
            •   to apply the exemption not to recognise right-of-use asset and lease liabilities to
                leases for which the lease term ends within 12 months as of 1 January 2019; and
            •   to apply a single discount rate to a portfolio of leases with reasonable similar
                characteristics.

     f)         INT FRS 122 Foreign currency Transactions and Advance considerations

                INT FRS 122 Foreign Currency Transactions. and Advance Considerations
                considers how to determine the date of the transactions when applying the
                standard on foreign currency transactions, FRS 21 the Effect of Changes in
                Foreign Exchange Rates. The interpretation applies where the group either pays
                or receive consideration in advance for foreign currency-denomination contracts.

                For single upfront payment/receipt, the interpretation states that the date of the
                transaction, for the purpose of determining the exchange rate to use on initial
                recognition of the related item, should be the date on which an entity initially
                recognises the non-monetary asset or liability arising from the advance
                consideration. If there are multiple payments or receipts in advance of
                recognising the related item, the entity should determine the date of the
                transaction for each payment or receipt.


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          The group does not expect a material impact on the financial statements upon
          adoption of the interpretation.
                                                                                                            11
     2.2 INVESTMENTS

          Investments in subsidiaries, joint ventures and associated companies are stated at
          cost less accumulated impairment loss in the financial statement. On disposal of
          investments in subsidiaries, joint ventures and associated companies, the
          difference between net disposals proceeds and the carrying amount of the
          investment is taken to the income statement.

          Subsidiaries

          Subsidiaries are those entities in which the company, directly or indirectly,
          controls the composition of the board of directors, controls more than half of the
          voting power or holds more than half of the issued share capital.



     2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

          Subsidiaries are entities including special purpose entities over which the Group
          has power to govern the financial and operating policies, generally accompanying
          a shareholding of more than one half of the voting rights. The existence and effect
          of potential voting rights that are currently exercisable or convertible are
          considered when assessing whether the Group controls another entity. The
          purchase method of accounting is used to account for the acquisition of
          subsidiaries. The cost of an acquisition is measured as the fair value of the assets
          given, equity instruments issued or liabilities incurred or assumed at the date of
          exchange, plus costs directly attributable to the acquisition. Identifiable assets
          acquired and liabilities and contingent liabilities assumed in a business
          combination are measured initially at their fair values on the date of acquisition,
          irrespective of the extent of any minority interest.

          Subsidiaries are consolidated from the date on which control is transferred to the
          Group to the date on which that control ceases. In preparing the consolidated
          financial statements, intergroup transactions, balances and unrealised gains on
          transactions between group companies are eliminated. Unrealised losses are also
          eliminated unless the transaction provides evidence of an impairment of the asset
          transferred. Where necessary, adjustments are made to the financial statements of
          subsidiaries to ensure consistency of accounting policies with those of the Group.

          Non-Controlling interest is that part of the net results of operations and of net
          assets of a subsidiary attributable to interests which are not owned directly or
          indirectly by the Group. It is measured at the minorities' share of the fair value of
          the subsidiaries' identifiable assets and liabilities at the date of acquisition by the
          Group and the minorities share of changes in equity since the date of acquisition,
          except when the losses applicable to the minority in a subsidiary exceed the
          minority interest in the equity of that subsidiary.

          In such case, the excess and further losses applicable to the minority are attributed
          to the equity holders of the company, unless the minority has a binding obligation
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               to, and is able to, make good the losses. When that subsidiary subsequently
               reports profits, the profits applicable to the minority are attributed to the equity
               holders of the company until the minority's share of losses previously absorbed
               by the equity holders of the company has been recovered.

               Acquisition

               The acquisition method of accounting is used to account for business
               combinations entered into by the group.




          2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

               The consideration transferred for the acquisition of a subsidiary comprises the fair
               value of the assets transferred, liabilities incurred and the equity interests issued
               by the group. The consideration transferred also includes any contingent
               consideration arrangement and any pre-existing equity interest in the subsidiary.

               The acquisition related costs are expensed as incurred.

               Identifiable assets acquired and liabilities and contingent liabilities assumed in a
               business combination are, with limited exceptions, measured initially at their fair
               values at the acquisition date.
.
               On an acquisition -by-acquisition basis, the group recognises any non-controlling
               interest in the acquiree at the date of acquisition either at fair value or at the
               non-controlling interest's proportionate share of the acquiree's net identifiable
               assets.

               The excess of the consideration transferred, the amount of any non-controlling
               interest in the acquiree and the acquisition-date fair value of any previous equity
               interest in the acquiree over the fair value of the net identifiable assets acquired is
i1             recorded as goodwill. The excess of fair value of the net assets acquired over the
I              consideration transferred is recorded as negative goodwill in profit or loss
               statement on the date of acquisition.

               Disposals

               When a change in the group's ownership interest in a subsidiary result in a loss of
               control over the subsidiary, the assets and liabilities of the subsidiary, including
               any goodwill, are derecognised. Amount previously recognised in other
               comprehensive income in respect of that equity are also reclassified to profit or
               loss or transferred directly to retained earnings if required by a specific Standard.

               Any retained equity interest in the equity is remeasured at fair value. The
               difference between the carrying amount of the retained interest at the date when
               control is lost and its fair value is recognised in profit or loss.

               Goodwill

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             Goodwill is measured at cost less accumulated impairment losses. Negative
             goodwill is recognised immediately in profit or loss statement. On disposal of a
             subsidiary or a jointly controlled entity, the attributable amount of goodwill is
             included in the determination of the profit or loss on disposal.




     2.      SIGNIFICANT ACCOUNTING POLICIES (continued)

             Transactions with non-controlling interests
             Changes in the group's ownership interest in a subsidiary that do not result in a
             loss of control over the subsidiary are accounted for as transactions with equity
             owners of the company. Any difference between the change in. the carrying
             amounts of the non-controlling interest and the fair value of the consideration
             paid or received is recognised in a separate reserve within equity attributable to
             the equity holders of the company.

             Associated companies

              Associated companies are entities over which the group has significant influence,
          but not control, generally accompanying a shareholding of between and including
          20% and 50% of the voting rights. Investments in associated companies are
          accounted for in the consolidated financial statements using the equity method of
          accounting.

             Investments in associated companies in the company's consolidated financial
             statement include goodwill (net of accumulated amortisation) identified on
             acquisition, where applicable. Equity accounting involves recording investments
             in associated companies initially at cost, and recognising the group's share of its
             associated companies' post-acquisition results and its share of post-acquisition
             movements in reserves against the carrying amount of the, investments. When the
             group share of losses in an associated company equals or exceeds its interests in
             the associated company, including any other unsecured receivables, the group
             does not recognise further losses, unless it has incurred obligations or made
             payments on behalf of the associated company.

             In applying the equity method of accounting, unrealised gains on transactions
             between the group and its associated companies are eliminated to the extent of
             the group's interest in the associated companies. Unrealised losses are also
             eliminated unless the transaction provides evidence of an impairment of the asset
             transferred. Where necessary, adjustments are made to the financial statements of
             associated companies to ensure consistency of accounting policies with those of
             the group. Unquoted investments held on a long-term basis are stated at cost.


             Allowance is made for any diminution in value, which is considered to be
             permanent in nature. Unquoted investments held on a short-term basis are stated
             at the lower of cost and market value on an aggregate portfolio basis by category
             of investments. Dividend income is recorded gross on the date it is declared
             payable by the investee company.

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      2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

      2.3   INTANGIBLE FIXED ASSETS - GOODWILL

            Goodwill

            Goodwill represents the excess of cost of an acquisition over the fair value of the
            group's share of net identifiable assets of the acquired subsidiary at the date of
            acquisition. Goodwill is tested annually for impairment and is carried at cost less
            impairment losses. Impairment losses on goodwill are not reversed. Gains and
            losses on the disposal of an entity include the carrying amount of goodwill
            relating to the entity sold.

            This is largely attributable to plant and equipment and the goodwill is
            accordingly debited to income over the following basis:
            Goodwill                                           10 years
            Goodwill relating to fixed assets:                 5-20 years
            Customer list                                      4 years and 6 months
            Patents                                            10 years
            Amortization of goodwill as per above table is being reversed in consolidation as
            per Singapore FRS.
            Being the year over which the corresponding fixed assets are being depreciated.

            For the purpose of impairment testing, in the above subsidiary the goodwill is
            allocated to the cash -generating units expected to benefit from the acquisition.
            Cash -generating units to which goodwill has been allocated are tested for
            impairment at least annually, or more frequently when there is an indication that
            the unit may be impaired. If the recoverable amount of the cash-generating unit is
            less than the carrying amount of the unit, the impairment loss is allocated first to
            reduce the carrying amount of any goodwill allocated to the unit and then to the
            other assets of the unit pro-rata on the basis of the carrying amount of each asset
            in the unit.

     2.4    INTANGIBLE FIXED ASSETS - OTHER THAN GOODWILL

            Intangible assets acquired separately from a business are recognised at cost and
            are subsequently measured at cost less accumulated amortisation and
            accumulated impairment losses. Intangible assets acquired on business
            combinations are recognised separately from goodwill at the acquisition date
            where it is probable that the expected future economic benefits that are
            attributable to the asset will flow to the entity and the fair value of the asset cart
            be measured reliably. The intangible asset arises from contractual or other legal
            rights and the intangible asset is separable from the entity.

            Amortisation is recognised so as to write off the cost or valuation of assets less
            their residual values over their useful lives on the following bases:
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     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           Intangible fixed assets are considered to have finite useful lives and are amortised
           on a systematic basis over their expected lives as follows:

                  Software                                     2-3 years
                  Long term customer relationships             5 years
                  Barton Brand                                 10 years
                  Customer Iist                                4 years and 6 months
                  Administrative expenses                      3 years
                  Patents & Licences                           5 years

     2.5   PROPERTY, PLANT AND EQUIPMENT

     (a) Measurement

           All items of property, plant and equipment including freehold land and
           artwork/statue are initially recognised at cost. Subsequent to recognition,
           property, plant and equipment are measured at cost less accumulated
           depreciation and impairment losses (if any). The cost of property, plant and
           equipment includes its purchase price and any costs directly attributable to
           bringing the asset to the location and condition necessary for it to be capable of
           operating in the manner intended by management. Dismantlement, removal or
           restoration costs are included as part of the cost of property, plant and equipment
           if the obligation for dismantlement, removal or restoration is incurred as a
           consequence of acquiring or using the property, plant and equipment.

     (b)   Depreciation

           Depreciation is calculated using the straight-line method to allocate depreciable
           amounts over their estimated useful lives. The estimated useful lives are as
           follows:
                  Land is not depreciated.
                  Buildings                                    .10 years
                  Leasehold land and buildings                          25 years
                  Fixtures, fittings and equipment              3-15 years
                  Plant and equipment                           3-34 years
                  Motor vehicles and mobile plant               0-7 years
                  Leasehold improvements                        3-15 years
                  Freehold land and buildings                   20-50 years
                  Fixtures & fittings for construction        10 to 25 years
                  Equipment & tools                             3 to 10 years
                  Computer equipment                            3-10 years
                  Assets under construction                     Not depreciated until
                                                                completion and asset brought
                                                                into use
     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           Freehold land and artwork/statue are not depreciated while other assets been
           depreciated.


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           Building under construction is stated at cost and is not depreciated. On
           completion of the relevant asset, the cost will be capitalised and depreciated from
           the date of asset is ready for use.

           Assets held under finance lease are depreciated over their expected useful lives on
           the same basis as owned assets or, if there is no certainty that the lessee will
           obtain ownership by the end of the lease term, the asset shall be depreciated over
           the shorter of the lease term and its useful life.

           The residual values, useful lives and depreciation method are reviewed at the end
           of each reporting period, and adjusted prospectively, if appropriate. A full year's
           depreciation is provided for assets acquired in the year and no depreciation is
           provided for the year in which the asset is disposed off.

           Fully depreciated plant and equipment are retained in the financial statements at
           nominal value until such time when they are no longer in use and no further
           charge for depreciation is made in respect of these assets.

           One of the subsidiary has taken certain transitional exemptions under FRS 102 to
           use the historic valuation of certain land and buildings as deemed cost. The
           revaluation reserve will be released over the remaining life of the associated
           property assets.

           One of the subsidiary assets of a period of use longer than 1 year, but of the value
           not exceeding PLN 3500.00 (USD900 equivalent) are written off when they are
           issued for use directly in the costs of materials consumption.

     (c)   Subsequent expenditure

           Subsequent expenditure relating to plant and equipment that has already been
           recognised is added to the carrying amount of the asset when it is probable that
           future economic benefits, in excess of the standard of performance of the assets
           before the expenditure was made, will flow to the company and the cost can be
           reliably measured. Other subsequent expenditure is recognised as an expense
           during the financial year in which it is incurred.




     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

     (d)   Disposal

           An item of plant and equipment is derecognised upon disposal or when no future
           economic benefits are expected from its use or disposal. On disposal of an item of
           plant and equipment, the difference between the net disposal proceeds and its
           carrying amount is taken to the income statement.

     (e)   Impairment of assets

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            Plant and equipment are reviewed for impairment whenever there is any
            indication that these assets may be impaired. If any such indication exists, the
            recoverable amount (i.e.) the higher of the fair value less cost to sell and value in
            use of the asset is estimated to determine the amount of impairment loss. For the
            purpose of impairment testing, recoverable amount is determined on an
            individual asset basis unless the asset does not generate cash flows that are
            largely independent of those from other assets. If this is the case, recoverable
            amount is determined for the cash generating unit (CGU) to which the asset
            belongs.

             If the recoverable amount of the asset (or CGU) is estimated to be less than its
     carrying amount, the carrying amount of the asset (or CGU) is reduced to its
     recoverable amount. The impairment loss is recognised in the income statement. A
     impairment loss for an asset is reversed if, and only if, there has been a change in the
     estimates used to determine the asset recoverable amount since the last imp airmen t
     loss was recognised. The carrying amount of art asset is increased to its revised
     recoverable amount, provided that this amount does not exceed the          carrying
     amount that would have been determined (net of depreciation) had no impairment
     loss been recognised for the asset in prior years. A reversal of   impairment loss for an
     asset is recognised in the income statement.

     2.6    IMPAIRMENT OF FINANCIAL ASSETS

            These accounting policies are applied on or after the initial application date of
            FRS 109, 1 January 2019.

            The Company recognises an allowance for expected credit losses (ECLs) for all
            debt instruments not held at FVPL. ECLs are based on the difference between the
            contractual cash flows due in accordance with the contract and all the cash flows
            that the Company expects to receive, discounted at an approximation of the
            original effective interest rate. The expected cash flows will include cash flows
            from the sale of collateral held or other credit enhancements that are integral to
            the contractual terms.



     2.         SIGNIFICANT ACCOUNTING POLICIES (continued)

            ECLs are recognised in two stages. For credit exposures for which there has not
            been a significant increase in credit risk since initial recognition, ECLs are
            provided for credit losses that result from default events that are possible within
            the next 12-months (a 12-month ECL). For those credit exposures for which there
            has been a significant increase in credit risk since initial recognition, a loss
            allowance is recognised for credit losses expected over the remaining fife of the
            exposure, irrespective of timing of the default (a lifetime ECL).

            For trade receivables, the Company applies a simplified approach in calculating
            ECLs. Therefore, the Company does not track changes in credit risk, but instead
            recognizes a loss allowance based on lifetime ECLs at each reporting date. The
            Company has established a provision matrix that is based on its historical credit
            loss experience, adjusted for forward-looking factors specific to the debtors and
            the economic environment which could affect debtors' ability to pay.
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                The Company considers a financial asset in default when contractual payments
                are 180 days past due. However, in certain cases, the Company may also consider
                a financial asset to be in default when internal or external information indicates
                that the Company is unlikely to receive the outstanding contractual amounts in
                full before taking into account any credit enhancements held by the Company. A
                financial asset is written off when there is no reasonable expectation of recovering
 r
                the contractual cash flows.

                These accounting policies are applied before the initial application date of FRS
                109, 1 January 2019.

                The Company assesses at each reporting date whether there is any objective
                evidence that a financial asset is impaired.

                Financial assets carried at amortised cost

                For financial assets carried at amortised cost, the Company first assesses whether
H               objective evidence of impairment exists individually for financial assets that are
                individually significant, or collectively for financial assets that are not
                individually significant. If the Company determines that no objective evidence of
                impairment exists for an individually assessed financial asset, whether significant
                or not, it includes the asset in a company of financial assets with similar credit
                risk characteristics and collectively assesses them for impairment. Assets that are
                individually assessed for impairment and for which an impairment loss is, or
                continues to be recognised are not included in a collective assessment of
                impairment.



           2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

                If there is objective evidence that an impairment loss on financial assets carried at
                amortised cost has been incurred, the amount of the loss is measured as the
                difference between the assets's carrying amount and the present value of
                estimated future cash flows discounted at the financial asset's original effective
                interest rate. If a loan has a variable interest rate, the discount rate for measuring
                any impairment loss is the current effective interest rate. The carrying amount of
                the asset is reduced through the use of an allowance account. The impairment
                loss is recognised in profit or loss.

                When the asset becomes uncollectibIe, the carrying amount of impaired financial
                asset is reduced directly or if an amount was charged to the allowance account,
                the amounts charged to the allowance account are written off against the carrying
                amount of the financial asset.

L.:             To determine whether there is objective evidence that an impairment loss on
                financial assets has been incurred, the Company considers factors such as the
                probability of insolvency or significant financial difficulties of the debtor and
                default or significant delay in payments.


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           If, in a subsequent period, the amount of the impairment loss decreases and the
           decrease can be related objectively to an event occurring after the impairment was
           recognised, the previously recognised impairment loss is reversed to the extent
           that the carrying amount of the asset does not exceed its amortised cost at the
           reversal date. The amount of reversal is recognised in profit or loss.

     2.1 INVENTORIES

           Inventories are recorded initially at cost and in some cases at revalued amount as
           its cost itself (at time of acquisition). They are valued at the lower of cost and net
           realisable value. Cost is arrived at using the specific identification procedures
           comprised invoice value plus applicable landing charges. Net realisable value is
           based on estimated selling price less any estimated cost of completion and
           disposal.

           Costs incudes all direct costs incurred in bringing the inventories to their present
           location and condition.

           At each reporting date, an assessment is made for impairment. Any excess of the
           carrying amount of inventories over its estimated selling price less costs to
           complete and sell is recognised as an impairment loss in profit or loss. Reversals
           of impairment losses are also recognised in profit or loss.



     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           One of the subsidiary-balances and expenditures included in the quantity and
           value register of stocks are valued as follows: materials and goods at purchase
           prices, finished products at production costs, and the adopted method of
           valuation of expenditures -according to the FIFO method.

           Goods-in-transits presents the inventory over which the group has legal title
           based on the terms of purchase, but which are physically not received at the
           group's warehouse.

     2.2   CASH AND CASH EQUIVALENTS

           Cash and cash equivalents comprise cash balances and bank deposits and highly
           liquid investments, which are readily convertible to cash and which are subject to
           an insignificant risk of change in value. For the purpose of the statement of cash
           flows, cash and cash equivalents are presented net of bank overdraft, if any,
           which are repayable on demand and which form an integral part of the
           company's cash management. Restricted deposits are excluded from cash and
           cash equivalents.

           One of the subsidiary cash is represented by cash in hand and deposits with
           financial institutions repayable without penalty on notice of not more than 24
           hours. Cash equivalents are highly liquid investments that mature in no more
           than three months from the date of acquisition.

     2.3   FINANCIAL INSTRUMENTS
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              These accounting policies are applied on or after the initial application date of
              FRS 109,1 January 2019.

         a)   Financial Assets

              Initial recognition and measurement

              Financial assets are recognised when, and only when the entity becomes party to
              the contractual provisions of the instruments.

              At initial recognition, the Company measures a financial asset at its fair value
              plus, in the case of a financial asset not at FVPL, transaction costs that are directly
              attributable to the acquisition of the financial asset. Transaction costs of financial
              assets carried at FVPL are expensed in profit or loss. Trade receivables are
              measured at the amount of consideration to which the Company expects to be
              entitled in exchange for transferring promised goods or services to a customer,
              excluding amounts collected on behalf of third party, if the trade receivables do
H             not contain a significant financing component at initial recognition.

         2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

              Subsequent measurement

              Investments in debt instruments
              Subsequent measurement of debt instruments depends on the Company's
              business model for managing the asset and the contractual cash flow
              characteristics of the asset. The three measurement categories for classification of
              debt instruments are amortised cost, FVOCI and FVPL. The Company only has
              debt instruments at amortised cost.

              Financial assets that are held for the collection of contractual cash flows where
              those cash flows represent solely payments of principal and interest are measured
              at amortised cost. Financial assets are measured at amortised cost using the
              effective interest method, less impairment. Gains and losses are recognised in
              profit or loss when the assets are derecognised or impaired, and through the
              amortisation process.

              Investments in equity instruments

              On initial recognition of an investment in equity instrument that is not held for
              trading, the Company may irrevocably elect to present subsequent changes in fair
              value in other comprehensive income which will not be reclassified subsequently
              to profit or loss. Dividends from such investments are to be recognised in profit or
              loss when the Company's right to receive payments is established. For
              investments in equity instruments which the Company has not elected to present
              subsequent changes in fair value in other comprehensive income, changes in fair
              value are recognised in profit or loss.

.             Derecognition


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           A financial asset is derecognised where the contractual right to receive cash flows
           from the asset has expired. On derecognition of a financial asset in its entirety, the
           difference between the carrying amount and the sum of the consideration
           received and any cumulative gain or loss that had been recognised in other
           comprehensive income for debt instruments is recognised in profit or loss.

     b)    Financial liabilities

           Initial recognition and measurement

           Financial liabilities are recognised when, and only when, the Company becomes a
           party to the contractual provisions of the financial instrument. The Company
           determines the classification of its financial liabilities at initial recognition. All
           financial liabilities are recognised initially at fair value plus in the case of financial
           liabilities not at FVPL, directly attributable transaction costs.
     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           Subsequent measurement

           After initial recognition, financial liabilities that are not carried at FVPL are
           subsequently measured at amortised cost using the effective interest method.
           Gains and losses are recognised in profit or loss when the liabilities are
           derecognised, and through the amortisation process.

           Derecognition

           A financial liability is derecognised when the obligation under the liability is
           discharged or cancelled or expires. On derecognition, the difference between the
           carrying amounts and the consideration paid is recognised in profit or loss.

           These accounting policies are applied before the initial application date of FRS
           109,
           1 January 2019:

     (a)   Financial assets

           Initial recognition and measurement

           Financial assets are recognised when, and only when, the Company becomes a
           party to the contractual provisions of the financial instrument. The Company
           determines the classification of its financial assets at initial recognition. When
           financial assets are recognised initially, they are measured at fair value, plus, in
           the case of financial assets not at FVPL, directly attributable transaction costs.

           Loans and receivables

           Non-derivative financial assets with fixed or determinable payments that are not
           quoted in an active market are classified as loans and receivables. Subsequent to
           initial recognition, loans and receivables are measured at amortised cost using the
           effective interest method, less impairment. Gains and losses are recognised in
           profit or loss when the loans and receivables are derecognised or impaired, and

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                 through the amortisation process. Loans and receivables comprise loan to the
                 holding company, trade and other receivables, and cash and cash equivalents.

                 Cash and cash equivalents comprise cash at banks and on hand.




          2.     SIGNIFICANT ACCOUNTING POLICIES (continued)

                 Available-for-sale financial assets

                 Available-for-sale financial assets are those non-derivative financial assets which
                 are not classified as held-to-maturity investments, loans and receivables or
                 financial assets at FVPL. After initial recognition, available-for-sale financial
                 assets are subsequently measured at fair value. Any gains or losses from changes
                 in fair value of the financial assets are recognised in other comprehensive income,
                 except that impairment losses, foreign exchange gains and losses on monetary
                 instruments and interest calculated using the effective interest method are
                 recognised in profit or loss. The cumulative gain or loss previously recognised in
                 other comprehensive income is reclassified from equity to profit or loss as a
                 reclassification adjustment when the financial asset is derecognised. Investments
                 in equity instruments whose fair value cannot be reliably measured are measured
                 at cost less impairment loss.

                 Derecognitiort

                 A financial asset is derecognised where the contractual right to receive cash flows
                 from the asset has expired. On derecognition of a financial asset in its entirety, the
                 difference between the carrying amount and the sum of the consideration
                 received and any cumulative gain or loss that had been recognised in other
                 comprehensive income for debt instruments is recognised in profit or loss.

           (b)   Financial liabilities

                 Initial recognition and measurement

                 Financial liabilities are recognised when, and only when, the Company becomes a
                 party to the contractual provisions of the financial instrument. The Company
                 determines the classification of its financial liabilities at initial recognition. All
                 financial liabilities are recognised initially at fair value plus in the case of financial
                 liabilities not at FVPL, directly attributable transaction costs.

                 Subsequent measurement

                 After initial recognition, financial liabilities that are not carried at FVPL are
                 subsequently measured at amortised cost using the effective interest method.
                 Gains and losses are recognised in profit or loss when the liabilities are
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                 derecognised, and through the amortisation process.
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           Derecognition

           A financial liability is derecognised when the obligation under the liability is                  1
           discharged or cancelled or expires. On derecognition, the difference between the
           carrying amounts and the consideration paid is recognised in profit or loss.
     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

     2.4   TRADE CREDITORS AND OTHER PAYABLES

           Trade creditors and other payables are carried at cost, which is the fair value of
           the consideration to be paid in the future for goods and services received,
           whether or not billed to the company and subsequently measured at amortised
           cost, using the effective interest method.

     2.5 PROVISIONS

           Provisions are recognised when the Company has a legal or constructive
           obligation as a result of past events, that it is probable that an outflow of                     CJ
           resources will be required to settle the obligation, and a reliable estimate of the
           amount of the obligation can be made. Where the effect of the time value of
           money is material, the amount recognised is the present value of the expenditures
           expected to be required to settle the obligation using a pre-tax rate that reflects
           current market assessments of the time value of money and the risks specific to
           the obligation. The increase in the provision due to passage of time is recognised
           as interest expense.                                                                              [1


           Provisions are recognised when the company has a legal or constructive present
           obligation as a result of a past event and it is probable that the company will be
           required to settle that obligation, and a reliable estimate can be made of the                    L
           amount of the obligation. The amount recognised as a provision is the best
           estimate of the consideration required to settle the present obligation at the
           reporting end date, taking into account the risks and uncertainties surrounding
           the obligation. Where a provision is measured using the cash flows estimated to
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           settle the present obligation, its carrying amount is the present value of those cash
           flows.

           When some or all of the economic benefits required to settle a provision are
           expected to be recovered from a third party, a receivable is recognised as an asset
           if it is virtually certain that reimbursement will be received and the amount of the
           receivable can be measured reliably.

     2.6   FINANCIAL LIABILITIES

           Financial liabilities consist of trade and other payables, bank and other
           borrowings, amount owing to a director, amounts owing to related parties and
           subsidiaries and finance lease liabilities. Financial liabilities are initially measured
           at fair value, and subsequently measured at amortised costs, using the effective
           interest method. The group derecognise financial liability, and only when, the
           group's obligation is discharged, cancelled and expired. Financial liabilities at fair
           value through profit or loss when recognized initially are measured at fair value.
           Financial liabilities not at fair value through profit or loss are measured at fair
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                value plus transaction costs that are directly attributable to the acquisition or
                issue of the financial liability.

           2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

                After initial recognition financial liabilities at fair value through profit or loss,
                including derivatives that are financial liabilities, are measured at fair value.

                Other financial liabilities not at fair value through profit or loss are measured at
                amortized cost and any difference between the proceeds (net of transaction costs)
                and the redemption value is recognized in the profit and loss statement over the
                period of the borrowings and are classified as current liabilities unless there is an
                unconditional right to defer settlement of the liability for at least 12 months after
                the reporting date. Items classified within trade and other payables are not
                usually re-measured, as the obligation is usually known with a high degree of
                certainly arid settlement is short-term.

                Compound instruments

                The component parts of compound instruments issued by the company are
                classified separately as financial liabilities and equity in accordance with the
                substance of the contractual arrangement. At the date of issue, the fair value of
                the liability component is estimated using the prevailing market interest rate for a
                similar non-convertible instrument.

                This amount is recorded as a liability on an amortised cost basis using the
                effective interest method until extinguished upon conversion or at the
ri              instrument's maturity date. The equity component is determined by deducting
                the amount of the liability component from the fair value of the compound
                instrument as a whole. This is recognised and included in equity net of income
                tax effects and is not subsequently remeasured.

                Equity instruments

                Equity instruments issued by the company are recorded at the proceeds received,
                net of direct issue costs. Dividends payable on equity instruments are recognised
                as liabilities once they are no longer at the discretion of the company.

                Offsetting of financial assets and liabilities

                Financial assets and liabilities are offset and the net amount is reported in the
                consolidated statement of financial position, if the Group has a legally enforceable
                right to set off the recognised amounts, and the Group either intends to settle on a
                net basis or realize the asset and settle the liability simultaneously.




          2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

          2.7 TAXATION
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          Income tax expenses represent the sum of the tax currently payable and deferred
          tax. The income taxes are accounted using the asset and liability method that
          requires the recognition of taxes payable or refundable for the current year and
          deferred tax liabilities and assets for the future tax consequences of events that
          have been recognized in the financial statements or tax returns. The
          measurement of current and deferred tax liabilities and assets are based on
          provisions of the enacted or substantially enacted tax laws; the effect of future
          changes in the tax laws or rates are not anticipated. Income tax expense
          represents the sum of the tax currently payable arid deferred tax.

          Current tax
          Current tax assets and liabilities for the current and prior periods are measured at
          the amount expected to be recovered from or paid to the taxation authorities. The
          tax rates and tax laws to compute the amount are those that are enacted or
          substantively enacted by the reporting date.

          Deferred Tax
          Deferred income tax is provided in full, using the liability method, on temporary
          differences arising between the tax bases of assets and liabilities and their
          carrying amounts in the financial statements. Temporary differences are not
          recognized for goodwill not deductible for tax purposes and the initial
          recognition of assets or liabilities that affect neither accounting nor taxable profit.

          Deferred tax liabilities are recognized for all taxable temporary differences, except
          where the deferred tax liability arises from the initial recognition of an asset or
          liability in a transaction that is not a business combination and, at the time of the
          transaction, affects neither the accounting profit nor taxable profit or loss. The
          amount of deferred tax provided is based on the expected manner of realization
          or settlement of the carrying amount of assets and liabilities, using tax rates
          enacted or substantively enacted at the reporting date. Deferred income tax assets
          are recognised for all deductible temporary differences, carried forward of
          unused tax credits and unused tax losses, to the extent that it is probable that
          taxable profit will be available against which the deductible temporary
          differences, and the carried forward of unused tax credits and used tax losses can
          be utilized except where the deferred income tax asset relating to the deductible
          temporary difference arises from the initial recognition of an asset or liability in a
          transaction that is not a business combination and, at the time of the transactions,
          affects neither the accounting profit nor taxable profit or loss.




     2.      SIGNIFICANT ACCOUNTING POLICIES (continued)

          The carrying amount of deferred income tax assets is reviewed at each reporting
          date and reduced to the extent that it is no longer probable that sufficient taxable
          profit will be available to allow all or part of the deferred income tax asset to be
          utilised. Unrecognised deferred income tax assets are reassessed at each
          reporting date and are recognised to the extent that it has become probable that
          future taxable profit will allow deferred tax asset to be recovered. Deferred

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                     taxation benefits are recognised in the accounts only to the extent of any deferred
                     tax liability or when benefits are expected to be realisable in the near future.

                     Deferred income tax assets and liabilities are measured at the tax rates that are
                     expected to apply to the year when the asset is realised or the liability is settled,
                     based on tax rates (and tax laws) that have been enacted or substantively enacted
                     at the reporting date. Income tax relating to items recognised directly in equity is
                     recognised in equity. Income tax assets and deferred tax liabilities are offset, if a
                     legally enforceable right exists to set off current tax assets against current
                     liabilities and the deferred tax relate to the same taxable entity and the same
                     taxation authority.

               2.1   DERIVATIVE FINANCIAL INSTRUMENTS AND HEDING ACTIVITIES

                     A derivative is a financial instrument that changes its values in response to
                     changes in the underlying variable, requires no or little net initial investment and
                     is settled at a future date. The group uses derivative to manage exposures to
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                     commodity prices. A derivative financial instrument is initially recognised at its
                     fair value on the date the contract is entered into and is subsequently carried at its
                     fair value. The method of recognising the resulting gain or loss depends on
                     whether the derivative is designated as a hedging instrument, and if so, the
                     nature of the item being hedged. Fair value changes on derivatives that are not
                     designed or do not qualify for hedge accounting are recognised in profit and loss
                     when the changes arise. Derivatives are carried as assets when their value is
                     positive and as liabilities when their fair value is negative.

                     The carrying amount of a derivative financial instruments presented as a
                     non-current asset or liability if the remaining expected life of the hedged item is
                     more than 12 months, and as a current asset or liability if the remaining expected
                     life of the hedged item is less than 12 months. The fair value of a trading
                     derivative is presented as a current asset or liability. Financial assets and
                     liabilities are offset and the net amount reported in the statements of financial
                     position when there is a legally enforceable right to offset and there is an
                     intention to settle on a net basis or realise the assets and settle the liabilities
                     simultaneously.




              2.     SIGNIFICANT ACCOUNTING POLICIES (continued)

I             2.2 SHARE CAPITAL
I
                     Ordinary equity shares
     1
                     Ordinary shares are classified as equity. Incremental costs directly attributable to
                     the issue of new shares or options are shown in equity as a deduction from the
                     proceeds. Where the company reacquires its own equity instruments as treasury
                     shares, the consideration paid, including any directly attributable incremental
                     cost is deducted from equity attributable to the company's equity holders until
                     the shares are cancelled, reissued or disposed of. Where such shares are
                     subsequently sold or reissued, any consideration received, net of any directly
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           attributable incremental transaction costs and related income tax effects, is
           included in equity attributable to the company's equity holders and no gain or
           loss is recognised in the profit and loss statement.

           Preference shares

           Each preference shares has full rights to receive notice of and attend general
           meetings but shall only be entitled to vote or speak upon resolutions which are
           proposed which either vary or abrogate the rights and restrictions attaching to the
           preference shares. One share carries one vote. On return of capital or distribution
           of assets, whether or not upon winding up, holders of preference shares will rank
           in priority to the holders of any other class of shares. The preference shares are
           redeemable at the option of the company and a cumulative dividend of 2 % per
           annum accrues on the preference shares. Holders of the preference shares are
           entitled to receive cumulative preference dividend out of the distributable profit,
           if any, in priority to the payment of any dividend to the holders of any other class
           of shares.

     2.3   REVENUE RECOGNITION

           Revenue is measured at the fair value of consideration received or receivables and
           represents amount receivable for the services provided in the normal course of
           the group's activities, net of discounts, sales related taxes and after eliminated
           sales within the group.

           The group recognises revenue when the amount of revenue and related cost can
           be reliable measured, when it is probable that collectability of the related
           receivables is reasonably assured and when the specific criteria for each of the
           group's activities are met as follows: -




     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           (i)     Revenue from sale of goods is recognised upon passage of title to the
                   customer, which generally coincides with their delivery and acceptance.
           (ii)    Interest income is recognised on effective interest method and/or on
                   accrued and payable basis.
           (iii)   Income from management services, business development and
                   consultancy services are recognised upon the rendering of services.
           (iv)    Rental income from operating lease (net of any incentives given to the
                   lessees) is recognised on a straight line basis over the lease terms.
           (v)     Sale/Contract income from projects

           Revenue is recognised to the extent that it is probable that the economic benefits
           will flow to the company and the revenue can be reliably measured. Revenue is
           recognised when the significant risks and rewards of ownership have been
           transferred to the customer. Revenue excludes goods and services taxes or other
           sales taxes and is arrived at after deduction of trade discounts. No revenue is
           recognised if there are significant uncertainties regarding recovery of the
           consideration due, associated costs or the possible return of goods.
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                  Profit on projects is recognised using the percentage of completion method. The
                  percentage of completion is measured by reference to the costs incurred to date
                  and the estimated total costs for each contract. Profits are recognised only in
i s               respect of finalised sales agreements and to the extent that such profits relate to
                  the progress of the construction work.

                 When the outcome of a construction contract can be estimated reliably, contract
                 revenue and expenses are recognised in the profit and loss account by reference to
                 the stage of completion of the contract activity at the reporting date. The stage of
                 completion is assessed by reference to surveys of work performed. When it is
                 probable that total contract costs will exceed total contract revenue, the expected
                 loss is recognised as an expense immediately in the profit and loss accounts.

                 Other Service income
                 Revenue from services is recognised when the company has delivered the service
                 to the customer; the customer has accepted the services and collectability of the
                 related receivables is reasonably assured.




           2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

           2.1   FINANCE COSTS

                 Interest expense and similar charges are expensed in the profit and loss statement
                 in the period in which they are incurred, except to the extent that they are
                 capitalised as being attributable to the acquisition, construction or production of
                 an asset which necessarily takes a substantial period of time to be prepared for its
                 intended use or sale. The interest component of finance lease payments is
                 recognised in the profit and loss statement using the effective interest method.

                 Borrowings are classified as current liabilities unless there is a formal agreement
                 in place to defer payments for more than 12 months, in which case, such
                 payments are classified as non -current liabilities.

                 All borrowings costs are expensed in the year in which they occur and consist of
                 interest and other costs that the Group incurs in connection with the borrowing of
                 funds.

                 For the consolidated statement of cash flow purposes, movements in working
                 capital facilities, which are directly linked to working capital assets, are included
                 as part of cash flows from operating activities.

                 In the above subsidiary, tax regulations apply to the classification of leasing
                 contracts.
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    2.2    FAIR VALUE FINANCIAL INSTRUMENTS

           The carrying amounts of current receivables and payables are assumed to
           approximate their fair values. The carrying values of current financial assets and
           financial liabilities including cash, accounts receivable, short-term borrowings,
           account payable approximate their values due to the short-term maturity of these
           instruments. The fair values of non-current financial instruments are not
           disclosed unless there are significant items at the end of the year and in the event
           the fair values are disclosed in the relevant notes. Disclosures of fair value are not
           made when the carrying amount is a reasonable approximation of fair value. The
           maximum exposure to credit risk is the fair value of the financial instruments at
           the end of the reporting period.




    2.     SIGNIFICANT ACCOUNTING POLICIES (continued)

    2.3    FOREIGN CURRENCY TRANSLATION

     (1)      Measurement currency

           Items included in the financial statements of the Company are measured using
           the currency that best reflects the economic substance of the underlying events
           and circumstances relevant to the Company ("the measurement currency"). The
           financial statements of the Company are presented in United States dollars which
           is the measurement currency of the Company.

     (2)       Transactions and balances
           Foreign currency transactions are translated into the measurement currency using
           the exchange rates prevailing at the date of transactions. Foreign currency
           monetary assets and liabilities are translated into the measurement currency at
           the rates of exchange prevailing at the reporting date. Foreign exchange gains
           and losses resulting from the settlement of foreign currency transactions and from
           the translation at financial year-end exchange rates of monetary assets and
           liabilities denominated in foreign currencies are taken to the income statement.

    2.1    EMPLOYEE BENEFIT

           Employee end-of Service gratuity

           Provision is made by one of the subsidiaries for end-of-service gratuity payable to
           the employee at the end of the reporting period in accordance with local labour
           laws.

           Employee leave entitlement

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                 Employee entitlements to annual leave are recognised when they accrue to
                 employees. An accrual is made for the estimated liability for annual leave as a
                 result of services rendered by employees up to reporting date.

                 Defined contribution plans

                 Defined contribution plans are post-employment benefit plans under which the
                 Company pays fixed contributions into separate entities such as Central
                 Provident Fund, and will have no legal or constructive obligation to pay further
                 contributions if any of the funds does not hold sufficient assets to pay all
                 employee benefits relating to employee service in the current and preceding
                 financial years.



            2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

                 The Company's contributions to defined contribution plans are recognised in the
                 financial year to which they relate.

                 Key management personnel of the company are those persons having authority
                 and responsibility for planning, directing and controlling the activities of the
                 company. The Board of directors and the senior management team of the
                 company are considered as key management personnel of the Company.

                 Retirement benefits

                 The pension costs for defined contributions schemes are the contributions payable
                 in the period.

                 The company operates the Coventry Presswork Pension and Life Assurance
                 Scheme, a funded defined benefit scheme, under which contributions are made to
                 a separately administered trust fund.

                 The surplus or liability recognised in the statement of financial position in respect
                 of the defined benefit plan is the present value of the defined benefit obligation at
                 the end of the statement of financial position date less the fair value of plan assets
                 at the statement of financial position date out of which the obligations is to be
                 settled.

                 The defined benefit obligation is calculated using the projected unit credit
                 method. Annually the company engages independent actuaries to calculate the
                 obligation. The present value is determined by discounting the estimated future
                 payments using market yields on high quality corporate bonds and have terms
                 approximation to the estimated period of the future payments ('discount rate).

                 Actuarial gains and losses arising from experience adjustments and changes in
                 actuarial assumptions are charged or credited to other comprehensive income.
                 These amounts together with the return on plan assets, less amounts included in
                 net interest are disclosed as `remeasurement of net defined benefit liability'.


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          The cost of the defined benefit plan, recognised in the income statement employee
          costs, except where included in the cost of an asset, comprises:

          a)    The increase in net pension benefit liability arising from employee service
                during the period; and
          b)    The cost of plan introductions, benefit changes, curtailments and
                settlements.



     2.   SIGNIFICANT ACCOUNTING POLICIES (continued)

          The net interest cost is calculated by applying the discount rate to the net balance
          of the defined benefit obligation and the fair value of plan assets. This cost is
          recognised in the income statement as a 'finance expense'.

          Pensions:

          Defined contribution pension plan

          The subsidiaries operate a defined contribution plan for its employees. A defined
          contribution plan is a pension plan under which the subsidiary pays fixed
          contributions into a separate entity. Once the contributions have been paid the
          subsidiary has no further payment obligations.

          The contributions are recognised as an expense in the Profit and Loss Account
          when they fall due. Amounts not paid are shown in accruals as a liability in the
          financial statement. The assets of the plan are held separately from the subsidiary
          in independently administered funds.

          One of the subsidiary is a member of a multi-employer plan. Where it is not
          possible for the subsidiary to obtain sufficient information to enable it to account
          for the plan as a defined benefit plan, it accounts for the plan as a defined
          contribution plan.

          Where amounts are recharged for deficit funding of the group's pension scheme,
          and the amounts are material, these are disclosed separately.

          Further information with regards to the scheme is provided in Note 32 Retirement
          benefits and Pension commitments.

          The total amount of pension liability that was unpaid at the year-end was GBP
          12,265 (2018: GBP 4,723). The assets of the scheme are held separately from those
          of the subsidiary in the Lochaber GFG Pension Fund an Independently
          administered fund.

          Defined contribution schemes charged to profit or loss in respect of defined
          contribution schemes GBP 388,181 (2018: GBP 335,253). The contributions
          totalling GBP 79,402 (2018: GBP 14,234) were outstanding and included within
          current liabilities. Defined contribution schemes charged to profit or loss in
          respect of defined contribution schemes GBP 52,564 (2018: GBP 10,636).

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     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

     2.2   CONTINGENT LIABILITIES

            A contingent liability is disclosed when the Group has a possible obligation as a
           result of past events, the existence of which will be confirmed only by the
           occurrence or non-occurrence , of one or more uncertain future events, not wholly
           within the control of the Group; or when the Group has a present legal or
           constructive obligation, that arises from past events , but it is not probable that an
           outflow of resources embodying economic benefits will be required to settle the
           obligation., or the amount of the obligation cannot be measured with sufficient
           reliability.

     2.3 LEASES

     a)    As lessee

           Finance leases which transfer to the Company substantially all the risks and
           rewards incidental to ownership of the leased item, are capitalised at the
           inception of the lease at the fair value of the leased asset or, if lower, at the
           present value of the minimum lease payments. Any initial direct costs are also
           added to the amount capitalised. Lease payments are apportioned between the
           finance charges and reduction of the lease liability so as to achieve a constant rate
           of interest on the remaining balance of the liability. Finance charges are charged
           to profit or loss. Contingent rents, if any, are charged as expenses in the periods in
           which they are incurred. Capitalised leased assets are depreciated over the
           shorter of the estimated useful life of the asset and the lease term, if there is no
           reasonable certainty that the
           Company will obtain ownership by the end of the lease term.

           Operating lease payments are recognised as an expense in profit or loss on a
           straight-line basis over the lease term. The aggregate benefit of incentives
           provided by the lessor is recognised as a reduction of rental expense over the
           lease term on a straight-Iine basis.

     b)    As lessor

           Leases in which the Company does not transfer substantially all the risks and
           rewards of ownership of the asset are classified as operating leases. Initial direct
           costs incurred in negotiating an operating lease are added to the carrying amount
           of the leased asset and recognised over the lease term on the same bases as rental
           income.




     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)
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     2.4   RELATED PARTIES

           A related party is defined as follows:

           a)     a person or a close member of that person's family is related to the
                  company if that person:


                      (i) has control or joint control over the company;
                      (ii)has significant influence over the company;
                     (iii)is a member of the key management personnel of the company or
                          of a parent of the company;
           b)     an entity is related to the company if any of the following conditions
                  applies:

                      i. the entity and the company are members of the same company
                           (which means that each parent, subsidiary and fellow subsidiary is
                           related to the others).
                      ii. one entity is an associate or joint venture of the other entity (or an
                           associate r joint venture of a member of a company of which the
                           other entity is a member).
                      iii. both entities are joint ventures of the same third party.
                      iv. one entity is a joint venture of a third entity and the other entity is
                           an associate of the third entity.
                      v. the entity is a post-employment benefit plan for the benefit of
                           employees of either the company or an entity related to the
                           company. If the company is itself such as plan, the sponsoring
                           employers are also related to the company;

                      vi. the entity is controlled or jointly controlled by a person identified
                          in (a)

                      vii.a person identified in (a) (i) has significant influence over the entity
                          or is a member of the key management personnel of the entity (or
                          of a parent of the entity).




     2.    SIGNIFICANT ACCOUNTING POLICIES (continued)

     2.5   GOVERNMENT GRANTS


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            Government grants are recognised at the fair value of the asset received or
            receivable when there is reasonable assurance that the grant conditions will be
            met and the grants will be received. A grant that specifies performance conditions
            is recognised in income when the performance conditions axe met. Where a grant
            does not specify performance conditions it is recognised in income when the
            proceeds are received or receivable. A grant received before the recognition
            criteria are satisfied is recognised as a liability.

      2.6   INVOICE DISCOUNTING

            Trade receivables are subject to an invoice discounting facility with a related
            party where an advance is received based upon secured receivables.

            In accordance with the invoice discounting facility, certain trade receivables are
            sold on a non-recourse basis and hence the company does not retain the
            significant risks and rewards related to the discounted debts. As such, trade
            receivables are shown net of the amount sold with the latter being derecognised
            as it accrues and is included in the Statement of Comprehensive income with
            interest payable and similar charges.

     2.7    CORRECTION OF PRIOR PERIOD BALANCES AND DISCLOSURES

            In preparing the financial statements, the director identified that the company
            had incorrectly classified or disclosed certain balances in the prior period
            financial statements. The director has therefore corrected the respective
            comparatives in the current period financial statements. The prior period
            balances and disclosures affected are cost of inventories disclosure, finance lease
            obligations disclosure, operating lease commitments disclosure, a reclassification
            between amounts owed by group undertakings and amounts owed by related
            parties payables and netting off trade receivables and the corresponding related
            parties payable as per section 2.12 above. The correction of the above balances
            and disclosures has no impact of the statement of comprehensive income or
            equity, and as a result no tax impact.




     3.        CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS

            Critical accounting estimates, assumptions and judgements

            The presentation of financial statements in confirming with FRS requires the use
            of certain critical accounting estimates, assumptions and judgements in applying
            the accounting policies. These estimates, assumptions and judgements are
            continually evaluated and are based on historical experience and other factors,

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             inducing expectations of future events that are believed to be reasonable under
             the circumstances. Actual results may differ from these estimates.

             The following are the critical accounting estimates, assumptions and judgements
             for preparation of financial statements.

     (i)       Income taxes


             The company recognises liabilities for anticipated tax audit issues based on
             estimates of whether additional taxes will be due. Where the final tax outcome of
             these matters is different from the amounts that were initially recorded, such
             difference will impact the income tax and deferred income tax provisions in the
             period in which such determination is made.

               Provision for unsettled trade receivables

             The Company uses a provision matrix to calculate ECLs for trade receivables. The
             provision rates are based on days past due for groupings of various customer
             segments that have similar loss patterns. The provision matrix is initially based
             on the Company's historical observed default rates. The Company will calibrate
             the matrix to adjust historical credit loss experience with forward-looking
             information. At every reporting date, historical default rates are updated and
             changes in the forward-looking estimates are analysed. The assessment of the
             correlation between historical observed default rates, forecast economic
             conditions and ECLs is a significant estimate.

             The amount of ECLs is sensitive to changes in circumstances and of forecast
             economic conditions. The Company's historical credit loss experience and
             forecast of economic conditions may also not be representative of customer's
             actual default in the future. There was no ECL by the company for the years
             ended March 31, 2019 and 2018.




     3.         CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS (continued)

     (iii)    Determination of functional currency



             In determining the functional currency, judgement is required to determine the
             currency that mainly influences investment in the country whose competitive
             forces and regulations mainly determines the price. The functional currency of the
             company is determined based on management's assessment of the economic
             environment in which the entity operates and entity's process of determining
             sales prices. During the financial year the company decided to have United States
             Dollar as its functional currency.

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                  (iv)   Revenue recognition



                         The management has considered the detailed criteria for the recognition of
                         revenue from the sale of goods as set out is FRS 115 and in particular whether the
                         company has transferred to the buyer the significant risks and rewards of
                         ownership of goods. Revenue excludes goods and service taxes, if any, and is
                         arrived at after deducting of trade discounts. No revenue is recognised if there
                         are significant uncertainties regarding recovery of the consideration due,
                         associated costs or the possible return of goods, the management is satisfied that
                         the significant risks and rewards have been transferred and the recognition of
                         revenue in the current year is appropriate.


        )
                 (v)     Fair value of assets acquired
    .


                         On acquisition of the trade and assets, in accordance with accounting standards,
                         the above subsidiaries have valued its identifiable assets and liabilities at fair
                         value. In deriving the valuation of land and buildings and plant and machinery,
                         which is judgemental, the director has sought the expertise of external values who
(.1                      have valued the land and building, and the plant and machinery.



                         These have been valued on a market value in-situ basis on the premise that all
                         items are fully operational in accordance with manufacturer's recommendations
r                        and that they comply with all statutory and health and safety requirements. The
L                        valuation is inherently subjective due to among others, the individual nature and
                         condition of the fixed assets and their location. As a result, the valuation is subject
        s                to a degree of uncertainty and is made on the basis of assumptions which may not
                         prove to be accurate, particularly in periods of volatility.



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                 3.         CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS (continued)



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            The fair value of other intangibles has been derived based on the director's best
            estimate. On the acquisition of the smelter business, in accordance with the
            accounting standards, the above subsidiary has recognised the identifiable assets
            and liabilities acquired at their fair value. In deriving the valuation of property,
            plant and equipment, which is judgemental the director sought the expertise of
            separate external values who have valued the land and buildings, and the plant
            and equipment. Due to their specialised nature, the buildings have been valued
            on a depreciated replacement cost basis and the land element on the value of the
            site on its existing use. The plant and equipment have been valued on a market
            value in -situ basis, on the basis that all items are fully operational in accordance
            with manufacturers recommendations and that they comply with all statutory
            and health and safety requirements.



     (vi)   Valuation of plant and equipment



            One of the subsidiaries have adopted the revaluation model in respect of plant
            and equipment. In arriving at the fair value, the company has consulted with
            external values, whose valuation is on the basis that the assets are fully
            operational in accordance with the manufacturers recommendations and that
            they comply with relevant statutory and health and safety requirements. As at 31
            March 2018, new fair value of the assets has been determined by external values
            using market value in situ basis. The subsidiaries are not exposed to any
            environmental obligations associated with the assets held. The directors believe
            that the fair value of plant and equipment exceeds its carrying value at 31. March
            2019.



            The valuation is inherently subjective due to, among other factors, the individual
            nature and condition of the steel rolling mill/ plant and equipment and its
            location. As a result, the valuation is subject to a degree of uncertainty and is
            made on the basis of assumptions which may not prove to be accurate,
            particularly in periods of volatility.



            The subsidiaries perform impairment reviews to determine whether the carrying
            value of plant and equipment is impaired by reference to the value in use of the
            assets. The basis of the assumptions used in the value in use calculations require
            judgement to be made, which include forecasting consumers demand, access to
            new markets and technologies, manufacturing efficiencies, growth trend,
            availability of finance and rate of interest used to discount future cash flows.




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          3.          CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS (continued)


          (vii)   Depreciation of property, plant and equipment



                  The group depreciates the property, plant and equipment, using the straight line
                  method, over their estimated useful lives after taking into account of their
                  estimated residual values. The estimated useful life reflects management's
                  estimate of the periods that the group intends to derive future economic benefits
                  from the use of the group's property, plant and equipment.



                  The residual values reflect management's estimated amount that the group would
                  currently obtain from disposal of the asset, after deducting the estimated costs of
                  disposal, as if the asset were already of the age and in the condition expected at
                  the end of its useful life. Residual values are assumed to be zero unless a reliable
                  estimate of the current value can be obtained for similar assets of age and
                  conditions that are reasonably expected to exist at the end of the assets estimated
                  useful lives. The carrying amounts of the group's property, plant and equipment
                  as at the end of each reporting period were disclosed in the note 4 to the financial
                  statements.



          (viii) Impairment of non-financial assets



                  Property, plant and equipment and investment in subsidiaries are tested for
                  impairment whenever there is objective evidence or indication of those assets
                  may be impaired. Determining whether the property, plant and equipment and
                  investment in subsidiaries are impaired requires an estimation of value-in-use of
                  the property, plant and equipment and investment in subsidiaries. The value
                  in-in-use calculation requires the management estimate the future cash flows and
                  appropriate discount rate in order to calculate the present value of future cash
                  flows. The management has evaluated such estimates and is confident that no
                  allowance for impairment is necessary.



                  Measurement of the cost of inventories

                  Management uses valuation techniques to estimate the cost of inventories. The
                  cost of work in progress includes an element of standard cost, which takes into
                  account normal levels of materials, labour and manufacturing efficiency. The cost
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            of finished goods is calculated by reducing the sales value of the inventory by the
            appropriate percentage profit margin. These methods are regularly reviewed and
            revised in the light of current conditions, and any changes in the estimates may
            affect the carrying amounts of inventories.

            Quantities of alumina are determined using volumetric surveys to measure stock
            piles held in sites.



     3.        CRITICAL ACCOUNTING ESTIMATES AND JUDGMENTS (continued)


     (x)    Impairment of inventories


            Management regularly undertakes a review of the group's inventory in order to
            assess their likely realisation proceeds, technological changes, age, likely
            obsolescence, the rate at which the materials are being sold and the physical
            damage. Based on the assessment, assumptions are made as to the level of
            provision is required.


            Inventories are valued at the lower of cost and net realisable value. Net realisable
            value includes, where necessary, provisions for slow moving and obsolete
            inventories. Calculation of these estimates require judgements to be made, which
            include forecasting consumer demand, competitive and economic environment
            and inventory loss trends. This is reviewed by the management on a regular
            basis.


            WIP is applied based on material cost and assessed % of completion based on
            individual works orders.


            A provision for stock loss is made to ensure the accounts reflect the lowest of net
            realisable value or cost.


     (xi)   Amount owing by immediate holding company and related parties


            Management determines whether their significant increase in credit risk of these
            related parties since initial recognition. Management considers various operating
            performance ratios as well as liquidity rations of these related parties. There is no
            significant increase in credit risk as at 31 March 2019.

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             (xii)    Employee end-of-service gratuity



                     The group computes the liabilities to staff-end-of service gratuity assuming that
                     all employees were to leave as at the end of the reporting period. The
                     management is of the opinion that no significant difference would have arisen
                     had the liability been calculated on an actuarial basis as salary inflation and
                     discount rates are likely to have approximately equal and opposite effects.



             (xiii) Provision for litigation loss


f ';
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                     The group excises judgement in measuring and recognising provisions and the
                     exposures to contingent liabilities related to pending litigation or other
                     outstanding claims subject to negotiated settlement, mediation, arbitration or
                     government regulation, as well as other contingent liabilities.



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            3.           CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS (continued)


fl                   Judgement is necessary is assessing the likelihood that a pending claim will
                     succeed, or a liability will arise, and to quantify the possible range of the final
                     settlement. Because of the inherent uncertainty in this evaluation process, actual
                     losses may be different from the originally estimated provision.



                     The group is a defendant in legal actions involving the alleged failure of one of
                     the subsidiaries to supply goods as per contract. The director believes, based on
                     legal advice, that there is no present obligation that will probably require an
                     outflow if resources.



            (xiv) Business combination accounting
L.)


                     In applying IFRS 3 Business Combination the Director has considered the
                     applicability of IFRS 3 and recognised Speciality Steel UK Limited, a subsidiary,
                     which acquired all identifiable assets and assumed liabilities on transfer of
                     business from Tata Steel UK to the subsidiary, as an acquirer. In applying the
                                                                 LIBERTY HOUSE GROUP PTE. LTD. 56




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                                                                                                671
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           accounting policy, the Director has considered the commercial and business
           reality behind the acquisition decision and accounted under the acquisition
           method.


           In applying IFRS 3 Business Combination the Directors have considered the
           applicability of IFRS 3 and recognition of the company as the acquirer in business
           combinations, where the company acquired business from previous owners
           which comprised of all the assets and liabilities of the acquired business. In
           applying the accounting policy, the Directors has considered the commercial and
           business reality behind the acquisition decision and accounted under the
           acquisition method. As a result, the company has recognised a bargain purchase
           gain which would not be available if IFRS 3 was not applied in accounting for
           business combination.


     (xv) Dilapidation and environmental provision


           An estimate for costs associated with rented building dilapidation costs and
           environmental charges has been made that reflects potential costs and likelihood
           of incurring such costs.


           There is uncertainty regarding the timing and amount of these costs and therefore
           the final liability could differ significantly from the original estimate.
           Management annually review the provisions held and determine if these require
           adjustments based on the latest knowledge available to them.




     3.       CRITICAL ACCOUNTING ESTIMATES AND JUDGEMENTS (continued)

     (xvi) Bad debt provisioning


           An allowance for bad debt is made when collection of the full amount is no
           longer probable. Bad debts are written off when identified. The trade receivables
           balance is assessed at the end of each reporting period whether there is objective
           evidence of impairment and recognises a bad debt allowance if such evidence
           arises.

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      (xvii) Pot lining provision



            The company has made a provision for the costs associated with the
            decommissioning and disposal of the pot lining from the cells once they have
            reached the end of their useful life. This provision is based on the estimated
            weight of the material that will need to be disposed of, based on historic
            experience, and estimate on all associated costs of its removal from the actual
            figures over the past year.



     (xviii) Discount rate on preference dividends



            As the preference shares have the characteristic of both equity and a financial
            liability, the above subsidiary has accounted for the preference shares as a
            compound instrument. The liability component, calculated at GBP 600,000 by
            discounting the annual dividend at a rate of 10% in perpetuity, has been classified
            to creditors falling due after more than one year.



     (xix) Provision for liabilities



            Provisions are made where an event has taken place that gives the above
            subsidiary a legal or constructive obligation that probably requires settlement by
            a transfer of economic benefit, and a reliable estimate can be made of the amount
            of the obligation.



            Provision are charged as an expense to the Profit and loss account in the year that
            the above subsidiary becomes aware of the obligation, and are measured at the
            best estimate at the financial statement date of the expenditure required to settle
            the obligation, taking into account relevant risks and uncertainties. When
            payments are eventually made, they are charged to the provision carried in the
            financial statement.



            The release in the environmental provision is based on management's revised
            estimate with regards to the required provisions to remedy any asbestos related
            corrections for the operating sites. This is based on their experience with actual
            incurred costs over the past two years over their initial expectations



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                                      LIBERTY HOUSE GROUP PTE. LTD. 59




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                             Balance at    Addition     Acquisition/                  Revaluatio        Currency       Balance at
                                                                        Disposals
                             01/04/2018                 Impairment                        n            translation     31/03/2019

Cost
Land and building            89,473,324    1,958,960       5,828,889                                    (5,230,843)     92,030,330
                             585,557,56                                                                 (37,591,412
Plant and equipment                   4    37,022,325     23,513,832     (508,697)      (210,407)                      607,783,205
Furniture and fixture         4,064,744     2,868,545                                                     (425,782)      6,507,507
Office renovation               620,001        46,135                                                       (7,933)        658,203
Computer equipment              696,781       452,813                                                         (594)      1,149,000
Motor vehicle                   226,025                                  (133,141)                                          92,884
Assets under construction     5,591,812      605,618                                                                     6,197,430
                             686,230,25                                                  (210,407)
                                                                                                        (43,256,564
                                                                                                                       714,418,559
                                           42,954,396     29,342,721      (641,838)
                                      1
 Accumulated depreciation
 Land and building            2,182,197     1,748,644                                                      (369,869)     3,560,972
 Plant and equipment         86,255,556    42,635,587      1,547,206      (176,377)                      (8,259,896)   122,002,076
 Furniture and fixture        1,187,928       415,324                                                        (5,866)     1,597,386
 Office renovation              347,712       117,825                                                        (4,850)       460,687
 Computer equipment             396,664       231,702                                                          (313)       628,053
 Motor vehicle                  174,464        15,223                      (99,799)                                         89,888
 Assets under construction
                              90,544,521   45,164,305       1,547,206     (276,176)                      (8,640,794)   128,339,062

4.     PROPERTY, PLANT AND EQUIPMENT - Group




                                                                                                     LIBERTY HOUSE GROUP PTE. LTD. 60




                                                                                                                                        CRK-2/0060
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    4.    PROPERTY, PLANT AND EQUIPMENT - Group - (Continued)




Depreciation Charge for                                                                         Net Book Value
                                    2018                                                      2018          2019
                                      $                                                        $              $
Land and building                                                                                          88,469,358
                                    1,636,537                                               87,291,127
                                                                                                          485,781,129
Plant and equipment
                                   42,254,444                                              499,302,008
                                                                                                            4,910,122
Furniture and fixture
                                     448,622                                                 2,876,816
Office renovation                                                                                            197,516
                                      89,077                                                  272,289
                                                                                                             520,946
Computer equipment
                                      66,540                                                  300,117
Motor vehicle                         17,131                                                   51,561          2,996
                                                                                                            6,197,430
Assets under construction
                                                                                             5,591,812


                                                                                          LIBERTY HOUSE GROUP PTE. LTD. 61




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                                                                                                                              CRK-2/0061
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                                 44,512,351                                                            595,685,730         586,079,497
The carrying amounts of motor vehicles of the group held under finance lease is $43,903 (2018: $43,903) at the end of the reporting period.

Thirteen group subsidiaries are secured against a receivables facility from different banks, which are cross guaranteed across the group and
guaranteed by fixed and floating charges over the assets of the subsidiaries.

The management is of the opinion that the fair values of the assets approximates its net book value.

Included in plant and equipment are assets held under finance leases with a net book value of GBP 37,892,473 (2018: GBP 42,135,325).




                                                                                                       LIBERTY HOUSE GROUP PTE. LTD. 62




                                                                                                                                               CRK-2/0062
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         One of the subsidiaries which was incorporated during the year, included in
         Property, plant and equipment is an amount of $21,545,805, which is stated at
         acquisition/revaluation value. As per the Judgement of the commercial court, it
         was worth Euro 100,000, plus the cost of the assets acquired or produced by the
         company between 01 June 2018 and 31 March 2019.

         For the newly acquired subsidiaries, valuations of property, plant and equipment
         were carried out by independent values.

         If the freehold property had not been included at valuation they would have been
         included under the historical cost convention as follows:

                                                                Group             Group
                                                                 2019              2018
                                                                 GBP               GBP
          Cost                                                    200,000           200,000
          Accumulated depreciation                              (100,000)         (100,000)
          Net book value                                          100,000           100,000

         Included in plant and equipment are assets held under finance leases with a net
         book value of GBP 1,434,985 (2018: GBP 1,452,874).

         In one of the subsidiary, plant and equipment with a carrying amount of GBP
         46,666,565 were recently revalued at 31st March 2018 by an independent value not
         connected with the company on the basis of "In-Situ Value" being the cost of
         replacing the assets in like for like basis_ Revaluations is carried out with
         sufficient regularity so that the carrying amount does not differ materially from
         that which would be determined using fair value at the reporting date.

         If revalued assets were stated on an historical cost basis rather than a fair value
         basis, the total amounts included would have been as follows:

                                                                 Group            Group
                                                                  2019             2018
                                                                  GBP              GBP
          Cost                                                   6,872,045        6,311,103
          Accumulated depreciation                               (665,052)        015,555)
          Net book value                                         6,206,993        5,995,548

         Included in plant and equipment are assets held under finance leases with a net
         book value of GBP 3,741,229 (2018: GBP NIL).



         Plant and machinery with a carrying amount of GBP 49,048,802 (2018: GBP
         45,104,424) were revalued at 31 March 2019 by independent values not connected
         with the company, using a combination of cost approach and market approach
         depending on the nature of the assets. The valuation conforms to International
         Valuation Standards and was based on recent market transactions on arm's length
         terms for similar plant and machinery.

                                                     LIBERTY HOUSE GROUP PTE. LTD. 63




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                 If revalued assets were stated on a historical cost basis rather than a fair value
                 basis, the total amounts included would have as follows:
                                                                         Group            Group
                                                                          2019             2018
                                                                          GBP              GBP
                  Cost                                                  27,866,254       27,866,254
                  Accumulated depreciation                            (13,949,932)     (13,113,944)
                  Net book value                                       13,916,322        14,752,310

            5.       INVESTMENT - HELD TO MATURITY-GROUP

                 The Group has made investment in compulsory Convertible Debentures in Viraj
                 Profiles Limited, a Public Company incorporated in India. Viraj Profiles Limited
                 is classified as Indian Non-Government Company and is registered at Registrar of
                 companies, Mumbai. Its authorized share capital is Rs. 1,801,000,000 (2018:
                 1,801,000,000) and its paid-up capital is Rs. 1,225,060,898 (2018:1,225,060,898). It is
                 involved in Manufacture of structural metal products, tanks, reservations and
                 steam generators.

                                                                                    Group
                                                                            2019              2018
                                                                             $                  $
                  Investments at cost, CCD(Compulsory
                  Convertible Debentures)                                  8,255,500         8,255,500
                  Impairment loss                                        (3,323,600)        (5,323,600)
  .;              Sold during the year                                   (2,931,900)
                  Fair value of investment at reporting date                                 2,931,900

                 Compulsory Convertible Debentures ("CCD") are convertible into the equity
                 shares upon expiry of one year from the date of allotment and before two years
1 •,             from the date of allotment of CCDs at a price which shall not be less than the fair
                 value of Rs. 8.90 per share. CCD does not carry coupon rate and cannot be sold or
                 pledged in any manner until such time it is converted into shares. None of the
                 above CCD were converted to equity share till the date of sale of the investment.

                 During the prior year, the group recognised an impairment loss of $5,323,600
                 against the investment after taking into consideration the subsequent selling price
                 of the investment. During the financial year, the investment held to maturity
                 disposed off.
                 On 1 November 2018, the group has entered into a sales and purchase agreement
                 to transfer its 9,773 compulsory convertible Debentures ("CCD") in Viraj Profile
                 Limited for a consideration of USD 300 per CCD.

                 Hence Held-to-maturity approximates its fair value as on the statement of
                 financial position date and are denominated in Indian Rupees.

            6.      INVESTMENT - FINANCIAL ASSETS, AVAILABLE FOR SALE

                                                                                   Group
                                                                            2019              2018
                                                                             $                 $
                 Unquoted shares at cost
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                                                                                                           CRK-2/0064
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           Investment in shares of Uttam Galva Metallics
                                                                  1,344,041              1,344,041
           Ltd - at the beginning of the year
           Allowance for impairment loss                          (805,876)              (805,876)
           Disposal during the year                               (538,165)
           At the end of the year                                                         538,165

          FRS 109 (Available - for - sale) financial asset is denominated in Indian Rupees.

          The above investments in shares are portfolio investments made to take benefits
          from the financial market; however they are not intended to be held till maturity.
          The increase in the fair value of the asset is accounted for in the statement of
          comprehensive income. The carrying amount of available- for- sale financial asset
          which is unquoted investments represents its costs as its fair value cannot be
          reliably measured.

          On 26 April 2018, the company had entered into a sales and purchase agreement
          to sell its investment in 4,000,000 shares of Uttam Galva Metallics Limited for a
          consideration of INR 36,000,000.

                                                                            Group
                                                                   2019                   2018
                                                                       $                       $
           Unquoted shares at cost
           Investment in joint venture                                239,380
           Allowance for impairment loss                                    1••



           Disposal during the year
           At the end of the year                                     239,380




                  Name of                                 Country of
                                  Principal activity                              Interest held
                 Subsidiary                             incorporation
                                                                            2019           2018
                                                                                            0/0

           BSR Pipeline                                 United
                                      Pipe coating                                 50%
           Services Ltd                                 Kingdom

     7.         INVESTMENT IN SUBSIDIARIES

           Company                                              2019                     2018
                                                                  $                        $
           Unquoted shares, at cost                          183,565,44              183,565,446
                                                                  6
           Less: Allowance for diminution in value
                                                             183,565,44              183,565,446
                                                                  6


      Name of        Principal Country of            Cost of investments             Interest
                                                       LIBERTY HOUSE GROUP PTE. LTD. 65




                                                                                                      CRK-2/0065
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          Subsidiary activity incorporatio                                                           held
                                        n
                                                              2019           2018 2019 2018
                                                               $              $     %
          Liberty
          Industries   Investmen                          65,106,533 65,106,533 100 100
                                 Singapore
          Holding Pte t Holding                                                 % %
          Ltd

          Liberty
P         Commoditie Investmen                           118,458,91 118,458,91 100 100
                                Singapore                       3         3 % oh
          s Group Pte t Holding
          Ltd

                                                         183,565,44 183,565,44
                                                                   6          6
               Liberty Industries Holding Pte Ltd was incorporated hi Singapore with its
               Registration Number 201613404N as a limited liability company and its financial
               year end is 31 March 2019. It is being audited by T. Ravi & Co. The audit report of
               those financial statements for the financial year ended 31 March 2019 were issued
               without any modification on their report dated 21 May 2020.

               Liberty Commodities Group Pte Ltd was incorporated in Singapore with its
               Registration Number 201115671N as a limited liability company and its financial
               year end is 31 December 2017. It is being audited by other firm of Public
               Accountants other than T. Ravi & Co whose report dated 14 November 2019 issued
               without arty modification on their report.


         The details of Subsidiaries and Sub-subsidiaries are as follows:

         Held by Liberty Industries Pte Ltd:

                                                                     Country of
          Name of Subsidiary                Principal activity                     Interest held
                                                                     incorporation
                                                                                    2019 2018
                                                                                              oh
          Liberty Engineering Group Pte     Investment               Singapore 100% 100%
          Ltd                               Holding Co

                                            Investment
          Liberty Industries UK Limited                              Scotland 100% 100%
                                            Holding

                                            Investment
          Liberty Steel Group Pte Ltd                                Singapore 100% 100%
                                            Holding

                                            Investment
          LMR Holdings Pte Ltd                                       Singapore 100% 100%
                                            Holding

          Liberty Finance Management        Private Company United
                                                                                                100% 100%
          Limited                           Limited by shares Kingdom

                                                              LIBERTY HOUSE GROUP PTE. LTD.                 66




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      Liberty Industries PPA Limited Private Company United                  100% 100%
                                    Limited by shares Kingdom

     Held by Liberty Engineering Group Pte. Ltd:

                                                              Country of
           Name of Subsidiary           Principal activity                   Interest held
                                                             incorporation
                                                                             2019    2018

                                          Investment
      Liberty Steel Holding Pte Ltd                          Singapore                100%
                                           Holding
      ^Liberty Tubular Solutions Pte      Investment
                                                             Singapore       100%     100%
      Ltd                                  Holding
                                          Investment
      ^Liberty Distribution Pte Ltd                          Singapore       100%     100%
                                           Holding
      ^Liberty Advanced                   Investment
                                                             Singapore       100%     100%
      Engineering Products Pte Ltd         Holding
      Liberty Performance Steels Pte      Investment         Singapore       100%     100%
      Ltd                                  Holding
                                         Manufacture of                      79.13
      Shand Cycles Limited                                   Singapore               79.13%
                                            bicycles                           %



                                            Design and
                                         manufacture of
      #Liberty Wheels France SAS                           France            100%
                                         alloy wheels for
                                           automobiles
      #*Liberty Forging Janves SAS         Specialist in
      (former: Liberty Duriosotti           converting     France            100%
      France)                          light-duty vehicles
      #*Liberty machining Ardennes          Investment
                                                           France            100%
      SAS                                    Holding

     Held by Liberty Tubular Solutions Pte Ltd:

                                                             Country of
      Name of Subsidiary               Principal activity                  Interest held
                                                             incorporation
                                                                            2019     2018
                                                                                      %
                                       Manufacture of
                                                             United
      Accles and Pollock Limited       precision tube                        100%     100%
                                                             Kingdom
                                       assemblies
                                       Manufacture of
      Liberty Tube Components                                United
                                       precision tubular                     100%     100%
      Limited                                                Kingdom
                                       components
      Liberty Precision Tubes          Manufacture of        United          100%     100%
      Limited                          Steel tubes           Kingdom
                                       Manufacture of
                                       seamless and          United
     *Liberty Drawn Tubes Limited      welded tubes and      Kingdom
                                                                             100%     100%
                                       pipes

                                                        LIBERTY HOUSE GROUP PTE. LTD. 67




                                                                                               CRK-2/0067
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           Held by Liberty Distribution Pte Ltd:

                                                                     Country of
            Name of Subsidiary                Principal activity
                                                                     incorporation Interest held
                                                                                    2019      2018
                                                                                     e/a
                                                                     United Arab
            Liberty Building Solution FZE     General trading                       100% 100%
                                                                     Emirates
            Liberty Steel Distribution        Trading of ferrous
                                                                 United
                                              and non-ferrous                       100%    100%
            Limited                                              Kingdom
                                              metals
                                              Supply of
                                                                 United
            Hub Le Bas Limited                precision tube                        100%    100%
                                                                 Kingdom
                                              fittings



           Held by Liberty Building Solutions FZE (UAE):

                                                                    Country of
            Name of Subsidiary               Principal activity                   Interest held
                                                                    incorporation
                                                                                   2019 2018

                                         Trading in fire
           Liberty Fire Safety Equipment
                                         fighting and safety United Arab          1 0 0%
           Trading LLC                                       Emirates
                                         equipment

          Held by Liberty Advanced Engineering Pte Ltd:

           Name of Subsidiary               Principal activity Country of
                                                               incorporation Interest held
                                                                               2019      2018

                                            Trading of
f                                           ferrous and           United
           *Liberty Trillion Limited                                                80%      80%
                                            non-ferrous           Kingdom
                                            metals
                                            Design and
                                            manufacture of
                                                                  United
           Clydesdale Jones Limited         parking                               100%      100%
                                                                  Kingdom
                                            brakelever
                                            systems

                                            Design and
           Liberty Vehicle Technologies                           United
                                            manufacture of                        100%     100%
           Limited                                                Kingdom
                                            braking systems
JI

                                            Advanced
           Liberty Advanced                 automotive            United
                                                                                  100%     100%
           Composites Limited               technology            Kingdom
                                            design services
           Liberty Pressing Solutions       Metal pressings       United          100%     100%
                                                              LIBERTY HOUSE GROUP PTE. LTD. 68




                                                                                                     CRK-2/0068
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     Limited                           manufacture,          Kingdom
                                       assembly and
                                       supply
     Liberty Engineering
     (Willenhall) Limited              Manufacture of        United
                                                                               100% 100%
     (Formerly known as Liberty        pipe fittings         Kingdom
     Tube Fittings Limited)
                                       Manufacture of
      Liberty Bridge Aluminium         die cast and          United
                                                                               100% 100%
      Limited                          machine               Kingdom
                                       components

     Liberty Pressing Solutions        Automotive and United                   100% 100%
     (Coventry) Limited                other pressings Kingdom
                                       Die cast
     Liberty Aluminium                 aluminum and    United
                                                                               100% 100%
     Technologies Limited              machined        Kingdom
                                       components
                                       Trading of
     *Liberty Defence: Dynamics        ferrous and     United
                                                                               100% 100%
     Limited                           non-ferrous     Kingdom
                                       metals
                                       Maintenance and United
     *Liberty Classic Cars Limited     repair of motor                         100% 100%
                                                       Kingdom
                                       vehicles

     Held by Liberty Vehicle Technologies Limited:

                                                             Country of
      Name of Subsidiary               Principal activity                  Interest held
                                                             incorporation
                                                                             2019       2018

                                   Trading of
     Specialist Mobility Training ferrous and                United
                                                                                60% 60%
     Limited                       non-ferrous               Kingdom
                                   metals

                                       Pneumatic and
                                                             United
      Shiftec Limited                  mechatronic                             100%     100%
                                                             Kingdom
                                       systems

     Held by Liberty Performance Steels Pte Ltd:

                                                               Country of
      Name of Subsidiary                Principal activity                   Interest held
                                                               incorporation
                                                                              2019        2018

      Liberty Performance Steels Manufacture of                United
                                 precision steel                               100%            100%
      Limited                                                  Kingdom
                                 strip

      Liberty performance Steels Inc    Precision steel        United States   100%            100%
                                                            LIBERTY HOUSE GROUP PTE. LTD. 69




                                                                                                      CRK-2/0069
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                                       strip distributor         of America

             A The concerned subsidiaries were impaired in the prior year to the extent of
             $8,597,000/ -.

            *These subsidiaries are unaudited micro or dormant subsidiaries. The
            management accounts of the same are relied on during our consolidation
            procedures.
            # Purchase consideration for the acquisition for these companies were paid by the
            related parties on behalf of the company.

            +The concerned subsidiaries have further subsidiaries.

      Held by Liberty Industries UK Ltd

                                                       Country
          Name of Subsidiary        Principal activity incorporation of        Interest held
                                                                               2019     2018

      Liberty Aluminium             Aluminium
                                                           Scotland            100%
      Lochaber Limited              Smelter
      Liberty Steel Sheerness Ltd   Dormant                United Kingdom      100%
                                    Holding
      Liberty Steel Limited                                United Kingdom      100%
                                    company
      Liberty Steel Newport
                                    Steel Production       United Kingdom      100%
      Limited
      Liberty Steel Tradegar        Steel Production       United Kingdom      100%
      Limited

     Held by Liberty Steel Ltd
                                                           Country       of
         Name of Subsidiary         Principal activity                         Interest held
                                                           incorporation
                                                                               2019     2018
                                                                                %        oh,
      Liberty Steel Clydebridge     Dormant
      Limited                                              United Kingdom      100% 100%
                                    Manufacture of
      Liberty Steel Dalzell         basic iron and
                                                                               100% 100%
      Limited                       steel and of
                                    ferro-alloys           United Kingdom

     Held by Liberty Steel Group Pte Ltd
                                                             Country of
           Name of Subsidiary       Principal activity       incorporatio     Interest held
                                                             n
                                                                              2019     2018
                                                                               %
                                    Activities of
      +Liberty Steel Group
                                    production holding
      Holdings UK Ltd                                        London
                                    companies                           100% 100%
      Astra Mining                  Metals and mining        Mauritius 100% 100%
                                                         LIBERTY HOUSE GROUP PTE. LTD. 70




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     Held by Liberty Steel Group Holdings UK Ltd

                                                          Country of
      Name of subsidiary            Principal activity    incorporatio      Interest held

                                                                            2019      2018

     +CMB Restructuring Pte.
                                    Shipping lines        Singapore
     Ltd.                                                                            100%
                                                                            100%
      Liberty Merchant Bar 2                              United
                                    Dormant                                          100%
      Ltd.                                                Kingdom           100%
                                    Manufacture of        United
      Liberty Pipes (Hartlepool)
      Ltd                           submerged             Kingdom                    100%
                                    carbon steel pipe                       100%
      +Liberty Speciality Steels                          United
      Ltd                           Holding
                                                          Kingdom           1000/0   100%
                                    Dormant               United
      Liberty Powder Metals Ltd
                                    company               Kingdom           100%
     Liberty Merchant Bar           Distribution and      United
     Distribution Ltd               service centre        Kingdom           100%

     Held by CMB Restructuring Pte. Ltd.

                                                          Country of
         Name of Subsidiary         Principal activity    incorporatio       Interest held
                                                           n
                                                                            2019       2018
                                                                             %
                                    Steel transformation
                                    to hot rolled        United
      +Liberty Merchant Bar Plc                                             100% 100%
                                    ordinary steel       Kingdom
                                    products

     Held by Liberty Merchant Bar Plc

                                                            Country of        Interest held
         Name of Subsidiary        Principal activity
                                                            incorporation
                                                                              2019    2018

      United Merchant Bar                                   United
                                   Dormant
      Limited                                               Kingdom           100% 100%

            United Merchant Bar Limited generated no profit or loss because it is dormant.
            At 31 March 2019 the aggregate of share capital and reserves was GBP1.



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               Held by Liberty Specialty Steels Limited
                                                                        Country of      Interest held
                       Name of Subsidiary Principal activity          incorporation
                                                                                       2019        2018

                                              Fully integrated       England and
                +Speciality Steel UK Ltd      steel manufacturer                        100%        100%
                                                                     Wales
                                              and distributor
               Liberty Speciality Steel
                                              Distribution and       China                          100%
               Service Centre Suzhou Co                                                 100%
                                              service centre
               Ltd
               Liberty Speciality Steel       Distribution and
               Service Centre Xi'an Co.                              China              100%
                                              service centre
               Ltd.

               Held by Specialty Steel UK Limited
                                                                     Country of
                       Name of Subsidiary Principal activity                            Interest held
                                                                     incorporation
                                                                                       2019        2018

               LHG Speciality Steel
                                              Customer service       India              100%        100%
               International Private
[                                             centre
               Limited
               Liberty Speciality steels     Customer service
                                                                     France             100%
               France                        centre
               Liberty Speciality Steels     Customer service                           100%
                                                                     USA                            100%
               America Inc.                  centre
               Liberty Speciality Steels     Customer service                           100%
                                                                     Germany                        100%
   •           GMBH                          centre
t 1
                                             Customer service        United
               Engineering Bar Limited                               Kingdom            100%
                                             centre

              Held by LMR Holdings Pte Ltd
                                                                     Country of         Interest held
                       Name of Subsidiary Principal activity         incorporation
                                                                                       2019        2018

                                          Recovery of sorted                          100%
               LMR US Holdings BV         materials , financial      Netherland                     100%
               Amsterdam                  holdings
                                          Manufacture of
               Liberty Metal Recycling UK basic iron and steel       England and      100%
                                                                                                    100%
L              Ltd (UK)
               Liberty Metal Recycling
                                          and of Ferro alloys
                                          Wholesale of waste
                                                                     Wales

                                                                     Poland           99%            99%
               Europe Ltd.                and scrap
L,            Held by Liberty Commodities Group Pte Ltd:

               Name of Subsidiary                                    .
                                                 Principal activity Country  of             Interest held
                                                                     incorporation
                                                                                              2019 2018

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                                   Trading in
                                   wholesale metals,
     LCT Vietnam co., Limited      metal ores and         Vietnam            100%        100%
                                   other specialized
                                   wholesale
                                   Trading in steel
     Liberty Commodities Limited   and non-ferrous        United Kingdom      100%         100%
                                   metals
                                   Trading in steel
                                                          United Arab
     Liberty FE Trade DMCC         and non-ferrous                            100%         100%
                                                          Emirates
                                   metals
                                   Trading in steel
     +Liberty Commodities Asia Pte                                                         100%
                                   and non-ferrous        Singapore           100%
     Ltd
                                   metals.
                                   Trading in steel
     Liberty Commodities HK                                                                100%
                                   and non-ferrous        Hong Kong           100%
     Limited
                                   metals
                                   Trading in steel
     Liberty Commodities Pacific                                              100%         100%
                                   and non-ferrous        Australia
     Pty Ltd                       metals
                                   International
     Liberty Commodities Trading                                              100%         100%
                                   trade, Entrepot        China
     (Shanghai) Co., Ltd
                                   Trade etc.
                                   Trading in
                                   wholesale metals,
     Liberty Commodities France    ores and other                             1000/o
     SAS(LC France)                                       France
                                   specialized
                                   wholesale
                                   Providing
                                   management
     Liberty Commodities (Suisse)
                                   services to other      Switzerland         100%
     SA (LC Suisse)
                                   entities of the
                                   group




     Held by Liberty Commodity Asia Pte Ltd:

                                                          Country of
      Name of Subsidiary             Principal activity                    Interest held
                                                          incorporation
                                                                            2019         2018

                                     Trading in steel
      Liberty Commodities Malaysia
                                     and non-ferrous      Malaysia        100%         100%
      Limited
                                     metals

           During the financial period, the company has invested additional US$1,540,000 in
           Liberty Commodities Trading (Shanghai) co., Ltd and invested in two
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                                                                                                  CRK-2/0073
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                  subsidiaries, Liberty Commodities (Suisse) SA, a company incorporated in
                  Switzerland and Liberty Commodities France SAS, a company incorporated in
                  France, amounting to $102,803 (CHF100,000) and $5,728(EUR5,000), respectively.

t                 Subsequent to the financial period, the company has injected further $270,000 in
                  Liberty Commodities Trading (Shanghai) Co. Ltd for investment.

             8.       AMOUNTS DUE FROM/ TO RELATED PARTIES
t
                  The amounts owing by/ to related parties are non-trade in nature, unsecured,
                  interest-free. The carrying amounts of the group's and company's amounts owing
                  from/ (to) related parties approximate their fair values and are denominated in
                  following currencies.

                                                                               Group         Group
    ;
                                                                                2019          2018
                                                                                 $              $
                   Amount due from related parties-Non                                       43,635,22
                                                                              78,117,142
                   Current                                                                           9
                   Amount due from related parties- Current                   79,333,459
                                                                             157,450,601     43,635,22
                                                                                                     9

                                                                                             91,634,56
                   Amount due to related parties-Non Current                (157,050,492)
                                                                                                     9
                   Amount due to related parties- Current                   (223,203,478)
                                                                                             91,634,56
                                                                            (380,253,970)            9

                                                                              Group          Group
                                                                               2019           2018
is                 (Amount due from related parties)
                   Euro                                                          809,061
                   Great Britain Pound                                        63,091,211     4,316,208
                   United States Dollars                                      93,550,329    39,319,021
                                                                             157,450,601    43,635,229

                   Amount due to related parties                              Group          Group
                                                                               2019           2018
                                                                                 $              $
                   Euro                                                       9,280,611
                   Great Britain Pound                                      224,837,472     12,417,869
                   United States Dollars                                    146,135,887     79,216,700
                                                                            380,253,970     91,634,569
LJ
                  On consolidation, certain related parties' balances have been offset and a net
                  balance shown. During the year, one of the subsidiary transferred a subsidiary to
                  a related party outside the Group, realising a gain at Group level of $6.9 million

                                                                            Company Company
                                                                    LIBERTY HOUSE GROUP PTE. LTD. 74


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                                                                                                         CRK-2/0074
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                                                               2019           2018

          Amount due from related parties-Non
                                                             244,080,006   191,162,563
          Current
          Amount due from related parties- Current
                                                             244,080,006   191,162,563

                                                            (108,148,959   (48,819,603
          Amount due to related parties-Non Current
                                                                                     )
          Amount due to related parties- Current                (27,755)
                                                            (108,176,714   (48,819,603


                                                             Company       Company
                                                               2019          2018
          Amount due from related parties
          Great Britain Pound                                  2,945,853
          United States Dollars                              241,134,153   191,162,563
                                                             244,080,006   191,162,563
          Amount due to related parties
          Great Britain Pound                               11,746,376       3,429,281
          United States Dollars                               96,430,338    45,390,322
                                                            (108,176,714   (48,819,603
                                                                       )




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9.      INTANGIBLE ASSETS - GROUP

     Intangible assets are denominated in Great Britain Pound.

                                               Balance as at      On creation of                                Foreign        Balance as at
      Cost/ Valuation                                                                  Addition
                                                01 Apr 2018      new Subsidiary                                Exchange        31 Mar 2019
                                                     $                  $                  $                        $               $
      Goodwill on Consolidation                     6,895,849            169,243                                  (447,394)         6,617,698
      Other Intangible Assets                      25,118,541            112,541           108,561              (1,633,446)        23,706,197
                                                   32,014,390             281,784          108,561              (2,080,840)        30,323,895

                                               Balance as at                         Charge for the             Foreign        Balance as at
      Amortization/Impairment                                       Reversal
                                                01 Apr 2018                              year                  Exchange        31 Mar 2019
                                                     $                  $                 $                        $                 $
      Goodwill on Consolidation                       156,523           (826,452)          675,811                (10,160)             (4,278)
      Other Intangible Assets                       5,889,029                            4,331,046               (373,657)          9,846,418
                                                    6,045,552            (826,452)       5,006,857               (383,817)          9,842,140
                                                                                                                      Net Book Value
                                                                                                                 2018              2019
                                                                                                                   $                 $
      Goodwill on Consolidation                                                                                   6,739,326         6,621,976
      Other Intangible Assets                                                                                    19,229,512        13,859,779
                                                                                                                 25,968,838        20,481,755




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     10.      INVENTORIES - Group

                                                                                                    Group
                                                                                            2019             2018
                                                                                              $                $
            Goods for resale                                                                6,137,901      67,974,463
            Raw materials and consumables                                                  88,730,921      60,335,848
            Work in progress                                                              103,049,069      90,529,726
            Finished goods                                                                 91,322,033      87,002,648
            Inventories in transit                                                          4,905,513       2,602,618
                                                                                          294,145,437     308,445,303

           The Inventories as at the reporting date are denominated in following currencies.

                                                                                                      Group
                                                                                               2019            2018
                                                                                                 $               $
            Euro                                                                              5,247,220
            Great Britain Pound                                                             272,368,962     227,392,242
            United States Dollar                                                             16,529,255      81,053,061
                                                                                            294,145,137     308,445,303

           Inventories comprise of raw materials, slabs, stores and spares, and engineering
           stock. They are valued at cost, in some cases at revalued amount as its cost itself
           (at time of acquisition). The carrying amounts of the Group's inventories
           therefore, approximate their net realisable values.

           The cost of inventories recognised as an expense and included in "cost of sales"
           amounting to $9,149,418,728/- (2018: $7,134,918,809/-). The carrying amounts of
           the group's inventories therefore approximate their fair values.

           An impairment loss of GBP 1,188,440 and USD 281,102 (2018: GBP 1,045,164, and
           USD 175,506) and reversal of impairment provisions of GBP 489,578 (2018: GBP
           190,622) was recognised in cost of sales against slow moving and obsolete stocks.

           During the period three of the subsidiaries recognised impairment losses of GBP
           Nil (2018: GBP 382,701), GBP 4,321,581 (2018: GBP 6,043,676) and GBP 2,795,280
           (2018: GBP 425,351) respectively in cost of sales against the inventory during the
           year due to slow-moving and obsolete inventories.

           The cost of stock recognised as an expense in the period was GBP 72,141k (2018:
           GBP 73,059k).

           One of the subsidiary are subject of floating charge to secure the company's
           borrowings.

     11.       CONTRACT WITH CUSTOMERS (TRADE RECEIVABLES)

                                                                                               Group
                                                                                        2019           2018
                                                                                          $              $
            Third parties                                                            818,494,925    720,239,393
                                                                              LIBERTY HOUSE GROUP PTE. LTD. 77




                                                                                                                           CRK-2/0077
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                       Less: Allowance for impairment                                 (8,655,166)              (3,152,603)
                       Related parties                                                10,433,133               62,715,504
                                                                                     820,272,892              779,802,294
 (-1
                     Expected credit losses

                     The movement in allowance for expected credit losses of trade receivables
                     computed based on lifetime ECL are as follows:

                                                                                                       Group
                      Movement in allowance for impairment                                2019                   2018
                                                                                             $                     $
                      Opening balance as at 01 April 2018                               3,152,603
                      Provision during the year                                         5,502,563               3,152,603
                      Balance at end of the year                                        8,655,166               3,152,603

                     The group's amounts of contract with customers are denominated in the
                     following currencies:

                                                                                                      Group
                                                                                         2019                    2018
                                                                                            $                     $
                      Great Britain Pound                                           166,826,248             188,138,545
                      Euro                                                           30,684,240              12,789,860
                      United States Dollar                                          621,292,663             576,426,017
      J.              United Arab Emirates dirham                                     1,469,741               2,210,585
                      Vietnam Dong                                                                              237,287
 .•                                                                                 820,272,892             779,802,294

                                                                                                   Company
                                                                                         2019                   2018
                                                                                             $                    $
                      Trade receivables                                               21,370,616              28,690,696
                                                                                      21,370,616              28,690,696




                     The company's amounts of contract of customers are denominated in the
1                    following currencies:
 I •

                                                                                                   Company
                                                                                         2019                   2018
                                                                                            $                     $
                      United States Dollars                                          21,370,616               28,690,696
                                                                                     21,370,616               28,690,696

                     Trade receivables are settled through assignment agreements.

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           Trade receivables are non-interest bearing and credit terms are in accordance with
           the contract or agreements with the customers. Trade receivables are recognised
           at their original invoiced amounts which represent their fair values on initial
           recognition. The trade receivables are considered to be of short duration and are
           not discounted and the carrying values are assumed to approximate their fair
           values. Certain trade debtors have been pledged as security to the banks/third
           parties on an individual transaction's basis. (Note 17 and 31).

           An impairment loss of GBP 335,389 and $310,863 (2018: GBP 80,245 and USD
           45,000), and reversal of impairment provision of (GBP 14,520) was recognised in
           administrative expenses / (income) against trade receivables during the year due
           to bad and doubtful debts.

           As part of receivable purchase agreement between a subsidiary and a group
           company, certain trade receivables amounting to GBP 8,643,121 (2018: GBP
           12,212,927) were sold on a non-recourse basis. Hence trade receivables are shown
           net of these amount sold. This facility is secured by a fixed and floating charge
           over the trade receivables of the company.

           In accordance with the invoice discounting facility, certain trade receivables of
           one of the subsidiaries amounting to GBP 570,376 are sold on a non-recourse
           basis, hence the subsidiary does not retain the significant risks and rewards
           related to the discounted debts. As such, trade receivables are shown net of the
           amount sold with the latter being derecognised as financial assets.

           One of the subsidiary's trade receivables are sold to a factoring company. As at 31
           March 2019, the receivables sold amounted to Euro 6,191,930 and is shown in
           other receivables. The total of contractual holdbacks is shown under "Other
           receivables" and amounts to Euro 530,318.

           One of the subsidiary manages the risk associated with the sale of goods on credit
           terms through the use of trade credit insurance. One of the subsidiary bank has a
           fixed charge over cash deposits of GBP 209,950 (2018: GBP 161,000) included in
           cash (2018: Other receivables), which has been set aside as a guarantee for certain
           facilities provided by the bank.
           As part of a receivable purchase agreement between the above sub- subsidiaries
           and a group subsidiary, certain trade receivables were sold on a non-recourse
           basis. Hence, trade receivables are shown net of these amounts sold. Included
           within trade receivables are allowances for doubtful debts of GBP 4,564,106 (2018:
           GBP 3,813,107). During the year one of the subsidiary has an impairment loss of
           GBP 88,000 (2018: GBP 54,360) was recognised in trade receivables.

     12.       OTHER RECEIVABLES

                                                                           Group
            Current                                                2019             2018
                                                                                      $
            Advance to staff                                        225,336    193,826
            Advance to suppliers-third party                        638,925  5,200,796
            Deposit - margin deposit for brokers                             7,453,161
            Deposit - others                                    6,194,395      376,494
            Deposit - law suit                                  1,454,956        8,618
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                 GST recoverable                                        4,073,952         1,302,561
                 Deferred tax assets                                    2,949,434           626,183
                 Other taxation and social security                    16,830,805         4,403,379
                 Prepayments- finance expenses
  :                           - operating expenses                     19,450,441            396,515
                              - others and accrued income                  616,094       21,763,506
r-               Other receivable                                       46,876,355         9,986,080
I t                                                                     99,310,693       51,711,119
I                Less: Allowance for impairment                        (1,330,971)       (1,293,461)
                                                                       97,979,722        50,417,658

                                                                                 Group
                 Non-Current                                             2019              2018
                                                                           $                 $
                 Other receivable                                          10,927
                                                                           10,927

                                                                                Group
7                Movement in allowance for impairment                    2019          2018
                                                                           $             $
                 Opening balance as at 01 April 2018                    1,293,461     1,293,461
                 Provision during the year                                 37,510             -
                 Balance at end of the year                             1,330,971     1,293,461




                                                                                Company
                                                                         2019              2018
                                                                          $                 $
                 Other receivables                                     6,194,395
                 Balance at end of the year                             6,194,395

                Deposit paid for lawsuit is pertaining to the advance paid by the Vietnam
                subsidiary to the court in Vietnam for the various law suits by the subsidiary
                against its debtors amounting to$101,660 (2018: $110,280). Allowance for doubtful
                debts of $48,538 (2018: $11,028) has been provided against these receivables due to
                uncertainty about the recoverable amounts of these balances.

                One of the subsidiary other debtors amounting to $1,530,525 which are
                unsecured, interest-free and repayable on demand.

                Advances to supplier represents funds provided towards future purchase
                transactions of the group.

                The other receivables are denominated in the following currencies:

                                                                                Group
                                                                        2019               2018

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            Vietnam Dong                                       151,016          233,354
            Malaysia Ringgit                                                     10,133
            Hong Kong dollars                                  120,847          122,399
            Singapore dollars                                  233,953          106,008
            Great Britain Pound                             83,108,047       36,529,447
            United Arab Emirates dirham                        679,679          336,148
            United States dollars                           13,458,223       12,913,118
            Chinese Yuan renminbi                              223,460          167,051
            Swiss Franc                                          4,497                -
                                                            97,979,722       50,417,658




     13.       DERIVATIVE FINANCIAL INSTRUMENTS

                                                  GROSS AMOUNT
                                                                                  Net
                                                                               financial
                                Contract/                                     liabilities
                                              Financial       Financial
                                 notional                                         in
                                amount         assets         liabilities
                                                                              statement
                                                                             of financial
                                                                               position
                                    $            $                $                $
      GROUP - 2019
      Assets
      Undesignated derivative
      Commodity forward
      Currency forward

      Liabilities
      Undesignated
      derivative
      Commodity forward         112,719,368   96,773,163     (109,139,175)    (12,366,012)
      Currency forward
                                112,719,368   96,773,163     (109,139,175)    (12,366,012)

      GROUP - 2018
      Assets
      Undesignated
                                                     LIBERTY HOUSE GROUP PTE. LTD. 81




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                  derivative
                  Commodity forward          89,816,560       85,940,138       (74,766,149)       11,173,989
                  Currency forward                    -          239,527                  -          239,527
                                             89,816,560       86,179,665       (74,766,149)       11,413,516
                  Liabilities
                  Undesignated
                  derivative
                  Commodity forward           2,331,324      10,056,151     (14,249,180)       (4,193,029)
                  Currency forward                                              (34,985)          (34,985)
                                              2,331,324     10,056,151      (14,284,165)       (4,228,014)
                       Commodity forward contracts are transacted in price for Nickel and Cooper.
                       Commodity forwards are transacted to hedge highly probable forecast
                       commodity transactions expected to occur at various dates within three months
                       from the end of the reporting period. The commodity forward have maturity
                       dates that coincide within the expected occurrence of these transactions. Gains
                       and losses are recognized in statement of comprehensive income as part of
                       purchases consumed (Note 23).
                 14.       CASH AND BANK BALANCES

                       The cash and bank balances including fixed and margin deposits as at the
                       reporting date are stated at its fair value.

                                                                                      Group
                                                                               2019              2018
L.i                                                                             $                 $
                        Cash on hand                                            171,080            10,746
                        Cash at bank                                         44,591,030        47,110,374
                        Fixed deposit                                           450,546           779,037
                        Call deposit                                                                2,386
                        Labour deposits                                          26,955           114,594
                        Margin deposits                                      11,320,399        12,259,649
                                                                             56,560,010        60,276,786
                       Fixed deposit
                       The fixed deposits bear interest in between 1.61% to 1.85% per annum with tenor
                       period of 6 to 12 months. The fixed deposits are pledged with a bank for banking
                       facilities purpose (note 31).

                       Call deposit
                       In previous year Call deposit has no fixed maturity period and is non-interest
                       bearing.

Z   _                  Labour deposit
                       Labour deposit are held under lien for guarantees issued (note no.31)

                       Margin deposit
                       Margin deposits have been pledged to banks as security for the banking facilities
                       as disclosed in Note no 31. Margin deposit has no fixed maturity period and is
                       non-interest bearing.

                       Time deposit

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         Time deposit is with tenor period of 30 days with interest rate of 2.3% per annum.
         Time deposit have been pledged to banks as security for the banking facilities as
         disclosed in Note 31.

                                                                      Company
                                                               2019              2018
                                                                $                  $
          Cash at bank                                            371,825           3,220
          Margin deposit                                        4,873,279
                                                                5,245,104           3,220

         The carrying amounts are assumed to be a reasonable approximation of fair value.




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                 The cash and bank balances as at the reporting date are denominated in the
                 following currencies:

                                                                                    Group
                                                                         2019                  2018
                                                                          $                      $
                  Chinese yuan renminbi                                    178,805               26,633
                  Euro                                                   6,386,650            4,965,200
                  Hong Kong Dollars                                         17,505               16,891
                  Singapore Dollars                                        101,183               83,496
                  Great Britain Pound                                   28,007,038           13,649,005
                  United Arab Emirates Dirham                            2,511,631               99,224
                  United States Dollars                                 18,227,697           41,430,666
                  Australian Dollar                                            405                  468
                  Vietnam Dong                                               6,359                5,203
                  Swiss Franc                                                1,725
                  Hungarian Forint                                         633,624
                  Polish Zloty                                             487,388
                                                                        56,560,010           60,276,786

                                                                                Company
                                                                         2019                  2018

                  United States Dollars                                  3,038,125                   3,220
                  Great Britain Pound                                    2,206,979
                                                                         5,245,104                   3,220

           15.   CONTRACT WITH SUPPLIERS (TRADE PAYABLES) and OTHER PAYABLES

                                                                                Group
                  Current                                               2019                   2018

                  Contract with suppliers - Third parties             248,406,725           182,899,002
                  Contract with suppliers - Related
                                                                        6,587,352            10,496,186
                  parties
                  Deposits and accruals                                88,336,909           154,227,865
                  Other tax liability payable                          27,138,489            12,822,541
                  Advance from customers                                    2,790                92,104
                  Other payables                                        6,752,429             4,746,835
                                                                      377,224,694           365,284,533




                                                                                Group
                  Non-Current                                           2019                  2018
                                                                         $                      $
                  Provision for staff end-of-service gratuity                                  771,213
                                                                         965,517
                  Other payables                                       4,719,960               140,200
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                                                                                10,767,360
          Defined benefit pension scheme deficit            57,741,660
                                                                                71,417,824
          Long term provision
          Deferred income                                   7,102,067           14,423,154

                                                                                97,519,751
                                                            70,529,204

                                                                    Company
          Current                                            2019                2018

          Contract with suppliers                            1,950,135
          Other payables                                                          200,607
          Provision for expenses                              260,000             210,000
                                                             2,210,135            410,607

         Trade payables are recognised at their original invoiced amounts which represent
         their fair values on initial recognition. Trade payables are considered to be of
         short duration and are not discounted.

         Trade payables are non-interest bearing and are settled on cash against document
         terms.

         The group's amounts of Trade and other payables are denominated in the
         following currencies:
         Current                        Group                     Company
                                  2019          2018          2019       2018
                                    $                  $                 $              $

                                                                                                     L

         Australian Dollars              6,131         10,532
         Chinese yuan
         renminbi




                                        47,397        109,968
                                                                                                     f




         Euro                       28,738,429               -      1,833,586
                                                    LIBERTY HOUSE GROUP PTE. LTD. 85



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                   Hong Kong Dollars                  3,556                5,823
                   Singapore Dollars               103,216               116,212
                   Great Britain Pounds         265,043,699          268,696,906
                   United Arab
                                                    2,387,096          L558297
                   Emirates Dirham
                   United States Dollars         85,329,611           94,777,154               376,549       410,607
                   Vietnam Dong                      10,108                9,641
                   Swiss Franc                       16,761
                   Polish zloty                   2,640,757
                                                377,224,694          365,284,533         2,210,135           410,607


                                                                                   Group                  Group
                                                                                    2019                   2018
                   Non-current                                                       $                       $
                   Great Britain Pound                                                                   96,748,538
                                                                                62,461,620
                   Euro                                                            7,102,067
                   Australian dollar                                                 965,517
                   United States Dollar                                                                    771,213

                                                                                                         97,519,751
                                                                                70,529,204

                   Contract liabilities relates to finance received from two major UK automobile
•J                 groups upon acquisition of a UK subsidiary to secure future sources of supply
                   and is being amortised against sales made to such groups, which is expected to be
fI                 approximately 2 years.
1
                   One of the subsidiary has come to an arrangement with one of their suppliers to
                   defer the GBP 3,000,000 amount of trade creditor's payable for a period of over 1
                   year.

                   Defined retirement benefit
I                  Eleven of the subsidiaries operates a defined contribution pension scheme for all
I                  qualifying employees. The assets of the scheme are held separately from those of
                   the subsidiary in an independently administered fund. At reporting date, the
                   total outstanding within current liabilities for all the six subsidiaries was GBP
                   57,393(2018: GBP 49,434)

                   One of the subsidiary became the principal employer of the final salary defined
                   benefit scheme, Coventry presswork pension and life assurance scheme, when it
                   acquired the business of CP realisations 2016 Limited (formerly known as
                   Covpress Limited).

                   The pension scheme assets are held in a separate trustee administered fund to
                   meet the long term pension liabilities to past and present employees. The trustees
                   of the fund are required to act in the best interest of the funds beneficiaries. The
                   appointment of trustees to the fund is determined by the scheme trust
                   documentation. The full actuarial valuation was carried out as at 31 March 2019.
                   Full actuarial valuations will be carried out every three years. The scheme closed
                   to future accruals from 5 April 2004.
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         The updated valuation showed the market value of the scheme assets amounted
         to GBP 23,234,000 (2018: GBP 24,376,000) and the actuarial value was sufficient to
         cover 90% (2017:88%) of the benefit that had accrued to members.

         At the period end, a deficit of GBP 2,680,000 (2018: GBP 3,330,000) has been
         recognised in respect of the defined benefit pension plan. The opening position of
         the pension scheme on acquisition was a deficit of GBP 2,769,000.
         The assets and liabilities of the scheme at 31 March 2019 are:
                                                                         Group
                                                                2019               2018
                                                                GBP                GBP
          Scheme assets at fair value
          Global equities                                    12,786,000         12,871,000                        i
          Government bonds                                     3,694,000          3,621,000
          Corporate bonds                                      4,221,000          4,382,000
          Trustee bank balance                                   215,000            381,000
          Value if insured annuities                           1,836,000          1,979,000
          Fair value of scheme assets                         22,752,000         23,234,000
          Present value of scheme liabilities               (29,431,000)       (25,914,000)
          Defined benefit pension plan deficit               (6,679,000)        (2,680,000)

         The annual return on scheme assets was GBP 359,000.

         The pension scheme has not invested in any of the subsidiary own financial
         instruments nor in properties or other assets used by the subsidiary.

         The amounts recognised in the income statement and in the statement of
         comprehensive income for the period analysed as follows:

         Recognised in the income statement
                                                                          Group
                                                                   2019                    2018
                                                                   GBP                     GBP
          Net interest on net liability                               74,000                 82,000
          Scheme expenses                                            224,000                247,000
                                                                     298,000                329,000

         Administration costs of GBP 247,000 (2018: GBP 192,000) incurred by the trustees
         were in relation to acquisition legal advice and therefore have been included
         within the negative goodwill.

         Taken to the statement of other comprehensive income
                                                                                 Group
                                                                     2019                  2018
                                                                     GBP                   GBP
          Actuarial (gains) / losses                              4,026,000              (629,000)
                                                                  4,026,000              (629,000)            r



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                       Changes in the present value of the defined benefit pension obligation are
                       analysed as follows:
                                                                                 Group
                                                                          2019            2018
                                                                          GBP             GBP
                        Opening defined benefit obligation              25,914,000      27,706,000
                        Interest expense                                   708,000         673,000
                        Actuarial experience (gains) / losses            2,627,000         143,000
                        Change in actuarial assumptions - financial      1,464,000     (1,004,000)
                        Benefits received paid                         (1,282,000)     (1,604,000)
                        Closing defined benefit obligation             29,431,000      25,914,000

                       Changes in the fair value of plan assets are analysed as follow:
                                                                                       Group
                                                                                2019            2018
                                                                               GBP              GBP
                        Opening fair value of assets                          23,234,000      24,376,000
                        Interest income                                          634,000         591,000
         •              Employer's contribution                                  325,000         350,000
         )
                        Scheme expenses                                        (224,000)       (247,000)
                        Return on plan assets less interest income           (1,282,000)       (232,000)
1-;                     Benefits paid                                             65,000     (1,604,000)
                                                                             22,752,000      23,234,000

                       Pension contributions are determined with the advice of independent qualified
                       actuaries, on the basis of annual valuations using the projected unit credit
                       method. The projected unit credit method is an accrued benefits valuation
                       method in which the scheme liabilities make allowance for future earnings.
                       Scheme assets are stated at their market values at the respective statement of
                       financial position dates.

                       Main assumptions
                                                                                          Group
                                                                               2019               2018

                        Discount rate at start period                             2.80%            2.80%
i.                      Discount rate at period end                                                2.80%
                                                                                  2.40%
                        Retail Price inflation                                    3.10%            3.10%
r                       Consumer price inflation                                  2.00%            2.00%
I .
                        Pension accrued before 6.4.1997                           3.00%           3.00%
                        Pension accrued after 6.4.1997                            3.20%           3.20%
I '                     Life expectancy at age 65 years
                         Males                                                      20.9             20.9
                         Females                                                    22.8             22.8
                         Males (age 45 at period-end)                               22.0             22.0
                         Females (age 45 at period-end)                             24.0             24.0
                       A schedule of contributions covering the period from 6 April 2017 to 5 April 2022
                       states that contributions will be payable monthly by the last day of the calendar
                       month to which the contribution relates. For 6 April 2018 to 5 April 2019 monthly
                                                                     LIBERTY HOUSE GROUP PTE. LTD. 88



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           payment of GBP 29,167 will be paid.

           The provision for staff end of service gratuity relates to one of the subsidiaries
           post-employment benefits for its qualifying employees in accordance with the
           subsidiary's employment policies.

           The group has accrued arbitration costs amounting to $999,639(2018: $999,639) for
           the dispute of one of its subsidiaries with a customer on the quality of goods
           supplier.

     16.       AMOUNT DUE TO A DIRECTOR




           The amount owing to a director is non-trade in nature, unsecured, interest-free
           and repayable within the next twelve months.

           The amount owing to a director is denominated in United States dollars

                                                                                      Group
                                                                          2019                 2018
                                                                            $                    $
            Amount due to a director                                   2,841,083              2,679,451
                                                                       2,841,083              2,679,451

     17.   BANK BORROWINGS, secured

           The bill payables and trust receipts bear interest in the range of 4.75% to 505%
           (2018:4.05% to 6.7%) (2017:3.2% to 5.75%) per annum and repayable from 90 to
           180 (2018: 60 to 150 days)

           The bank overdraft born interest ranged from 3% to 5.75% per annum or LINOR
           plus a margin of 1.5% up to 4.25% per annum.
           Bills discounted with financial institution are recourse, bear interest at the range
           of 4.95% to 5.7% (2017: 4.75% to 5.75%) per annum and repayable within 90 to
           150 (2017:180) days.

           The bank loan bear interest in the range of 3% to 3.5% (2018: 3% to 3.5%) per
           annum and repayable within next 12 months.




           The bank borrowings are generally secured on an individual transaction basis
           (note.31)
                                                                      Group
                                                              2019              2018
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                                                                                                            704


                                                                              $                     $
                                                                        202,438,40            393,128,75
                      Bank borrowings, short term
                                                                                 8                 3
    In                Bank and other borrowings, long term              70,526,863             71,368,989
                                                                        272,965,27            464,497,74
                                                                                 1                 2

      ;             Further analysis of bank and other borrowings are as follows: -
                                                                                      Group
                                                                           2019                 2018
    c-}              Current
                     Bank loans                                         26,247,788            31,241,465
                                                                                              175,679,62
                     Bills payables/Trust receipts                      87,399,482
                                                                                                       6
1 I                  Bills discounted                                    4,813,209            15,916,259
                     Bank overdrafts                                       723,235
                                                                                              170,291,40
                     Receivable finance facility                        83,254,694                     3
                                                                        202,438,40            393,128,75
                                                                                 8                3
                     Non-current
t..J                 Bank loans                                         70,526,863            71,368,989
                                                                        70,526,863            71,368,989

                                                                        272,965,27            464,497,74
[                                                                                1                     2

                    The bank borrowings are denominated in the following currencies:
I
                                                                        Group                 Group
                                                                         2019                  2018
                                                                          $                     $
                     Euro                                              14,342,628
                     Great Britain Pound                              179,467,275         243,915,438
                     United States dollar                              79,155,368         220,582,304
                                                                      272,965,271         464,497,742

                                                                      Company             Company
                                                                        2019                2018
                                                                          $                     $
                     Bank borrowings                                     7,169,500
                                                                         7,169,500




                    The bank borrowings are denominated in the following currencies:
                                                                    Company          Company
                                                                          $                     $
                                                                        2019                  2018
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          Great Britain Pound                                   7,169,500
                                                                7,169,500

         Other Borrowings
         A part of the loan repayable, included in current and non-current liabilities and
         are bearing interest at prevailing market rate per annum and are over a term of 5
         years. The loan is guaranteed by a fixed and floating charge over certain assets of
         the subsidiary.

         Other loans also includes GBP 6,246,215 term loan facility with one of the bank.

         Receivables and stock finance facility

         The receivables and stock finance facility for all the subsidiaries are guaranteed by
         a fixed and floating charge over the assets of the subsidiaries at a commercial rate
         above LIBOR. The underlying securities in this respect are trade receivables and
         inventories of the subsidiaries.

         At year end the subsidiaries owed GBP nil (2018: GBP 19,323,609) to the
         receivables finance facility. During the year, two subsidiaries secured a new
         receivable finance facility through its related party.

          At the year end the subsidiary owed GBP 31,338,936 (2018: 35,347,138) to the
         stock finance facility.

         Included in the bank overdraft and bank loans are secured amounts in the sum of
         GBP NIL (2018: GBP 32,846,850) in respect of invoice financing. The GBP
         6,690,487 (2018: GBP 3,153,500) is in respect of secured bank loans due within one
         year. The underlying securities in this respect are trade receivables and
         inventories of the company.

         Bank Borrowings - Current and Non-current

         Bank loans, overdraft facilities and similar finance are secured by a fixed and
         floating charge over the trade receivables/inventories/ other assets of the
         subsidiaries with interest being charged at commercial rates and the loans are
         repayable in full within 2 to 5 years.

         Current liabilities

         Other loans include a receivables finance facility of GBP 1,813,000 (2018: GBP
         2,198,778) which is secured by a charge over certain assets of the company.
         Upon acquisition of the business that was used to set up for Liberty Wheels
         France, financing was raised from two major French automobile groups totalling
         to Euro 10 million (USD 12 million) so as to secure future sources of supply, of
         which Euro 8.5 million (USD 9.5 million) will be repaid over the period 2022 to
         2026. Of this amount, Euros 4.6 million was received during the year of which
         approximately Euros 3.8 million is classes as a loan, and Euros 809k is
         non-refundable. The remaining amounts is to be received in next two years.
         Guarantees have been given in respect of these arrangements by Liberty House
         Group Pte ltd and Liberty Global Holdings Pte Ltd.

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                   Amounts owed to group undertakings and related parties have no fixed
                   repayment date and non-interest bearing.

                   Bank facilities of the Group are secured by the following:
                   a) Certain of the Group companies have provided cross-guarantees to certain
                       banks in respect of their facilities.
                   b) Assignment of insurance policy for stock (inventories) and receivables
                   c) All asset debentures for certain companies
                   d) Deed of pledge and assignment over general/specific inventories, documents,
                       trade receivables and all rights
•                  e) Irrevocable personal guarantee of a Director
                   f) Pledge on bank accounts of the Group
                   g) Letter of undertaking
                   h) Keyman insurance of Director.
  •
II                 The company need to repay the loan in full on the repayment date which is 180
                   days and it is denominated in Euro currency.

    )        18.       OTHER BORROWINGS, secured

1-1                                                                         Group                   Group
I!                                                                           2019                    2018
I. )                                                                           $                       $
                    Bills discounted                                        36,803,285             43,421,326
II                  Loans                                                   81,726,103             74,733,722
 ;                                                                         118,529,390            118,155,048

                                                                           Company                Company
I1                                                                                                   2018
1..1                                                                         2019
                                                                               $                       $
I1                  Loans                                                   19,973,389             28,989,273
I,                                                                          19,973,389            28,989,273

    :
    •

                   Other Borrowings

                   A part of the loan repayable, included in current and non-current liabilities and
                   are bearing interest at 4.75% per annum and are over a term of 5 years. The loan is
                   guaranteed by a fixed and floating charge over certain assets of the subsidiary.

                   Bills discounted are discounted with third parties/financial institution other than
                   bank (Note 17). This bills discounted are recourse, bears interest at 4% to 10.5%
                   (2018:5.8% to 10.5%) per annum and repayable within 90 days to 180 (2018:120 to
                   180) days.

                   Other loans bears interest ranging from 8% to 9% (2018:7% to 7.80%) per annum
                   and repayable within 90 to 180 days (2018:180 days). Out of the total bills
                   discounted loans of $36,803,285 (2018:43,421,326) are secured by trade receivables
                   of $50,301,166(2018:$49,394,189)

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          Other borrowings are denominated in following currencies:

                                                                            Group
                                                                  2019                2018

           Euro                                                     16,220
                                                                117,690,10          116,052,04
           United States dollar
                                                                         5                   8
           Great Britain Pound                                     823,065           2,103,000
                                                               118,529,39           118,155,04
                                                                    0                    8

    19.      FINANCIAL LEASE LIABILITIES

                                                                           Group
           Current                                               2019                2018
                                                                   $                   $
           Due within one year - (current)                                              8,139
           Obligation under finance lease                      15,024,598           9,182,210
                                                               15,024,598           9,190,349

                                                                           Group
           Non-Current                                           2019                2018

           Due within two to five years - (Non-current)
           Obligation under finance lease                      30,742,206          41,471,931
                                                               30,742,206          41,471,931

          The finance lease liabilities represent vehicle loan amounting to $8,139 (2018:
          $39,814) at interest rate of 5.5% (2018:5.5%) per annum is secured upon the related
          vehicle having a cost of $128,100 and net book value of $43,903 (2018: $58,484).

          Obligations under finance lease

          Finance lease payments represents rentals payable by the above subsidiaries for
          certain items of plant and machinery. Lease include purchase options at the end
          of the lease period and no restrictions are placed on the use of the assets. The
          average lease terms are 3-5 years. All leases are on a fixed repayment basis and no
          arrangements have been entered into for contingent rental payments. The fair
          value of the subsidiary lease obligations is approximately equal to their carrying
          amount.

          The finance lease liabilities are denominated following currencies:
                                                                           Group
                                                                    2019              2018
                                                                       $                   $
           United Arab Emirates Dirham                                                   8,139
           Great Britain Pound                                  45,766,804          50,654,141
                                                                45,766,804          50,662,280

    20.      TAXATION - GROUP

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                       (a) Income tax expenses
                                                                            2019             2018
r--                                                                           $                  $
                   Current income tax                                      1,095,900        4,435,800
                   Under/ (over) provision in prior year
                                                                           1,095,900        4,435,800

                   The current year income tax expense varies from the amount of income tax
                   expense determined by applying the Singapore statutory income tax rate of 17%
                   (2018: 17%) to the profit/(loss) before income tax as a result of the following
  I                differences: -
                                                                         2019             2018
                                                                              $                  $
                  Profit before tax                                       95,564,529       78,268,876
                  Tax calculated at corporate tax rate of 17%             16,245,970      13,305,709
Cl
                  Tax effect on deferred tax not recognised                  115,939        3,542,982
                  Tax effect on separate source                               90,228        (277,636)
                  Effect of different tax rates in other country          (3,115,692)     (3,397,509)
                  Tax incentive/rebate                                      (632,747)     (1,962,604)
                  Temporary differences not recognised                       573,658          330,670
                  Non-taxable income                                     (11,035,208)    (6,983,450)
                  Tax exemption                                              (22,916)         (18,491)
                  Under/ (over) provision in prior years                  (2,057,312)         (89,413)
                  Tax effect on group relief                               1,216,621
                  Others                                                    (282,641)         (14,458)
                  Tax expenses                                             1,095,900        4,435,800
                  The group and company has unabsorbed tax losses which are available for offset
                  against future taxable income of the group and company subject to the agreement
                  by the local tax authorities. Future tax benefits arising from tax losses have not
ri                been recognised since there is no reasonable certainty of their recoverability in
                  future periods.

            (b)   Movement in current income tax liability

                                                                            2019            2018
                                                                              $              $
                  Balance at beginning of financial year                   7,483,230       2,299,475
                  Tax expense on profit for current financial year         1,095,900       4,435,800
                  Tax paid/ (refund) during the financial year            (3,284,652)        747,955
                  Others                                                      285,030
                  Balance at end of financial year                         5,294,478       7,483,230

           Lc).   Deferred tax

                  Deferred income tax assets and liabilities are offset when there is a legally
                  enforceable right to set off current income tax assets against current income tax
                  liabilities and when the deferred income taxes relate to the same fiscal authority.

                  The amounts, determined after appropriate offsetting.

                                                                             2019             2018
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                                                                                                                     $                    $
          Deferred income tax asset
          Deferred income tax. liability                                                                       31,425,882             36,138,077
          Net deferred income tax liability/ (assets)                                                          31,425,882             36,138,077

          The movement in the deferred income tax assets and liabilities (prior to offsetting
          of balances within the same tax jurisdiction) during the financial year is as
          follows:

          Deferred income tax assets
                                                                                                                  2019                   2018
                                                                                                                   $                      $
          Tax losses
          Capital allowances
          Provisions
          Other temporary differences
          Deferred income tax assets




          Deferred tax liability and other provision
                                                                                                                  2019                   2018
                                                                                                                   $                      $
          Excess of net book value over tax written down
          values of plant and equipment
          Deferred tax liability                                                                                31,425,882            36,138,077
          Other provisions                                                                                      28,639,548            30,373,630
          Deferred tax liability                                                                                60,065,430            66,511,707

          Provision for tax and other provisions

                                                                  2019                                                                   2018
                                                                    $                                                                     $
          Environmental Provisions                                3,391,940                                                           23,188,812
          Dilapidation Provision                                  4,831,503                                                            3,063,477
          Pot relining and decommissioning                      17,811,571                                                             1,775,331
          Provision for other liabilities                         2,604,534                                                            2,346,010
                                                                 28,639,548                                                           30,373,630
          The movement in the Company's deferred tax liability is as follows:

                                                                                                                  2019                   2018
                                                                                                                   $                      $
          Balance at 1 January                                                                                 66,511,707             14,887,784
          Current year recognition-Deferred tax liability                                                     (4,712,195)             21,250,293
          Current year recognition-Other Provisions                                                           (1,734,082)             30,373,630
          Deferred income tax liability                                                                        60,065,430             66,511,707

          TAXATION: COMPANY

     .W   Tax expense
                                                                                        LIBERTY HOUSE GROUP PTE. LTD. 95




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                                                                          2019               2018
                                                                            $                    $
               Current income tax                                               7,155             5,753
                                                                                7,155             5,753

                The income tax on profit before tax differs from the amount that would arise
                using the Singapore standard rate of income tax due to the following:

                                                                          2019        2018
                                                                         $             $
               Profit/ (Loss) before tax                             (2,276,613)        52,265
               Tax calculated at corporate tax rate of 17%             (387,024)          8,885
               Tax effect on deferred tax not recognised                 379,869        (3,132)
               Tax payable                                                 7,155          5,753
                As at 31 March 2019, the company has tax losses amounting to $1,980,097/- (2018:
                $296,516/-) and deferred tax benefit of $336,616/- (2018: $50,408/-) not
                recognised in the financial statement under review.
H
               LW.     Movement in current income tax liability
                                                                          2019             2018
                                                                            $                $
               Balance at beginning of financial year                     5,753
               Tax expense on profit for current financial year           7,155             5,753
               Balance at end of financial year                          12,908             5,753

         21.         SHARE CAPITAL-Group and Company

               Issued and paid-up ordinary share capital
                                                                        2019               2018
                                                                          $                  $
               325,561,301 ordinary shares                          325,561,301         325,561,301

               The issued ordinary share is fully paid. There is no par value for this ordinary
               share. The holder of ordinary share is entitled to receive dividends as declared
               from time to time and is entitled to one vote per share at meetings of the
               company. All shares rank equally with regards to the company's residual assets.

!              Revaluation Reserves

               The Revaluation Reserve records unrealised surpluses and deficits created from
               the revaluation of fixed assets. One of the subsidiary has taken certain transitional
               exemptions under FRS 102 to use the historic valuation of certain land and
               buildings as deemed cost. The revaluation reserve will be released over the
               remaining life of the associated property assets.

               Share premium

               In one of the subsidiary the share premium account is a non -distributable reserve
               and represents the amount above the nominal value received for shares sold, less
               any transaction costs associated with the issuing of shares. Due to the fact that the
               above subsidiary's annual financial statement is not subject to the obligation of
                                                            LIBERTY HOUSE GROUP PTE. LTD. 96



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           auditing and announcing pursuant to article 64 of the Act, the financial statement
           does not include a statement of changes in equity and a cash flow statement
           (article 45 paragraph 3 of the Accounting Act)




     22.      REVENUE

                                                                                                                     Group
            Disaggregation of Revenue                                                                        2019              2018
                                                                                                               $                $
            Sale of Steel                                                                                1,206,326,137       793,430,045
            Sale of Engineering                                                                            258,783,896       285,356,617
            Sale of Aluminium                                                                              231,976,551       187,613,127
            Sale of metal and metal ores                                                                 8,381,085,904     6,578,459,540
                                                                                                         10,078,172,48     7,844,859,329
                                                                                                                     8

                                                                                                         10,078,172,48                            7,844,859,329
            Timing of transfer of goods                                                                              8
            At a point of time
                                                                                                         10,078,172,48                            7,844,859,329
                                                                                                                     8

            Primary geographical market
            United Kingdom                                                                                  773,522,366       647,398,913
            Rest of Europe                                                                                  428,754,695       333,613,962
            North America (Canada, USA, Mexico)                                                              50,988,279        52,145,996
            India                                                                                                 86,114        9,208,835
            Rest of Americas                                                                                     12,530        18,540,249
            Australasia                                                                                            1,865          890,418
            Asia and Middle East                                                                          4,926,660,721     4,664,685,318
            Europe                                                                                        3,321,827,779     1,812,154,521
            United States of America                                                                         37,068,847        46,012,891
            Africa                                                                                           25,580,359         4,821,032
            Others                                                                                           70,028,830
            Rest of Asia                                                                                    328,252,906       139,999,997
            Rest of the world                                                                               115,387,197       115,387,197
                                                                                                          10,078,172,48
                                                                                                                            7,844,859,329
                                                                                                                       8
                                                                                                                      Company
            Disaggregation of Revenue                                                                         2019              2018
                                                                                                                $                 $
            Sale of metal and metal ores                                                                     67,405,579        61,500,367
                                                                                                             67,405,579        61,500,367

            Timing of transfer of goods                                                                         67,405,579                           61,500,367
            At a point of time
                                                                                                LIBERTY HOUSE GROUP PTE. LTD. 97




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                                                            67,405,579         61,500,367

            Primary geographical market
            Hong Kong                                       25,156,449        20,630,115
            United Kingdom                                  28,005,895        21,226,359
            Singapore                                       14,243,235        19,643,893
                                                            67,405,579        61,500,367

           The following table provides information about the nature and timing of the
           satisfaction of performance obligations in contracts with customers, including
           significant payment terms, and the related revenue recognition policies:

                                            The group and company generates revenue
                                            from trading or sale in commodities (i.e.
            Nature of goods and services
                                            ferrous and non-ferrous metal and metal
                                            ores).
                                            Income from the sale of goods is recognised
                                            when the control of goods (i.e. risk of
           When revenue is recognised       obsolescence and loss of shipment) are
                                            transferred to the customer).
                                            Payment is due within 0 to 180 days from the
           Significant payment terms        date of shipment.

     23.      COST OF SALES

                                                                     Group
                                                             2019              2018

           Opening inventories                             308,445,303       155,351,078
           Wages & salaries                                219,155,218       198,864,718
           Depreciation                                     45,758,262        43,800,765
           Commission paid                                     303,982           381,432
           Freight and handling charges                     52,586,328        45,029,070
           Marine and credit insurance                          11,638           110,010
           Tolling charges                                     703,559         7,815,299
           Production overhead expenditure                  70,587,660        89,488,239
           Inspection charges                                   20,612            16,573
           Net gain on fair value of derivative
                                                            61,856,095       (24,197,495)
           (notel3)
           Storage charges                                      83,677           22,520
           Other direct cost                               144,602,997     148,060,885
           Purchases                                     9,135,118,862   7,288,013,035
           Amortisation of intangible asset                                       6,634
           Debt written off                                                 (8,699,672)
                                                        10,039,234,193   7,944,063,091
           Less: Closing inventories                     (294,145,437)   (308,445,303)
                                                         9,745,088,756   7,635,617,788
                                                                   Company
                                                             2019            2018
                                                              $                 $
           Purchases                                       63,966,662         58,930,223
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                                                                                                713



                                                              63,966,662           58,930,223

     24.      OTHER INCOME

                                                                           Group
                                                                 2019                2018

           Management fee-related party                           854,670             252,000
           Administrative fee-related party                                        603,297
           Interest income - banks and fixed deposits             453,012          294,609
           Profit share and government grant                   15,314,156        8,451,955
           Profit on sale acquisition of subsidiary             6,977,424        4,795,468
           Net exchange gain                                                       323,036
           Bargain purchase on acquisition                      32,268,354      92,961,613
           Profit on sale on disposal of fixed assets                              145,351
           Others                                                6,292,725       4,621,112
                                                                62,160,341     112,448,441

                                                                         Company
                                                                  2019               2018
                                                                   $                   $
           Interest income                                          6,129
           Exchange gain                                           22,235
           Put option income                                      656,416
                                                                  684,780

     25.      ADMINISTRATIVE EXPENESE

                                                                           Group
                                                                  2019               2018

           Allowance for doubtful debts                           157,147           4,446,064
           Allowance for inventory obsolesce                                           47,000
           Amortisation of intangible assets                    6,400,206           3,647,331
           Audit and accounting expenses                        2,861,552           1,996,144
           Consultancy fees                                     1,950,399             482,719
           Depreciation                                           953,250             711,588
           Employment benefit                                  65,914,821          39,358,585
           Foreign exchange loss                               10,607,140           1,160,549
           General expenses                                    35,209,714          22,083,329
           Impairment                                           (144,291)          15,666,501
           Insurance                                            8,264,632           9,405,267
           Legal and professional fees                          5,881,328          11,499,830
           Management fees                                      3,777,597           6,698,052
           Office rental- operating lease                       2,702,253           9,516,847
           Repairs and maintenance                              6,764,347             215,878
           Subscription and donation                              446,847             365,796
           Telecommunication                                    1,335,546           1,135,405
           Travelling expenses                                  2,446,155           1,648,820
           Withholding tax                                                            284,453
                                                              155,528,643   130,370,158
                                                        LIBERTY HOUSE GROUP PTE. LTD. 99




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                                                                           Company
                                                                    2019              2018
                                                                      $                 $
             Audit and accounting expenses                           100,000          313,719
             General expenses                                      3,318,050           50,610
             Insurance                                               138,331
             Legal and professional fees                             171,570          108,863
             Travelling expenses                                       4,569            1,475
                                                                   3,732,520          454,667

      26.       DISTRIBUTION COSTS

                                                                            Group
                                                                    2019              2018
                                                                                       $
             Commission and brokerage                              2,498,899         2,954,302
             Marketing expenses                                      926,813         1,051,309
             Travelling expenses                                   4,037,021         3,598,603
             Salaries & other benefits                             3,058,683         8,759,885
             Other distribution expenses                          43,200,572        21,127,907
                                                                  53,721,988     37,492,006

      27.       FINANCE COSTS

                                                                            Group
                                                                    2019              2018

            Bank interest and charges                             33,434,856     26,880,378
            Interest on trade finance                             52,062,654     28,559,477
            Interest on finance lease - Vehicle loan B                18,858          1,656
                                                                  85,516,368     55,442,511

                                                                           Company
                                                                    2019              2018
                                                                     $                  $
            Interest on trade finance                              2,667,790        2,063,212
                                                                   2,667,790        2,063,212




     28.       LOSS BEFORE TAXATION

                                                                           Company
                                                                    2019               2018
                                                                     $                  $
            This is determined after charging :-
            Audit fee                                               100,000       313,719
            Bank charges                                            464,933           310
                                                         LIBERTY HOUSE GROUP PTE. LTD. 100




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              Commission                                            2,667,790        2,063,212
              Events and conference expenses                                            30,000
              Insurance                                              138,331
              Put option                                           1,388,305
              BG Invocation                                        1,464,512
              Legal and professional fees                            171,571          108,863
              Printing and stationery expenses                           300              300
              Travelling expenses                                      4,569            1,475

     29.            OTHER EXPENSES

                                                                            Group
                                                                     2019             2018
                                                                      $                 $
              Re-organisation cost                                  4,582,612       14,942,133
              Loss on disposal of fixed assets                        202,729        3,937,057
              Loss on purchase of subsidiary                         127,204            97,406
              Foreign exchange (gain)/loss                                           1,140,835
                                                                    4,912,545       20,117,431

     1.             RELATED PARTY TRANSACTIONS - Group and Company

              (a)     Transactions with related parties

                                                                     2019             2018

      Purchase                                                     20,278,580       7,266,834
                                                                                    82,774,89
      Sales                                                        87,521,657               0
                                                                                    23,344,20
      Loan repaid to a director - Company                                   •

                                                                                            0
      Repayment of amount due to director                                           7,831,428
      Expenses paid/payable on behalf of director                                      99,695
      Payment of expenses paid on behalf by subsidiary                                295,603
      Payment of expenses on behalf of related parties              5,539,297       1,515,282
      Payment of expenses on behalf of immediate holding                               97,216
      company
      Payment to creditor on behalf of immediate holding
                                                                    8,585,267
      company
      Payment of expenses on behalf of intermediate
                                                                     341,473
      holding company
      Expenses paid on behalf by related parties                     177,079
      Receipt on behalf by related parties                       151,989,790
      Loan from related parties                                      650,000
      Funds transfer from related parties -Group                  57,834,888
                                                                                    39,049,51
      Fund transfer to related parties                              4,829,151               5
      Fund transfer from immediate holding company                                     20,000
      Fund transfer to director                                       20,000
                                                                                    12,162,36
      Freight, insurance and handling charges                      1,345,881                0
                                                          LIBERTY HOUSE GROUP PTE. LTD. 101




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       Management fees paid/payable to related parties                         447,885           1,558,598
       Management fees received/receivables from related
                                                                               919,380            252,000
       party
       Interest income from related parties                                                        87,216
       Interest paid to related parties                                         18,858
       Rental paid/payable to related parties                                  647,745             393,805
                                                                                                 25,157,31
       Payment of creditor on behalf by related parties                    8,327,577                     1
       Payment of creditor on behalf of related parties                   17,356,441             2,711,334
       Commission and demurrage paid to related party                                              189,714
       Tolling charges paid to related party                                     79,782          7,815,299
       Administrative expenses                                                                     603,297
       Purchase of investment from director                                                        283,360
       Bank interest/charges paid by related party                             216,703
       Bank interest paid to related party                                                       4,515,546

      (a)       Key management personnel compensation

             The remuneration of key management personnel during the financial year is as
             follows:-

            Group

                                                                          2019                    2018
                                                                           $                        $
              Short term benefits                                         1,666,706               1,669,870
                                                                          1,666,706               1,669,870

            There are no other key management personnel other than the director of the
            group.




      2.    COMMITMENT

      a)            Legal cases:

            A claim for lower quality of goods being supplied was lodged by a customer
            during the previous financial year against one of the subsidiaries. The subsidiary
            has disclaimed the liability and is defending the action. Legal advice obtained
            indicate that it is unlikely that any significant liability will arise.

            At the date of the financial statements, the director is of the view that no material
            losses will arise in respect of the legal claim. The subsidiary has accrued
            arbitration cost of $999,639 (2017: $999,639) in the other payable for the financial
            year ended 31 March 2019.

      b)            Commitments:
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                                                                                                       1
                                                               2019                2018
                                                                 $                  $
           Open letter of credits                                                  3,396,830
           Guarantee with Ministry of Labour UAEs                    26,956           31,043
                                                                     26,956        3,427,873

          Generally, banking facilities of the group were secured by the following however,            H
          the exact securities offered differs from facility to facility.

             a) The subsidiaries of the company have jointly provided cross guarantees to
                certain banks in respect to their trade facilities ranging from $10M to
                $58M.
             b) The group and the company have provided corporate guarantees of
                $516,000,000 to various financial institutions that provide loans and other
                credit finance facilities to the group.
             c) Assignment of insurance policy for stock and credit insurance policy;
             d) Deed of pledge and assignment over general/specific inventories,
                documents, trade receivables, all rights and benefits of purchase/sales
                contract financed by the banks;
             e) Cash margin of the total limit, time and fixed deposit receipt under lien to
                the bank
             f) Letter of undertakings to repay the bank dues in case of any
                part/non-payment of claims by the insurance company.
             g) Irrevocable personal guarantee of director;




     3.   RETIREMENT BENEFITS AND PENSION COMMITMENTS

          Defined contribution schemes

                                                                     2019            2018
                                                                      $                 $
          Change to statement of comprehensive income
                                                                     2,296,591     1,603,744
          in respect of defined contribution schemes

          Eleven of the subsidiaries operate a defined contribution scheme for all qualifying
          employees. The assets of the scheme are held separately from those of the
          subsidiaries in an independently administered fund.

          Defined benefit scheme
          One of the subsidiary operates a defined benefit scheme which is closed to future
          accruals from 5 April 2004.

          The pension scheme assets are held in a separate trustee administered fund to
          meet the long term pension liabilities to past and present employees. The trustees
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                  of the fund are required to act in the best interest of the funds beneficiaries. The
                  appointment if trustees to the fund is determined by the scheme trust
                  documentation.

                  A full actuarial valuation showed the market value of the scheme assets
                  amounted to GBP 22,752,000(2018: GBP 23,234,000) and the actuarial value was
                  sufficient to cover 77% (2018:90%) of the benefit that had accrued to members.

                  At the period end, a deficit of GBP 6,679,000(2018: GBP 2,680,000) has been
                  recognised in respect of the defined benefit pension plan

                  Pension Commitments
                  The pension cost charge represents contributions payable by three of the
                  subsidiaries to the fund and amounted to GBP 116,447 (2018: GBP 93,559).
                  Contributions totalling GBP 27,851 (2018: GBP 16,313) were payable to the fund at
                  the reporting date and are included in current liabilities.

                 One of the subsidiary provides pension benefits to employees by means of a
                 defined contribution pension scheme, known as the Merchant Bar Stakeholder
                 Pension Scheme that is fully compliant with the conditions set out by
                 Government that this type of scheme must meet.

                 Caparo Industries UK Limited (the parent company of Caparo Steel Products
                 Limited) entered administration on 19th October 2015 leaving the Caparo Group
                 C188 defined benefit scheme (which closed to future accrual earlier that same
                 year) in crisis with 4 of its 5 employers insolvent, with LMB remaining the only
                 solvent employer.
                 Throughout the year the directors have engaged proactively, together with
                 independent expert pension advisers and separate expert legal advisers
                 appointed by the subsidiary, to assist their negotiations with the CI88 scheme
                 trustee, their scheme advisers and the PPF, with the aim of reaching a
                 compromise and containing any liability on LMB going forward.

                 These negotiations were at a developed stage by year end, but short of reaching a
                 final conclusion. The indications are that all parties remain certain that a
                 satisfactory agreement can be reached, however a perceived uncertainty will
                 remain during 2019/20 until an agreement and any ongoing liability has been
                 resolved between the trustee, the subsidiary and a new shareholder.

                 During the year, one of the subsidiary retirement benefits were accruing to no
                 directors (2018-2) in respect of defined contribution pension schemes. The highest
                 paid director received remuneration of GBP Nil (2018: GBP 82,584).

                 The value of the company's contributions paid to a defined contribution pension
                 scheme in respect of the highest paid director amounted to GBP Nil (2018: GBP
                 12,049).

                 During 2018 the directors' emoluments in respect of services to the Liberty
                 Merchant Bar PIc are borne by the Liberty group and their emoluments can be
L..;             found in the financial statements of the group. Copies of these financial
                 statements can be obtained from UK Companies House.

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              The number of directors for whom retirement benefits are accruing under defined
              contribution schemes amounted to 1 (2018:1)

     4.           OPERATING LEASE COMMITMENT

              Operating lease payments represents rentals payable by the group for leases of
              office space. The leases have varying terms and renewal rights.

              The future aggregate minimum lease payments under non-cancellable operating
              lease contracted for at the end of the reporting period but not recognized as
              liabilities, are as follows: -

              Group

                                                                            2019         2018
                                                                             $            $
               Due within one year                                        1,381,628   1,920,536
               Due within two years but not later than five year          2,547,842   3,313,780
               More than five years                                                     319,985
                                                                          3,929,470   5,554,301

              The above commitment is denominated in United States Dollars.

              The Group has financial commitments under operating leases. Two of the
              subsidiaries had total annual commitments under operating lease commitments
              as under:

                                                                 Group

                                      Land &          Property           Other          Total
                                     Buildings
                                       GBP              GBP               GBP            GBP
          Within one year               249,525         304,000            447,231     1,000,756
          In two to five years          825,600       1,216,000            720,017     2,761,617
          In over five years          1,702,800       2,508,000              7,476     4,218,276
                                      2,777,925       4,028,000          1,174,724     7,980,649

              Ten of the subsidiaries had total annual commitments under operating lease
              commitments as under:

                                                                              Group
                                                                     2019              2018
                                                                     GBP               GBP

          Within one year                                          17,826,624          9,006,473
          In two to five years                                     27,503,382         33,853,275
          In over five years                                       52,064,485         47,163,882
                                                                   97,394,491         90,023,630

              One of the subsidiary has total future operating lease commitments of GBP 28,335
              (2018: GBP 107,226) which is not included above,
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          5.       CAPITAL COMMITMENTS

               Group

                                                                            2019            2018
                                                                              $              $
                Capital commitments contracted but no provided
                                                                          1,191,549       3,014,975
                for
                                                                          1,191,549       3,014,975




               Other financial commitments:

               Liberty Industries UK Ltd

               The subsidiary is party to a joint and several obligations to reimburse The Scottish
               Ministers in respect of a guarantee provided by The Scottish Ministers in favour
               of Liberty Aluminium Lochaber Limited, a sub-subsidiary of the subsidiary. This
               guarantee is provided for certain payment obligations of Liberty Aluminium
               Lochaber Limited and should The Scottish Ministers be required to make the
               payments under the guarantee Liberty Industries UK Limited, together with
               Liberty House Group Pte Limited, SIMEC Energy Pte Limited and SIMEC Group
               Limited, have undertaken to reimburse the Scottish Ministers.

               The payment obligations are currently GBP 3,733,890 (2018: GBP 3,533,822) per
               quarter and the Scottish Ministers also hold a charge on the shares of Liberty
               Aluminium Lochaber Limited.

               The entities mentioned above are all part of the GFG Alliance, which
               encompasses entities under the common control of Mr S K Gupta and his father
               Mr P K Gupta.

               Liberty Merchant Bar Plc

               The above subsidiary remains in discussion with pension trustees to reach an
               agreement. These negotiations are at a developed stage by year end, but short of
;
               reaching a final conclusion.
t
               On 22nd May 2019, LMB'S British Steel (major supplier of raw materials (billet)
               and services (notably Gas, Electricity, Water, IT) was placed into insolvency. In
               the weeks that have followed, LMB has developed contingency plans to secure
               alternative supply routes which will enable it to continue in the event of a
               complete cessation of operations at British Steel.

               The Directors are of the opinion that robust measures are in place to secure
               operations at LMB. Of particular note are the (already well -advanced)
               continuous caster revamp at Liberty Rotherham site, which will in any event
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          replace British Steel as the major provider of Billet from July 2019. In respect of
          Coke Oven Gas (COG) which fuels the reheat furnaces at LMB, a technical study
          confirms the possibility to supply a synthetic COG (a mixture of Natural Gas and
          Nitrogen to reduce the calorific value of NG to that of COG) as a short term                     H
          solution should COG no longer be available. In the longer term, LMB will execute
          a further small capital development to supply natural gas directly.




          Finally, the uncertainties surrounding BREXIT remain. Measures are in place to
          manage the administrative and logistics changes that a "no-deal" Brexit may
          cause (largely associated with the transportation of goods into Europe and quality
          assurance accreditations). LMB currently enjoys a market share of circa 38% in its
          UK markets. Any serious implications affecting supplies into Europe are likely to
          be neutralised by similar implications placed upon our European competitors.                     it
          The Group continues to bring about capital expenditure improvements and
          expansions to its operations in both the UK and France and investigate other
          possible capital expenditure plans. These were unquantified at the reporting date.

     1.   FINANCIAL RISK MANAGEMENT

          Risk management

          The group and company's activities expose it to market risk (including currency
          risk, interest rate risk and price risk), credit risk and liquidity risk. The group and
                                                                                                           fl
          company's overall risk management strategy seeks to minimise adverse effects
          from the unpredictability of financial markets on the group and company's
          financial performance.

          Credit Risk

          Credit risk refers to the risk that a counterparty will default on its contractual
          obligations resulting in financial loss to the group. The major classes of financial
          assets of the group are bank deposits, trade and other receivables. For banks and
          financial institutions, deposits are placed with regulated banks. For credit
                                                                                                           it
          exposures to customers, management assesses the credit quality of the customer,
          taking into account its financial position, past experience and other factors.

          As the group does not hold any collateral, the maximum exposure to credit risk
          for each class of financial instruments presented on the statements of financial
          position.

          Financial Credit Risk

          Surplus cash and cash equivalents are placed with established financial
          institutions.

          Commercial Credit Risk


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           The management minimises this risk by analysing the credibility of its clients. In
           addition, it monitors the repayment terms of its debtors on a regular basis. Credit
           risk is the risk of loss that may arise on outstanding financial instruments should
           a counterparty default on its obligation.

           The company exposure to credit risk arises primarily from trade and other
           receivables. For other financial assets (including cash and cash equivalents), the
           company minimises credit risk by dealing exclusively with high credit rating
           counterparties.

           The company's objective is to seek continual revenue growth while minimising
           losses incurred due to increased credit risk exposure.

           Exposure to credit risk

           At the reporting date, the company's maximum exposure to credit risk is
           represented by the carrying amount of each class of financial assets recognised in
           the financial statement.

           Market risk

           a. Foreign Currency Risk
           The group is exposed to foreign currency risk arising from future commercial
           transactions, recognised assets and liabilities, primarily with respect to currencies
           other than United States dollars such as Singapore dollars, United Arab Emirates
           dirham, Euro, Great Britain Pounds, Chinese Yuan Renminbi, Hong Kong dollars
           and Indian Rupee. The group monitors the foreign currency exchange rate
           movements closely to ensure that their exposures are minimised by closely
           monitoring the timing of the inception and settlement of the transactions.
           However, the group and company do not use any hedging instruments to protect
           against the volatility associated with the foreign currency transactions.




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 Group
 2019
                                 GBP         HKD       SGD EUR CNY                         AED AUD VND CHF FT PLN
 Inventories                   272,368,962               -    5,247,220
 Trade receivables              30,684,240               - 166,826,248                    1,469,741
 Other receivables              83,108,047 120,84       233,953                223,460     679,679             151,016 4,497
                                                7
 Amount owing from/to
                               161,746,261                         8,471,550
 related party
                                                                                                                                        62
                                                                                                                                    633,&4
 Cash and bank balances         28,007,038 17,505      101,183     6,386,650 178,805     25,116,314     405     6,359 1,725                487,388
                                                                                                                                         4
 Trade and other
                               327,505,319 3,556       103,216    35,840,496 47,397       2,387,096 971,64     10,108 16,761              - 2,640,757
 payables                                                                                                8
 Bank borrowings              179,467,275                         14,342,628
 Other borrowings                  823,065                            16,220
 Finance lease liabilities      45,766,804
                              1,129,477,01 141,90                                                     972,05                        633,62
                                                       438,352 237,131,012 449,662 29,652,830                  167,483 22,983                3,128,145
                                         1      8                                                          3                             4
 Strengthened/weakene
                                112,947,701 14,191 43,835 23,713,101 44,966 2,965,283 97,205 16,748 2,298 63,362 312,815
 d (10%)
The company's foreign currency risk exposure based on the information provided to key management is mainly on other payables for operating
expenses which are not significant to report.

The group's significant currency exposures based on the information provided to key management as follows;




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Group
2018
                                    GBP          HKD         SGD        MYR          EUR          CNY          AED         AUD        VND
Inventories                       227,392,242
                                                                                                               2,210,58         -     237,28
Trade receivables                 188,138,545                      -              12,789,860                          5                     7
                                                                         10,13                                                        233,354
Other receivables                  36,529,447    122,399    106,008                               167,051      336,148          -
                                                                             3
Amount owing from/to                                                                                                  -                     -
                                  146,341, 892
related party                                                                                                                   -
Cash and bank balances             13,649,005     16,891      83,496                4,965,200      26,633       99,224        468      5,203
                                                                                                              1,558,29      10,53
Trade and other payables          365,445,444      5,823     116,212                              109,968                       2      9,641
Bank borrowings                   272,904,711
Other borrowings                    2,103,000
Finance lease liabilities          50,654,141                                                                     8,139
                                 1,303,158,42                            10,13                                 4,204,25     11,00     485,48
                                                 145,113     305,716               17,755,060     303,652
                                            7                                3                                        4         0          5
Strengthened/weakened             130,315,843     14,511      30,572     1,013      1,775,506      30,365      420,425      1,100     48,549
(10%)

Most of the subsidiaries are located in the United Kingdom, wherein the functional currency is GBP, which may have an impact on the overall
Group. The effect of the change in the currency exchange rates will have an impact on the Group, which is not ascertained at the time of the
financial statements.

The amount due from / to related parties have not been categorised as per the currency denomination. Therefore, the same is not taken in the
above foreign currency risk analysis.




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          b. Interest rate risk:

          The group has exposure to market risk for change in interest rate as it has interest
          bearing borrowings and deposits as disclosed elsewhere in the notes to the
          financial statements.

          The Group was exposed to interest rate risk on its interest-bearing borrowings
          which are on variable rates and none of which axe subject to swap arrangements.

          Interest rate sensitivity

          The sensitivity analysis below have been determined based on the exposure to
          interest rates for derivative instruments at the end of the reporting period and the
          stipulated change taking place at the beginning of the financial year and held
          constant throughout the reporting period in the case of instruments that have
          floating rates. A 50 (2018: 50) basis point increase or decrease is used when
          reporting interest rate risk internally to key management personnel and
          represents managements' assessment of the reasonably possible change in interest
          rates.

          Group

                                                                 2019                 2018
                                                                   $                    $
          Cash and bank balances                                 56,560,010          60,276,786
          Bank borrowings                                     (272,965,271)       (464,497,742)
          Other borrowings                                    (118,529,390)       (118,155,048)
          Finance lease liabilities                            (45,766,804)        (50,662,280)
                                                              (380,701,455)       (573,038,284)

          If the interest rate had been 50 (2018: 50) basis points higher or lower and all other
          variables were held constant, the group's profit and equity for the year ended 31
          March 2019 would increase / (decrease) by $1,903,507/- (2018: $2,865,191/-).

          c. Commodity Price risk:

          The price of metal commodities can be very volatile, exposing the group to
          commodity price risk as its sale and purchase commitments do not normally
          match at the end of each business day. The group uses forwarded physical
          and/or derivative contracts to mitigate such risk.

          At the end of the reporting period, a 10% (2018: NIL) increase/decrease of the
          commodities price indices, with all other variable held constant, would have
          increased/ decreased profit before tax and equity by the amounts as shown
          below:-


          Libeft Commodity Group Pte Ltd
          Group:
                                                                  2019              2018
                                                                    $                 $

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                      Effect of increase /decrease in commodities                                  698,000
                                                                            1,236,000
      )               price indices on profit before tax

                     Liquidity risk

                     Prudent liquidity risk management implies maintaining sufficient cash and cash
                     equivalents in its operations. At the end of each reporting period, assets held by
                     the group for managing liquidity risk included cash and cash equivalents as
                     disclosed in Note 14.
                     The management monitors rolling forecasts of the group and the company's
                     liquidity reserve (comprising cash and cash equivalents) on the basis of expected
                     cash flow. This is generally carried out at local level in the operating companies of
                     the group and the company in accordance with practice and limits set by the
                     group. These limits vary by location to take into account the liquidity of the
t ;                  market in which the entity operates.

                     The table below analyses the group and the company's non-derivative financial
                     liabilities into relevant maturity grouping based on the remaining period from
                     the end of each reporting period to the contractual maturity date. The
                     amounts disclosed in the table are the contractual undiscounted cash flows.
                     Balances due within 12 months equal their carrying balances as the impact of
                     discounting is not significant. The group adopts prudent liquidity risk
                     management by maintaining sufficient cash and cash equivalents and available
                     funding through the principal.

                                                                                        Group
                      Less than one year                                      2019                2018
                                                                               $                    $
                      Trade and other payables                                                  365,284,53
                                                                          377,224,694
                                                                                                         3
                      Amount due to a directors                             2,841,083            2,679,451
                      Amount due to related parties                       223,203,478
                      Bank borrowings-short term                                                393,128,75
                                                                          202,438,408                    3
                      Other borrowings                                                          118,155,04
                                                                          118,529,390                    8
                     Derivative financial instruments                      12,366,012            4,228,014
                     Finance lease liabilities                             15,024,598            9,190,349
                     Provision for taxation                                 5,294,478            7,483,230
                                                                                                900,149,37
I !                                                                       956,922,141
                                                                                                         8



                                                                                     Group
                                                                            2019                2018

                     More than one year                                      $                   $
                     Bank borrowings -long term                           70,526,863         71,368,989
                     Finance lease                                        30,742,206         41,471,931
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                                                                                                             CRK-2/0112
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           Amount due to related parties                       157,050,492                     91,634,569
           Other payables                                       70,529,204                     97,519,751
           Deferred tax liability                               60,065,430                     66,511,707
                                                               388,914,195                    368,506,947

          Derivative financial instruments
          The group's derivative financial instruments comprise of commodity forward                                 [
          contract amounting to $12,366,012/- (2018: $4,228,014) with contracted net cash
          outflows due within one year.

                                                                               Company
                                                                      2019                       2018                [71


            Less than one year                                        $                             $                     -1
            Trade and other payables                               2,210,135                       410,607                .)
            Bank borrowings                                        7,169,500
            Other borrowings                                      19,973,389                    28,989,273
                                                                                                                       1
            Amount due to related parties                             27,755                                         1.1
            Provision for taxation                                    12,908                         5,753
                                                                  29,393,687                    29,405,633

                                                                                Company
                                                                      2019                        2018

            More than one year                                                                                       LI
            Amount due to related parties                       108,148,959                     48,819,603
                                                                108,148,959                     48,819,603
                                                                                                                     [1
     2.       FINANCIAL INSTRUMENTS

          The fair value of financial assets and liabilities is the amount at which instrument
          could be exchanged or settled between knowledgeable and willing parties in an
          arm's length transactions, other than in a forced or liquidation sale.

          The management has determined that the carrying amounts of short-term
          deposits, current trade receivables, amounts due by related party, current trade
          and other payables, amount due to directors and related party and hire purchase
          creditors, based on their notional amounts, reasonably approximate their fair
          values because these are mostly short-term in nature or are reprised frequently
                                                                                                                     Ll
          within a year.                                                                                             (
     3.       NET FAIR VALUES OF FINANCIAL ASSETS AND FINANCIAL
              LIABILITIES

          The carrying amounts of cash and cash equivalent, fixed and margin deposits,
          trade and other receivables, amount owing from/to related parties, trade and
          other payables, bank and other borrowings, amount owing to a director and
          amount owing to /by subsidiaries approximate their fair values due to their
          short-term nature.                                                                                         k_


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              The fair values of the financial leases, amount due by/to related parties and bank
              loans are estimated based on the expected cash flows discounted to present value
              with reference to current market interest rate applicable to the financial
              instruments. There is no significant difference between the fair value and
              carrying value of the lease and borrowing obligations including amount owing to
              related parties at the end of the reporting period.

              The financial assets and financial liabilities of the Company consist of its current
              assets, current liabilities and non-current receivable. The fair values of the
              Company's financial assets and financial liabilities at the reporting date
              approximate their book values as shown in the financial statement.

              The carrying amounts of financial instruments in each of the following categories
              are as follows:-

              Financial assets

                                                      Group                                        Company
                                           2019                  2018                     2019                2018
                                             $                      $                         $                  $
       Property, plant and
                                         586,079,497          595,685,730
       equipment
       Investments- Held to
                                                                2,931,900
       maturity
       Investments-financial
                                             239,380              538,165
       assets available for sale
       Intangible assets                  20,481,755           25,968,838
       Contract with customers           820,272,892          779,802,294               21,370,616          28,690,696
       Amount due from                                                                  244,080,00
                                         157,450,601           43,635,229                               191,162,563
       related parties                                                                           6
       Other receivables                  97,990,649           50,417,658                6,194,395
       Cash and bank balances             56,560,010           60,276,786                5,245,104                 3,220
                                                                                        276,890,12
                                       1,739,074,784       1,559,256,600                                219,856,479
                                                                                                 1




      Financial liabilities

                                                   Group                                          Company
                                          2019                 2018                     2019                2018
                                                                $                         $                  $
      Contract with supplier            377,224,694        365,284,533               2,210,135            410,607
      Other borrowings                  118,529,390        118,155,048              19,973,389         28,989,273
      Finance lease liability            45,766,804         50,662,280
      Amount due to a director            2,841,083          2,679,451
      Amount due to related                                                         108,176,71
                                        380,253,970           91,634,569                               48,819,603
      parties                                                                                4
      Bank borrowings                   272,965,271        464,497,742               7,169,500
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      Other payables                     70,529,204       97,519,751
      Derivative     financial
                                         12,366,012        4,228,014
      instruments
                                        1,280,476,42    1,194,661,38         137,529,73
                                                                                               78,219,483
                                                   8               8                  8

     1.         CAPITAL RISK MANAGEMENT

            The group and the company's objectives when managing capital are to safeguard
            the Company's ability to continue as a going concern in order to provide returns
            for shareholders and benefits for other stakeholders and to maintain an optimal
            capital structure to reduce the cost of capital.

             Consistent with others in the industry, the company monitors capital on the basis
     of the gearing ratio. This ratio is calculated as net debt divided by total capital. N e t
     debt is calculated as total borrowings (including borrowings and trade and          other
     payables, and amount owing to related parties and amount owing to           shareholders
     including provision for taxation and deferred tax liability as shown        in the financial
     statement) less cash and equivalents. Total capital is calculated as equity, as shown in the
     financial statement, plus net debts.

                                                                       Group               Group
                                                                        2019                2018
                                                                         $                    $
            Total loans and borrowing                              1,345,836,33       1,268,656,32
                                                                              6                      5
            Less: cash and cash equivalents                        (56,560,010)           (60,276,786)
            Net debt                                               1,289,276,32       1,208,379,53
                                                                              6                     9
            Equity attributable to the equity holders of the                              610,459,094
                                                                    687,383,885
            company
            Capital and net debt                                   1,976,660,21       1,818,838,63
                                                                              1                  3
            Gearing ratio                                              0.65               0.66



                                                                    Company               Company
                                                                      2019                  2018
                                                                         $                    $
            Total loans and borrowing                                137,542,64            78,225,236
                                                                               6
            Less: cash and cash equivalents                          (5,245,104)               (3,220)
            Net debt                                                 132,297,54
                                                                                           78,222,016
                                                                              2
            Equity attributable to the equity holders of the         322,912,92           325,196,689
            company                                                           1
            Capital and net debt                                     455,210,46           403,418,705
                                                                              3
            Gearing ratio                                               0.29                 0.19

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       2.             SUBSEQUENT EVENTS

                  On June 30, 2019, the Group completed the acquisition of seven major steelworks
                  and five service centres across seven European countries from Arcelormittal,
                  excluding China. The consideration for the acquisition is Euros 750 million.

           i.      Acquisition, addition and disposal of investments.
           u. One of the subsidiary is intending merger with 4 of the group entities in
              Willenhall. The merger is expected to complete before year ending March 2021.
              Restructuring plan for one of the subsidiary is announced for the financial year
              ending March 2021.
        iv. The Group has acquired and won bid for two of the companies namely Liberty
              Aluminum Poitou and Liberty Poundry Poitou for consideration of Euro 50k and
              Euro 25k. Another new subsidiary namely, Liberty Duriosotti Metz S.a.r.I has
              been incorporated subsequent to the reporting date.
        v. Since the reporting date, one of the subsidiary has issued 500,000 ordinary shares
              of GBP 1 each to its parent company for a cash consideration of GBP 500,000.
             Subsequent to this, the subsidiary was sold to G W Atkins & Sons Limited and
             left the Liberty House Group as of 20 December 2019. Mr Sanjeev Gupta ceased to
             be a person with significant control and has resigned as Director on that date for
              the respective subsidiary.
        vi. One of the subsidiary is under liquidation process and a provision for
             discontinued operations is made for the same.
        vii. During the year ended March 31, 2019, the management decided the permanent
             closure of one of the subsidiary's USA administration function, resulting in a
             provision of GBP 25,500 being made to cover professional fees to facilitate this.
             The office closure will be fully enacted during the trading period 2019/2020.
      II. Others

           i.     Since the reporting date, two of the subsidiaries, has been subject to
                  recapitalization through the issuance of GBP 6,963,000, 1 ordinary shares at par
                  value and GBP 1,300,000 via the issuance of non-voting shares respectively, in a
                  debt to equity swap.
           ii.    Since the reporting date the subsidiary has been party to various deeds of
                  assignment for amounts due to/from group and related undertakings. These
                  receivables and payables were assigned to the immediate parent company and
                  subsequently converted into shares via the recapitalization detailed in H.
           iii.   Leumi Bank facility for 2 of the subsidiaries has expired in September 2019. A
                  new facility with Barclays Bank for GBP 15.7 million has been approved
                  subsequent to the reporting date.
           iv.    Since the reporting date, one of the subsidiary has declared an interim dividend
                  of GBP 1,300,000.

      3.              COMPARATIVE FIGURE

                  Out of the all the subsidiaries of Liberty Industries Holding Pte. Ltd, the
                  following subsidiaries comparative figures are more than or less than 12 months'
                  period as detailed below:

                  Liberty Aluminum Technologies Limited


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                                                                                                        t
          Company changed its year end to March to bring in line with the Group
          companies. It had a year end of 31/01/2017, and therefore the previous year
          covers 14 months, whereas the current period covers 12 months.

          Liberty Fire and Safety Equipment Trading LLC

          As the subsidiary is incorporated on 26 April 2018 in United Arab Emirates, the
          current year covers near to 12 months, and there are no prior year figures.

          Liberty Wheels France SAS

          As the subsidiary is incorporated on 1 June 2018 in France, the current year covers
          near to 10 months, arid there are no prior year figures.

          Liberty Durisotti France (Formerly known as: Liberty Forging fanves SAS)
          As the subsidiary is incorporated on 16 Nov 2018 in France-, the current year                 L
          covers near to 6 months, and there are no prior year figures.
                                                                                                        11
          Liberty Machining Ardennes SAS                                                                L.
          As the subsidiary is incorporated on 16 Nov 2018 in France, the current year
          covers near to 6 months, and there are no prior year figures.

          Liberty Classic Cars Limited                                                                      ..)

          The subsidiary had an accounting year end of October 2019 in the current year.
          Subsequent to the reporting date, the period end has been extended to                         L.
          31/03/2020.


          Liberty Powder Metals Ltd
          Current financial period is from 12 July 2018 to 31 October 2018 and there is no
          comparative year as it was incorporated on 12 July 2018.

          Liberty Industries UK Ltd
          The comparatives relate to 17 months period from 22 November 2016 to 31 March                 (
          2018.                                                                                         1

          Liberty Industries PPA Ltd
          The comparatives relate to 9 months' period from 10 July 2017 to 31 March 2018.
                                                                                                        Li
          Liberty Metal Recycling Europe SP.ZOO
          Current audited financial year is from 1 January 2018 to 31 December 2018 and
          the comparative year end is 31 December 2017.

          Liberty Metal Recycling UK Ltd
          Current financial year end is 31 December 2018 and the comparative year is 31
          December 2017.

          LMR US Holdings BV - Amsterdam
          Current financial year end is 31 March 2019 and the comparative period is from                Li
          29 April 2017 to 31 March 2018.
                                                                                                             1
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            Liberty Merchant Bar Plc; Liberty pipes (Hartlepool) Limited; Liberty Specialty
            Steels Limited

            The comparatives relate to 15 months' period from 1 January 2017 to 31 March
            2018.

            CMB Restructuring Pte. Ltd.
            The sub-subsidiary changed its financial year end to March. The comparative
            figures cover the period of 16 months from 1 December 2016 to 31 March 2018.

            The below are dormant accounts
            Engineering Bar Limited (E & W) was incorporated in Sheffield on 2 May 2018.
            Liberty Merchant Bar Distribution Ltd was incorporated in London on 31 October
            2018.

             The financial year/period ended for the following set of financial statement are 31
             March 2019, except for 8 as stated in point 30,31,37,38,40,56,61 and 62:
        1. Liberty Advanced Engineering Products Pte. Ltd, was incorporated in Singapore
             on 24 December 2015.
        2. Liberty Performance Steels Pte Ltd, was incorporated in Singapore on 24
             December 2015.
        3. Liberty Tubular Solutions Pte. Ltd, was incorporated in Singapore on 24
             December 2015.
        4. Liberty Distribution Pte Ltd, was incorporated in Singapore on 18 January 2016.
        5. Liberty Bridge Aluminium Limited, was incorporated in England on 8 December
            2015.
        6. Clydesdale Jones Limited, was incorporated in England on 8 December 2015.
        7. Liberty Vehicle Technologies Limited was incorporated in England on 8
            December 2015.
        8. Liberty Advanced Composites Limited, was incorporated in England on 8
            December 2015.
        9. Liberty Pressing Solutions Limited, was incorporated in England on 8 December
            2015.
        10.Hub Le Bas, was incorporated in England on 2 December 2015.
        11.Liberty Precision Tubes Limited, was incorporated in England on 29 December
            2015.
        12.Acdes and Pollock Limited, was incorporated in England on 29 December 2015.
        13.Liberty Tube Components Limited, was incorporated in England on 29 December
            2015.
        14.Liberty Drawn Tubes Limited, was incorporated in England on 8 December 2015.
        15.Liberty Tube Fittings Limited, was incorporated in England on 8 December 2015.
        16. Liberty Building Solution FZE, was incorporated in Dubai on 13 April 2016
        17. Liberty Steel Distribution Limited, was incorporated in England on 16 January
            2016 and commenced trading in November 2016.
        18.Liberty Performance Steel Inc, was incorporated in USA on 21 January 2016
        19.Liberty Performance Steels Limited was incorporated in England on 8 December
            2015.
        20.Specialist Mobility Training Limited, was incorporated in England on 27 February
            2017.
        21.Shiftec Ltd was incorporated in England on 21 January 2017
        22. Liberty Pressing Solutions (Coventry) Limited, was incorporated in England on
           09 December 2016.
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       23.Liberty Trillion Ltd was incorporated in England on 29 March 2016.
       24.Shand Cycles Limited incorporated in England on 17 October 2011. It was
           purchased on 12/10/2017. Therefore, there are no comparatives presented for the
           same, and the current year covers 6 months of its financial position.
       25. Liberty Aluminium Technologies Limited (formerly known as Liberty Insulation
           Limited) was incorporated in England on 12 January 2016, and acquired by the
           Group on 20th July 2017, and there are no comparatives presented for the same.
       26.Liberty Wheels France SAS was incorporated in France on 1 June 2018.
       27.Liberty Fire and Safety Equipment Trading LLC was incorporated in United Arab
           Emirates on 26 April 2018.
       28.Liberty Forging Janves SAS (Formerly known as: Liberty Durisotti France) was
           incorporated in France on 16 November 2018.
       29.Liberty Machining Ardennes SAS was incorporated in France on 16 November
           2018.
       30.Liberty Defence: Dynamics Limited was incorporated in England on 29 December
           2015, and has a year end of December 2018.
       31. Liberty Classic Cars Limited was incorporated in England on 19 February 2018,
           and has a year end of October 2018. Subsequent to the reporting date, the
           year-end has been extended to 31 March 2020.
       32.Liberty Steel Group Pte. Ltd. was incorporated in Singapore on 18 May 2016.
       33.Astra Mining Ltd (Mauritius) was incorporated in Mauritius on 19 June 2012
       34.Liberty Steel Group Holdings UK Ltd was incorporated in London on 31 March
          2017.
       35. CMB Restructuring Pte Ltd was incorporated in Singapore on 14 August 2013.
       36.Liberty Merchant Bar Plc was incorporated in England on 1 November 1984
       37.United Merchant Bar Ltd was incorporated in Scunthorpe on 1 December 2016
       38.Liberty Merchant Bar 2 Limited was incorporated in London on 17 December
           2015.
       39. Liberty Pipes (Hartlepool) Limited was incorporated in London on 29 December
           2015.
       40. Liberty Powder Metals Ltd, was incorporated in London on 12 July 2018
       41. Liberty Speciality Steels Ltd was incorporated in London on 14 December 2015.
       42.Speciality Steel UK Ltd was incorporated in Sheffield on 22 November 2016.
       43.Liberty Speciality Steels (Gmbh) - Branch of Liberty Speciality Steel in Germany.
       44. LHG Speciality Steel International Private Limited- Branch of Liberty Speciality
           Steel in India.
       45. Liberty Speciality Steels America Inc- Branch of Liberty Speciality Steel in USA.
       46. Engineering Bar Limited (E & W) was incorporated in Sheffield on 2 May 2018.
       47. Liberty Speciality Steels France- Branch of Liberty Speciality Steel in France.
       48. Liberty Merchant Bar Distribution Ltd was incorporated in London on 31 October
          2018.
       49. Liberty Finance Management Ltd was incorporated in London on 10 December
           2015.
       50. Liberty Industries UK Ltd was incorporated in Scotland on 22 November 2016.
       51.Liberty Aluminium Lochaber Ltd was incorporated in Scotland on 9 November
          2016.
       52. Liberty Steel Ltd - UK was incorporated in London on 17 March 2016.
       53. Liberty Steel Dalzell Ltd (UK) was incorporated in London on 18 March 2016.
       54. Liberty Steel Clydebridge Ltd (UK) was incorporated in London on 18 March
          2016.
       55. Liberty Steel Newport Ltd (UK) was incorporated in Gwent on 11 July 2008.

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               56. Liberty Steel Sheerness Ltd (UK) was incorporated in London on 15 September
                   2016.
               57. Liberty Steel Tradegar Limited (UK) was incorporated in London on 11 April
                   2016.
               58. Liberty industries PPA Ltd was incorporated in London on 10 July 2017.
               59. LMR Holdings Pte Ltd was incorporated in England on 16 February 2016.
               60. LMR US Holdings BV - Amsterdam was incorporated in Amsterdam on 29 April
                   2017.
               61. Liberty Metal Recycling UK Ltd - UK was incorporated in Gwent on 21 December
                   2015.
               62. Liberty Metal Recycling Europe SP.ZOO was incorporated in Poland on 14 March
                   2017.

                  Reclassification of Prior Period Balances
                  In the audited financial statement in two of the subsidiaries there is restatement
                  of prior years due to:

                  In prior years all releases of negative goodwill in respect of fixed assets were
                  reflected in cost of sale. The director of those subsidiaries considers that it is more
                  appropriate for comparability purposes to show releases of negative goodwill in
                  respect of significant disposals of fixed assets as a separate item within the
                  statement of Comprehensive Income, below gross profit The comparatives for
                  2018 have therefore been restated to show this change of classification. There has
                  been no impact on recorded operating profit or profit before or after tax.
                  During the year one of the subsidiary reclassified amount owing to related parties
                  within one year, for the year ended 31 March 2018 to amounts falling due more
                  than one year_ Management felt that upon further review of the existing related
                  party agreements, this reclassification was a more accurate representation of the
                  economic substance behind the balance.

                  PRIOR PERIOD ADJUSTMENT

L.               The following table's summaries the material impacts of the reclassifications
                 changes on the Group's financial position,

                 The effects of the reclassification of the prior year's financial statements are as
L.;
                 follows: -

                 STATEMENT OF FINANCIAL POSITION -GROUP

                                                       Net change            Group              Group
                                                                             2018                2018

                                                                                $                 $
                                                                            Restated             As
                                                                                              reported
                    Trade and other
                                                          9,276,899          8,913,211        18,190,110
                    receivables
                     Current liabilities                                   (20,678,671       (29,955,570
                                                         (9,276,899)



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             In preparing the financial statements, the director identified that the subsidiary
             had in correctly classified provisions in relation to post medical plans as accruals.
             The director has therefore restated the prior period financial statements. This has
             resulted in the following:

          • Accruals for the year ended 31 March 2018 decreased by GBP 1,239,001
          • Provisions for the year ended 31 March 2018 increased by GBP1,239,001

     4.          CONTROLLING PARTY

             The immediate parent company is LHG International Holding Pte Ltd a company
             registered in Singapore. At 31 March 2019 the ultimate holding company was
             SKG Holdings Pte Ltd, a company registered in Singapore.

             The largest and smallest groups in which the results of the company are
             consolidated are headed by Liberty House Group Pte Limited. The financial
             statements are publicly available by writing to the company secretary at 8 Marina
             View, #40-06 Asia Square Tower 1, Singapore 018 960.

             The ultimate controlling owner is Sanjeev Gupta.

     5.          RELATED PARTY TRANSACTIONS

             During the financial year, significant transactions with a related parties on terms
             agreed between the parties were as follows:-

             Liberty Aluminium Lochaber Ltd

             At the year end, the above subsidiary was owed GBP 3,078,203 (2018: GBP
             999,810) from Liberty Commodities Limited, a subsidiary of Liberty House Group
             Pte Ltd. During the period, the above subsidiary sold goods of GBP 15,873,957
             (2018: GBP 30,254,499) to Liberty Commodities Limited.

             At the year end, the subsidiary owed GBP 6,689,869 (2018: 106,403) to SIMEC
             Power 1 Ltd.

             On 16 December 2016 the sub-subsidiary entered into a 25-year power purchase
             agreement("PPA") with SIMEC Lochaber Hydro Power 2 Limited ("SLH2") for
             SLH2 to provide certain fixed quantities of electricity at set prices ("Fixed PPA")
             and additional variable quantities of electricity at other set prices ("variable
             PPA"). SLH2 is in the business of generating electricity from hydropower sources.
             The Fixed PPA also requires the company to pay quarterly pre-set amounts to
             SLH2 for the fixed quantities of electricity.

             During the period, the subsidiary purchased power from SLH2 amounting to
             GBP 17,040,284 (2018: GBP 19,423,923). The subsidiary earned profit maintenance
             of GBP 9,950,000 (2018: GBP 5,473,733) from SLH2 during the year. At the year
             end the subsidiary was owed GBP 4,979,528 (2018: GBP 6,136,542 liability) from
             SLH2.

             At the year end, the subsidiary was owed GBP 10,220,050 (2018: GBP 381,092
             Liability) from SIMEC Lochaber Hydro Power Limited, C S Management Ltd GBP
                                                          LIBERTY HOUSE GROUP PTE. LTD. 121




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               .3      :rt     1 • ";             •    •




                     (2018: Nil) and Wyelands Capital Holding Pte Ltd GBP 3,023,557 (2018:
           1,178,739 (2018:
           Nil).

           At the year end, the subsidiary also owed balances to Simec Klnlochleven Power
           Ltd GBP 2,767,168 (2018: Nil). Simec Corporation Pte Ltd GBP 3,781,083 (2018:
           Nil) and Liberty Treasury MDR Ltd GBP 2,604,437 (2018: Nil).

           The related subsidiaries mentioned above are part of the GFG Alliance, which
           encompasses entities under the common control of SK Gupta and his father PK
           Gupta.

           Liberty Steel Tradegar Ltd
           The above subsidiary is related to SIMEC Corporation Pte Limited, Marble Power
           Limited and GFG Estates P8 Limited by reason of these subsidiaries being
           controlled by father of the director.

           Amounts due to SIMEC Corporation Pte Ltd, a company which is under the
           common control of S K Gupta, amounted to GBP 318,006 (2018: GBP 38,002). No
           interest is charged on these loans.

          During the year, the company made sales of scrap material to CS Management
          Services Limited to the amount of GBP 676,795, and procured services to the value
          of GBP 175,262. The financial statement holds trade receivable balance of GBP
          823,514 and trade payable balance of GBP 152,430. The financial statement also
          holds a loan payable to CS Management Services to the value of GBP 408,257.

          During the year, the company purchased energy costing of GBP 293,451 (2018:
          GBP 209,508) from Marble Power Limited. Amounts payable to Marble Power
          Limited, a company which is under the common control of S K Gupta amounted
          to GBP 84,512 (2018: GBP 23,531) which is included in current liabilities under
          accruals and deferred income. No interest is charged on these loans.

          During the year, the subsidiary expensed rent of GBP 238,131 (2018: GBP 177,270),
          of which GBP 236,360 is payable to GFG Estates P8 Limited, a company which is
          under the common control of S K Gupta. No interest is charged on these loans.

          The subsidiary holds loans provided by Liberty Commodities Limited, a
          subsidiary which is under the common control of S K Gupta. The financial
          statement amounts owed to Liberty Commodities Limited was GBP 825,514 (2018:
          GBP 825,514). No interest is charged on these loans.

          Liberty Industries PPA Ltd

          During the previous period the subsidiary entered into five fixed quantity
          Renewable Obligations Certificates (ROC) purchase agreements ("ROC PAs")
          with SIMEC Power 1 Limited ("SP1") and SIMEC Power 2 Limited ("SP2"). The
          latter are part of the GFG Alliance which encompasses companies under the
          common control of S K Gupta or his father P K Gupta.

          SP1 and SP2 are generators of electricity from bio-liquid fuels which entitles them
          to receive tradable ROCs and have agreed to sell quarterly fixed quantities of
          ROCS arising from the generation to the subsidiary.
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          The ROC Purchase agreements (Pas) supply contract is for 20-year term
          commencing on varying dates between August 2017 and October 2018, during
          which the subsidiary is required to make quarterly fixed payments for the ROCs..
          In the event of shortfall in supplying ROCs SP1 and SP2 have agreed to reimburse
          the subsidiary in either quantity or money terms for any shortfall in the quarterly
          ROCs supplied.

          Under the terms of a separate account receivables purchase agreement between a
          financing entity and SP1 and SP2 the latter have agreed to sell the entire future
          receivables, arising from the ROC PAs, to the financing entity against loan
          advances made. The agreement also requires the subsidiary's quarterly fixed
          payments due to SP1 and SP2 to be assigned to the financing entity.

          The subsidiary's director is of the opinion that the quarterly obligations to the
          financing entity only arise when the fixed quarterly payments become due on
          their respective due dates. Consequently, these financial statements do not reflect
          future quarterly payments payable for the duration of the ROC PAs. In any event,
          should the subsidiary be unable to meet its obligations the financing entity has
          option to require SP1 and SP2 to repurchase the outstanding balances under the
          terms of the agreement.

          During the previous period and current period SP1 and SP2 did not generate
          electricity and thus was unable to supply any ROCs to the subsidiary. Therefore,
          under the reimbursement terms of the ROC PAs the quarterly payments due to
          the financing entity of GBP 3,880,693 and GBP 7,327,335 was made by SP1 and
          SP2 on behalf of the subsidiary thus compensating the subsidiary for the supply
          shortfall.

     6. FINANCIAL COMMITMENTS, GUARANTEES AND CONTINGENT
           LIABILITIES

     1.   The following six subsidiaries secured a receivables facility from Leumi ABL Ltd.,
          available from 24 March 2016. The facility is capped at the level of receivables and
          inventories, with a maximum group facility with these subsidiaries of GBP 13
          million (2018: GBP 20/ 25 million), and at the reporting date amounted to GBP 7.9
          million (2018: GBP 18.5 million). The facilities are cross guaranteed across these
          subsidiaries. The facilities are guaranteed by a fixed and floating charge over the
          assets of the below subsidiaries, a personal fraud warranty from SK Gupta, a
          confirmation that Leumi holds a first ranking position over the assets of the
          entities in the group facility and a cross guarantee from each entity in the group
          facility and their shareholders. Capital commitments at the reporting date
          amounted to GBP 3,579 (2018: GBP 382,984).
                  (a)     Liberty Tube Components Limited
                   (b) Hub Le Bas Limited
                   (c)    AccIes and Pollock Limited
                   (d)    Liberty Precision Tubes Limited
                   (e)    Liberty Drawn Tubes Limited
                   (f)    Liberty Steel Distribution Limited

          The facility was terminated on the 12th February 2019. The Group together with
          other group companies, has secured a new group receivable purchase facility of
                                                      LIBERTY HOUSE GROUP PTE. LTD. 123




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                    USD 22 million from a company under common control. The company, together
                    with other group companies which participate in the group facility, has provided
                    a cross guarantee against the full group facility amount.

              2.    Liberty Building Solutions FZE

                   There is a contingent liability of USD 108,101(2018: USD 83,551) in relation to
[1                 labour guarantees.

              3.   One of the subsidiary has given commitments of Euro 10 million, and has also
                   received commitment of Euro 7 million.

              4.   The following seven subsidiaries secured a receivables finance facility from
                   Lloyds Bank Plc in the year. The facility is capped at the level of receivables with
                   a maximum facility of GBP7.5m for those subsidiaries. The facilities are
                   guaranteed by a fixed and floating charge over the assets of those subsidiaries.
                   The facilities are cross guaranteed across these subsidiaries, with a Fraud only
                   warranty from Mr Sanjeev Gupta. The subsidiaries for this facility are:
                          (a)     Liberty Vehicle Technologies Limited
                          (b)     Liberty Advanced Composites Limited
                          (c)     Liberty Pressing Solutions Limited
                          (d)     Liberty Engineering (Willenhall) Limited, (Formerly known as
                                  Liberty Tube Fittings Limited)
                         (f)      Clydesdale Jones Limited
                         (g)      Liberty Bridge Aluminum Limited

                   The level of exposure at the year-end is GBP 3,196,271 (2018: GBP 3,514,447)

              5.   Two of the subsidiaries are member of the VAT group with fellow group
                   companies and accordingly is jointly and severally liable for any VAT liability
                   due. The level of Group VAT liability or asset varies depending on where in the
                   VAT cycle group is on and on the underlying transactions of companies within
                   the group. The VAT payable by the group as at 31 March 2019 was GBP 630,349
                   and was settled by individual group members post year end.
    I
              6.   One of the subsidiary has secured a receivables finance facility from Wyelands
                   Bank Plc. The facility is capped at the level of receivables with a maximum facility
                   of GBP 16 million. The facility is secured against trade receivables.
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              7.   Below subsidiary has secured a receivables finance facility from ABN Arnro
                   Commercial Finance PLC. The facility is capped at the level of receivables with a
                   maximum facility of GBP 12.5m. The facility was terminated on the 28th
                   September 2018.

                   During the year, the company, together with other group companies, has secured
                   a new group receivable purchase facility of GBP 22 million from a company
                   under common control. The company, together with other group companies
                   which participate in the group facility, has provided a cross guarantee against the
                   full group facility amount.
                              1.       Liberty Pressing Solutions (Coventry) Limited.


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     8.       Further to Note 31, (4), subsequent to the year end, the company has acted as a
              guarantor for the aforementioned sale of the subsidiary.
              Also the subsidiary is liable for any claims in excess of GBP 20,000 however
              subject to the maximum of the sale price.

          Liberty Steel Dalzell Ltd

              The subsidiary secured a stock finance facility from Ancile Investment Company
              Limited, which is managed and operated on their behalf by INOKS Capital SA.
              The facility is capped at the level of slab stock delivered with a maximum facility
              of GBP 12M.

              The facility is guaranteed by a promissory note undertaken by Liberty
              Commodities Group Pte Limited, a subsidiary incorporated in Singapore and a
              member of Liberty House Group Pte Limited.

              Liberty Aluminum Lochaber Ltd

              The payment obligations of the subsidiary to the financing entities described
              above are subject to a guarantee given by the Scottish Government, which has a
                                                                                                             ri
              legal charge over the assets of the company.

              Liberty Metal Recycling Europe Sp. Z.O.O.

              Information on contracts concluded by the entity

              Contractors who are recipient of goods -the recipient of the goods are foundries
              in and outside the EU Countries.

              Contractors who are suppliers of services and goods for the subsidiary- The
              goods are delivered by Polish enterprises. The services are provided by the Polish
              port, foreign specialized enterprises and Polish companies.

              All agreements concluded by the entity have been concluded on market terms
              and information about them is included in the financial statement.

              The entity did not enter into transactions with the related parties on terms other
              than the market ones.

     4.           ACQUISITION OF BUSINESS

              One of the subsidiary period results from the procedure of taking over the assets
              of the company AR Industries, which the Commercial Court of Orleans has
              approved, as part of the rehabilitation plan of the latter, involving the sale of the
              assets to the subsidiary.

              The date of possession was set for 01 June 2018.
              One of the subsidiary was registered at the RCS of Chateauroux on 12 June 2018.
              The assets of AR industries have been acquired for the following amounts:
              Intangible assets: Euro 100,000
              Tangible assets: Euro 100,000
              Stocks: Euro 500,000
                                                          LIBERTY HOUSE GROUP PTE. LTD. 125                  Li


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               In accordance with the provisions of Article 213-7 of the CCP and CNCC Bulletin
               No 171 of 17 September 2013, the assets taken over has been recognised on the
               basis of global price of the acquisition transaction.

               This overall price includes:
                  • The amount of the liabilities related to paid leave, acquired since the date
                      of the AR Industries Judicial Rehabilitation, that is, on 16 January 2018, for
                      the employees who were taken over, which were recorded in the tax and
                      social security debts as of 01 June 2018, for an amount of Euro 552,319;
                  • It also includes the amount of end of service benefit for employees of the
                      company, for a value of Euro 3,528,820 as of 01 June 2018.

              In addition, the economic constraints, imposed by the main customers of the
              company, have led the company AR Industries to support, on behalf of the
              company Liberty Wheels France and during the period from 01 June to 30
              September 2018, billing and purchases of materials and certain other expenses.
              All of these transactions, translated via a prorated account into the Liberty Wheels
              France accounts, were settled in December 2018, except for the portion of paid
              vacations prior to 16 January 2018, for a value of Euro 28,814.

              In March 2019, the LIG Group acquired the French company, Durisotti that was
              under receivership. The unit is located in Hauts-de-France, specializes in
              converting light- duty vehicles.

G             Liberty Classic Cars completed the business acquisition from Cape International
              in November 2018. This unit is a specialist in classic car restoration and also
              provides a range of new and original parts, accessories and servicing for
              discerning customers around the world.

         5.       NEW ACCOUNTING STANDARDS AND FRS INTERPRETATIONS

              Certain new accounting standards and interpretations have been published that
              are mandatory for accounting periods beginning on or after 01 April 2019. The
              company does not expect that adoption of these accounting standards or
              interpretations will have a material impact on the company's financial statements.

         6.       AUTHORISATION OF FINANCIAL STATEMENTS

              These financial statements were authorised for issue in accordance with a
              resolution of the Board of Directors of LIBERTY HOUSE GROUP PTE. LTD. AND
              ITS SUBSIDIARIES on 17 August 2020.




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          The annexed detailed statement of comprehensive income does not form part of
          the audited statutory financial statements. It is not necessary to file the detailed
          statement of comprehensive income with the Accounting and Corporate
          Regulatory Authority.




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 F




                                                                  Company
                                                           2019              2018
                                                            $                 $
             Sales                                       67,405,579     61,500,367

                                                        (63,966,662     (58,930,223
             Cost of sales

             Gross profit                                 3,438,917         2,570,144

             Other Income                                  684,780

             Operating expenses
             Audit fee                                     100,000            313,719
             Bank charges                                  464,933                310
             BG Invocation                               1,464,512                  -
             Commission                                  2,667,790          2,063,212
             Events and conference expenses                      -             30,000
             Insurance                                     138,331                  -
             Legal and professional fees                   171,570            108,863
             Printing and stationery expenses                  300                300
             Put option                                  1,388,305                  -
             Travelling expenses                             4,569              1,475
                                                         6,400,310          2,517,879

             Net profit before taxation                 (2,276,613)            52,265
             Income tax                                     (7,155)           (5,753)
                                                        (2,283,768)            46,512




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                            This is the exhibit marked "VJ-12"
                              referred to in the Affidavit of
                           VIOLA JOYCE DELORIS JAPAUL
                                affirmed / swam before me
                                this 11th day of April 2021


                                     BEFORE ME

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                           A COMMISSIONER FOR OATHS




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